    Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 1 of 156




                                       Report to the Court

                                    Failure to Preserve Data


        On January 22nd 2021, Mr. Davis, Attorney for the Plaintiffs in this matter, filed an
Amended Motion for Temporary Restraining Order.            I obtained a copy of the Motion and
contacted Mr. Davis regarding a few of my concerns about certain points within the Motion that I
believed needed clarification because they would not be inherently clear to any person lacking
significant experience in data and/or networking systems. In preparing this report, I reviewed all
of the openly available marketing and operational manuals for the electronic voting machines used
by the states, and counties mentioned in this report and supporting documents. Additionally, I
reviewed the referenced, and mentioned laws and conduct of states referenced in a Stanford-MIT
report, which I use to illustrate components of concern to inform the Court. Further, I utilized my
network of forensic investigators, ethical hackers, and network engineers to obtain easily
discernable and understandable content from which the Court would reasonably be capable of
understanding the complexities of technology mentioned in the report, and supplementals attached
to this report.


        In certain areas I relied on my own personal experience in process management, combined
with knowledge of governmental financial regulations, and years of experience operating highly
technical communications and network operating companies. Finally, regarding deeper global
financial issues, I consulted with multiple peers who would be considered experts in their field and
who operate companies within the global financial sector with the specific focus on current
“market maker” movements which would lead to a shift in reserve currency status.


         As I stated to Mr. Davis my concerns arise from a strict reading of the language provided
in the Civil Rights Act of 1960, Section 301. Further, on a process management level I have
extreme concerns for glaring failures of state election officials to comply with very specific
requirements of the Help American Vote Act of 2002’s section 303. Regarding HAVA, I have a
procedural concern, as well as a civil rights records concern, which arises from the 1960 Civil
Rights Act.




                                                                                        Page 1 of 9
       Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 2 of 156




           When I spoke with Mr. Davis, I addressed a concern with him regarding Section 301 of
the 1960 Civil Rights Act which states “Every officer of Election shall retain and preserve” then
stipulates the type of elections to include all federal offices. Section 301 then clearly states “all
records and papers which come into his possession.” The act clearly stipulates all records and
papers which comes into the possession of “every officer of election” and then mandates the
retention of, and preservation of, said “all records” for 22 months. 52 U.S.C. § 20701


           “The Process Concern”
           Section 303 of the Help America Vote Act is particularly of concern in the 2020 federal
election due to the sheer number of first-time federal mail in ballot voters. In Exhibit 11 attached
hereto, the authors did an excellent job of compiling information regarding the voting processes,
mail in ballot procedures, and processes used by the “swing” states of Arizona, Florida, Michigan,
North Carolina, Pennsylvania, and Wisconsin. The information is provided by the Stanford-MIT
                                    2
Healthy Elections Project               and upon further review the facts presented within the report are
correct relevant to this Report. The Stanford-MIT report shows the significant rise in mail in
ballots in the 2020 federal election with the largest increase being 625% increase in federal mail
in and/or absentee ballots compared to 2016 within the State of Wisconsin.                         Due to this, it is
reasonable to conclude more than one million ballots in the state were cast by voters who voted
for the first time by mail in a federal election. I must bring to the Court’s attention according to
Section 209 of the Help America Vote Act “the commission” meaning the EAC, does not have
“any authority to issue any rule, promulgate any regulation, or take any other action” upon a state
to alter the Act, its requirements or impose any duty upon a state, or grant a relief or special
exception to a state, including modifying “minimum requirements” of Section 304.




1
    “From Tabulation to Certification: How Battleground States Count the Vote” Authors Jennifer Friedmann, J.D.’22;
    Toni Friedman, M.A in International Policy ’21; Jesus Lazarus, J.D. ’22, Albert Park, J.D. ’22, Alex Stout, B.A. 22;
    Sydney Frankenber, M.A. in International Policy ’21; Andriana Stephan, M.A. in International Policy ’21; Alez
    Zaheer, M.A. ’21 Healthy Elections. Org ; October 30th, 2020. (Exhibit 1)

2
    The project is led by Professor Nathaniel Persily, James B. McClatchy Professor Law at Stanford and former Senior
    Research Director of the Presidential Commission on Election Administration, and Charles Stewart III, Kenan Sahin
    Distinguished Professor of Political Science at MIT, Director of the MIT Election Data and Science Lab, and Co-
    Director of the Caltech/MIT Voting Technology Project.


                                                                                                          Page 2 of 9
       Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 3 of 156




           My first process concern is directly tied to HAVA Section 303 (b),3 which mandates a
DUTY ON THE STATE regarding “first time voters” registered by and/or voting by mail to obtain
data which determines if the “person” had “previously voted in an election for federal office.”
This duty upon the state creates a PAPER document trail that in many instances MUST accompany
the ballot and, pursuant to the Civil Rights Act of 1960, Sec. 301, be maintained for 22 months,
with the original ballot. A careful but quick review of the Stanford-MIT Report will show this
Honorable Court that all of the swing states separate ballots from “papers” and “envelopes” in the
pre-tabulation process. Further, there is NO mention in any state procedure regarding the
verification of the PAPER requirement generated in HAVA’s Section 303.


           The second “process” concern is directly tied to the RETENTION of ALL papers which
come into the possession of “election officials.” A review of the procedures in all swing states
within the reports quickly shows the separation of records / papers, and items that come into the
possession of election officials. It would seem even on the most minor level, disposal of the
envelopes themselves would violate Sec. 301 of the Civil Rights Act. But of most concern is the
discarding of ANY paper from ANY voter who submitted the required paperwork as stipulated in
HAVA’s section 303. It is clear that most of the states, according to the Stanford-MIT report,
under state law, use only the signature verification requirement, which is insufficient to vote for
first time by mail or registered by mail, mail in or absentee voters pertaining to the federal election.
Logically, due to Congress’s use of their Constitutional authority4 to place regulations, as it did in
the Help America Vote Act, these violations of federal law must also be considered violations of
the Constitution pertaining to the conduct of a federal election, especially for the House of
Representatives (the states are also required to follow HAVA for Senate elections because they
received federal funds in exchange for the agreement to follow HAVA).


           These are not the only “process concerns” that I have, but these are the easiest of the process
concerns to address. I must state to the Court that the vast majority of the states saw a significant
rise in mail in ballots, none of them complied with the aforementioned process issues listed.



3
    Help America Vote Act Sec. 303 (b)(1)(B)(i)
4
    U.S. Constitution, Article I, Section 4.


                                                                                              Page 3 of 9
    Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 4 of 156




Additionally, according to the National Conference of State Legislatures5 the states of Colorado,
Oregon, and Washington conduct ALL of their elections by mail, and as many as “22 states have
certain provisions that allow certain elections to be conducted entirely by mail.” Of concern here
is that cases collectively known as the “Trump vs Biden” election challenges moving to the
Supreme Court ALL fail to address or recognize the states of California and Nevada conducted
their entire elections by mail out / mail in ballot in 2020, and both states failed to meet the
requirements of HAVA as shown above and here within.


        Logically, even IF it were possible to make “finding” in these elections’ cases, neither Mr.
Trump nor Mr. Biden could obtain a majority in the electoral college due to the failures to comply
with federal law, and the nullity issue pertaining to the House of Representatives issues arising
from the Plaintiff’s claims, and direct legal challenges for civil rights / constitutional election
challenge


        Clear Civil Rights records retention violations.
        Upon review of ALL of the State’s processes and machine voting systems something
became glaringly clear, each state relied 100 percent on the tabulation machine being accurate, and
NONE of the states conducted a “manual recount” unless the election results were within a less
than 1% margin between candidates for office.          This places a HUGE concern on several levels.
First of which pertains to Attorney General Barr’s December 1st, 2021 comment in which he stated
“there was no widespread evidence of election fraud.”6 Mr. Barr’s commentary was frivolous and
illegitimate, as no voting machine was seized and forensically audited. Further, no state conducted
a manual recount7 of the entire ballot pool, and those that did recount used the tabulation machines
previously used. In short, there was NO forensic audit of the ballots themselves, only the “paper”
receipts created by the voting machines!            This “system” of “audit” would not meet any
requirement of the federal government’s own regulations pertaining to the Securities and Exchange
Commissions purview.




5
  https://www.ncsl.org/research/elections-and-campaigns/all-mail-elections635457869.aspx (Exhibit 2)
6
  https://apnews.com/article/barr-no-widespread-election-fraud-b1f1488796c9a98c4b1a9061a6c7f49d (Exhibit 3)
7
  Meaning “BY HAND”


                                                                                               Page 4 of 9
    Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 5 of 156




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7
  Meaning “BY HAND”


                                                                                               Page 4 of 9
    Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 6 of 156




        Indeed, the uniform standard for audit within the United States is known as Generally
Accepted Accounting Practices (GAAP) which within a “validation” process require a manual
reevaluation of each element of an audit, not a cursory review of sub-tabulated columns! How
can any party believe the economic and geo-political stability of the nation, and in many cases the
world be less acceptable than a party balancing a check book? It’s a preposterous notion. In short,
the “no fraud” statement was made by a review of printed audit forms created by the tabulation
system itself, not by a manual audit conducted by agents, or scientists. This itself is a concern, as
this “no evidence” frivolity has been over-populated in the media in extremis. It is simply not
factually correct to say there is no evidence of fraud when there has never been a venue that
reviewed “evidence” and there was no audit from which to conclude “no fraud”.                     Now in this
matter, we are not concerned about the outcome of Trump/Biden, but we are concerned about the
retention of actual records, an audit of facts, and the legitimacy of conduct by those who conducted
the first all-electronic federal election.


        Mr. Trump’s legal team has presented a theory that “machines flipped” or “changed votes”
in the Presidential election. Yet NO machine was seized and forensically examined by any law
enforcement agency. Further, no forensic exam was conducted by ANY legal team, or team’s
experts on the hardware itself. As shown in Exhibit 48 attached here to, it is possible using a
variety of techniques to embed hidden software / programs / application into a machines hardware
which are undetectable without forensic review. Also, as shown in Exhibit 5 9 there are a variety
of “anti-forensic” techniques that hackers / bad actors can use to conceal digital activities. As
stated in the article “Anti-forensic techniques can make a computer investigator’s life difficult.
From committing fraud in an organization to stealing crucial data, cybercriminals can perform a
wide range of nefarious activities. In some cases, these perpetrators try to cover their tracks by
deleting browser history, cache memory, and even cookies.” This “cover their tracks” comment
is most troubling as EACH company which sells election tabulation equipment details a “wipe” of
the tabulation equipment.       In Georgia, the state has repeatedly been “blasted” by judges10 and


8
  Information Hiding and Detection – Department of Computer Science and Engineering, Mississippi State
University. (Exhibit 4)
9
  https://blog.eccouncil.org/6-anti-forensic-techniques-that-every-cyber-investigator-dreads/ (Exhibit 5)
10
   https://www.yourbasin.com/news/national/judge-blasts-georgia-officials-handling-of-election-system/ (Exhibit
6)


                                                                                                   Page 5 of 9
     Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 7 of 156




others for “wiping” election equipment and in 2020 Georgia once again “wiped” their election
equipment in preparation for a “run-off” election despite two lawsuits being filed by prominent
lawyers regarding election fraud.11
        It is clear, in 1960 the Congress without forward vision of the emerging technologies could
not envision the word “records” to include electronic records, random access memory, phantom
memory, or the literal 100’s of ways a cybercriminal could embed information within a piece of
computer hardware. However, Congress was VERY CLEAR on their intent to secure, preserve,
and maintain ALL RECORDS.               Obviously, anything that preserves “data” would meet the
ordinary definition of a “record.”12 Since the “election machines” are still in the possession of
state election officials, but the states “wiped” the machines, this failure to maintain these electronic
records held within the machines themselves for 22 months is in itself a civil rights violation for
the exact reason the Congress mandated the requirement to hold records. Which was to determine
IF crimes / violations of civil rights had occurred.


        Mr. Davis’s questions.


        Mr. Davis provided six questions to me. I believe these questions may assist the Court in
obtaining clarity to the Plaintiff’s complaint, but I must clearly state the issue before the Court has
significant “public interest” merit, and accordingly I encourage the Court to grant the Plaintiff’s
TRO, so forensic teams from a lawful federal government can instigate a criminal investigation
into acts of conspiracy. Mr. Davis’s Questions to me and my direct answers are as follows:


      1.      How is “data hiding” related to Plaintiffs' causes of action in this lawsuit?
It is clear the Congress mandated the “preservation” of records relating to elections as a method
not only to assure the outcome of an election but also to determine if any unlawful conduct had
occurred within the election itself. Specifically, the Congress was concerned if some “bad actor”
could manipulate the vote, inhibit a person’s liberty interests, disenfranchise voters of color, and
conduct criminal acts, including acts of fraud. While this is not directly stated in the Civil Rights


11
   https://247sports.com/college/usc/board/59419/Contents/-judge-allows-ga-to-reset-wipe-dominion-voting-
machines-data-155673790/ (Exhibit 7)
12
   Civil Rights Act 1960 Sec 301-304 highlighted (Exhibit 8)


                                                                                                Page 6 of 9
       Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 8 of 156




Act of 1960 in one sentence, This intent is clear from a combination of statement, direction, and
requirements, not to mention the historical context of HAVA in the wake of the Bush v. Gore
election debacle. It is self-evident that every citizen has a right to a “transparent” election
process, and the federal government has a duty to ensure “a republican form of government.”13
The Defendants conduct to prohibit the audit of election hardware prior to “wiping” and
“warehousing” is a clear destruction of records in the possession of election officials, which is a
clear violation of Sec. 301 of the Civil Rights Act, which has penalties described for “each” person
who engaged in such conduct in Sec. 302, 303, and 304.


                           2. What is the relevance of the data hiding techniques?
Data hiding techniques destabilize results and erode voter confidence in the electoral process.
This, coupled with the states’ procedural “failures” to comply with HAVA’s multiple certification
processes, and the failures to obtain, retain, or preserve first-time mail in voter information makes
it almost impossible to certify all outcomes of all federal offices as anything other than a fraudulent
act. Without a clear audit of hardware or software and a hand recount of ballots, there is no such
thing as an “audited” election. Further, a forensic examination will review the conduct of actors
in the election process. Pertaining to relevance, how secure and honest are the machines? And
factual are the tabulated results? In my opinion it’s highly relevant overall.


               3. Do you have grounds to believe there is hidden data on the machines?
Absolutely. No person outside of the software companies have been allowed to review the
“proprietary software” of the election machine companies. As reported in Politico on Nov. 3rd
2020, “Most voting technology used throughout the U.S. is covered by intellectual property law.
That means the touch-screen you might have tapped on to vote could be patented. The software
used to process your vote could be copyrighted. Before you even got to the voting booth, your
ballot was likely designed on copyrighted software.”14 By the very definition, this lack of review
makes all “data” on the machines “hidden.” Also, by law, the states have to maintain this data /
record, including the software itself for 22 months. But, in several states, and counties once the



13
     U.S.Constitution, Article IV, Section 4.
14
     Exhibit 9 (Politico – 1/25/21)


                                                                                           Page 7 of 9
       Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 9 of 156




“contract” for an election is over the machines are removed, and so goes the “records” of the
election in the “all records” category.


                              4. If the data is hidden how would you discover it?


            Pertaining to nefarious data, or “botware,” which could be used to flip votes, fraudulently
tabulate ballots, or to “stuff ballot boxes,” there are more than 100 forensic techniques to find
malware or fraudulent conduct within the drive space. There are additional hardware monitoring
techniques that reveal “hidden” processes that are not viewable by a software review, code
review,15 or hard drive analysis based upon system loads, electrical usage, and machine systems
operations. There are also methods to mirror systems on to “clean” hardware which reveals
nefarious systems and operations. My recommendation is to ask a team of professionals, such as
Mr. Cain,16 to review the software systems, then conduct a hardware system load analysis to find
any malware systems mechanically.


                   5. Why should the judge risk ordering an audit of the machines?
                  Won't it ruin his career if he orders an audit that turns up nothing?

If we are to remain a nation of laws, then the Judge in this matter MUST grant the TRO in this
matter. As far as ordering a forensic audit of machines, I am not aware of a SINGLE machine that
was used in the 2020 election that has not been wiped post-election due to “decommissioning” and
“warehousing” or “run-off election” procedures.                     However, a review of the operating systems
which are, by nature, hidden from review of the public and election officials under an absurd
“copyright” argument will reveal any conduct or systems / activities alleged in any of the hundreds
of election fraud lawsuits that are moving towards the Supreme Court.17 At this point, the Judge’s
act would seem to be nothing more than a “friend of the court” activity, which would assist the
Supreme Court in reviewing these cases.




15
     Introduction to Hiding and Finding Data on Linux (GAIC Certification Series) (Exhibit 10)
16
      Mr. Cain submitted a report as part of the Plaintiff’s Complaint illustrating multiple calibration/ certification
      issues, as well as stated his expertise in forensic / compliance issues. (Exhibit 2 to Plaintiffs’ Original Complaint).
17




                                                                                                               Page 8 of 9
      Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 10 of 156




               6. Can you offer the Court anything beyond mere speculation that there
                     is hidden data on the machines, and that you could find it?
                     How likely is it? Over 50% chance? Less than 50% chance?

           Based upon my 20 plus years of experience in the networking / communications / internet
/ technology space, I can concluded with near certainty that “hidden data” would be revealed18. I
am more than certain that a team of forensic auditors will find a series of anomalies, errors in code,
and malware within more than just Dominion Voting’s systems. As most of the companies use a
common foot print and operating system readily available in the retail sector, it would be irrational
to assume any of the systems are immune from, or secure from malfeasant conduct, wether by the
companies themselves or cybercriminals who obtained access at various stages of the pre-election
/ election / post-election process. No matter what the outcome of the audit, the records on the
machines themselves are mandated to be preserved, and it is very apparent a large portion of the
“records” held in the possession of election officials during the election process do not remain in
possession or secured as required in the Civil Rights Act of 1960.


           Conclusion


           The public interest issue that emanates from the Plaintiff’s legal action is graphically
multiplied when viewed against the post-election conduct of the Defendants who are beneficiaries
of the unlawful election. As a Veteran, I am shocked by the repeated unconstitutional conduct of
the 117th House of Representatives and many Senators, who obtained office by unconstitutional,
and unlawful processes. I am bewildered by the brazen arrogance in the Senate scheduling the
impeachment trial of a now-private citizen of the United States without lawful right. I am deeply
concerned of the calculated injuries inflicted on our nation’s financial mechanisms which could
cause a geo-political shift and stimulate the emergence of a new global reserve currency. I foresee
in the not-so-distant future the globe will not speak of the “dollar” as a unit of currency, but will
instead reference the “yuan.” As stated in the Global Risk Report, once the world realizes the



18
     Based upon the knowledge that no third party has been afforded the ability to review any portion of the EVM’s
     operating systems, or other components of systems integration software. Due to this, by very definition, all of
     the software / hardware configuration and sub programming is ‘hidden’ and contains ‘hidden data’.


                                                                                                        Page 9 of 9
   Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 11 of 156




Congress and President are not legitimately seated into office, this country will no longer be a safe
haven, because it will no longer be known as a nation that abides by “the rule of law”.


       Respectfully Submitted


       /s/ John S. Vanderbol III
       John S. Vanderbol III




                                                                                        Page 10 of 9
Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 12 of 156




                            Exhibit 1.
   Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 13 of 156
                                                                                         Hea    E ec



From Tab la ion o Cer i ca ion: Ho
Ba legro nd S a e Co n he Vo e
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Authors Je fe F ed a J D      T F ed                 a MA I e a          a P c   Je e La a
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BA       S d e F a e be M A I e a                     a P c     Ad a a S e a M A
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  Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 14 of 156




Table of Con en
Introd ction
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Florida
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Concl sion
Appendi


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   Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 15 of 156




In rod c ion
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Processing Mail In Ballots P ce       a     ba      a ca ed e           ce     ba     Ma
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T e B a a P c Ce e c            ae    e     ce f       a   ba       a e e     e e
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                               Hea   E ec          C       eV e
        Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 16 of 156




T e        f a     ba        ce      a e ac    ec       S e a e be      ce   ba
  ee   ad a ce     e     e ae      a     ed be    E ec     Da S a e a be ea     a
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                Sae                        P ce           Be        Tab a     Be         Ba     Rece   Dead   e

                F    da                          Se                     Se                       N

          N         Ca            a              Se                      N                       N

                A        a                       Oc                     Oc                       N

              Mc         a                       N                       N                       N

           Pe            a a                     N                       N                       N

              W c                                N                       N                       N
    A      a a                   ce      ba  a            a    e a e ece ed T e     ce   da e
a           ae               e        c a be          a        ba


                                             Hea      E ec          C        eV e
   Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 17 of 156




Tab lating the Vote Tab a     a          a c              e e     e Tab a        a be
    E ec   Da a e c e f e          b      e a e be         e    ce ea e S a e e e a     e
   ac e     ef      e   a c          e e        a e     T e ec c ab a         ec         ed
   eac a e a e de P            e e e a feed a e ba                 ac e     c
a a c      a e e d f e da P ec c a e         a e       ed      a a a d ec e        e
  a fe     ec      a a e ec d f e b             e a e ba      ca a d           f e
a e a ed     a c       ca e f a ec      Sae a       ae     ce e f     e e     ba     a ae
     e b e a ac e c a          e a e          e    e a ef a         e ca d da e    c ca
 e     e a a c      b          e

Reporting the Vote L ca e ec       ca a e             ca e       ed   b     e ab a       a
  a e ce a ed e       e          e a a de            a ed    e e ec          I a e a ca a
   e   ce f ab a     ba     bef e E ec   Da              e    e     e ea ed e ec     ae
 fe e      f   ea       e          a d f               e   ed a     ba     S e ae e    e
e ec      ca         c                 e             a c       c    ee

Certif ing the Vote T e         a e        e ea ed e ec                a e e ed e e c               ee
a e ec     ad        a     c     e ea       c a ca a Can assing            e      ced e             c
e ec        c a e f a eac ba ca                   e e ec       a c ec c            ed D      ca a
   e ae a e            e a d e          f a e ec       a e e e ed c ec ed a d c a ec ded T e
 ca a          e ca a         f e f a           e e ec        O ce e ca a f e ba               c      e ed
a d a d c e a c e e ed e e a a e e ce ed                               a b e Sec e a f S a e
Certi cation       e    ce b        c     e e        f a e ec      a e ade c a Ca a             a d
ce ca        ae      c e e a ed         ce e a d e e           ae      e e ed e c a eab b
         a          e a a e ec        ca      be ce ed           a ca a      c       e e Ce ca
      e a ee a           f a f e ca a d c e a                     c d ce ed e                a c a d
  a a e        e ca a       b a df       e e e a da             a F              e ca a      b ad
ce ca         f e e ec       a d f e      ed b S a e a        e e       b e e ec      a                 de
eac ca d da e        a     ce f ce ca          f e e ec        If ca d da e c e          e e        e
e ec        e c e e a e a c d c a ec

T e e       e ef   e c      e    A e ca e ec                      ca c        e e We e a          e
ba e        d ae A     a F da M c a N       Ca                   a Pe       a a a dW c             be
de c b       de a   eac a e e f      f     e                   ce




                                   Hea    E ec        C          eV e
   Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 18 of 156




Ari ona
       Of e ba e      d ae A          a d     c e    a a                   ea    c          f ba
   c d    a    ba       a        da bef e e e ec      Pa a e                        be a a ab e
E ec   Da de e e e ec ed c ea e           a    ba   S eA                    a e ec        e ae
    a    c d      e dead e f c         a a     ba   a a bee                 e     ed             a   e
a d e ea e      f         a ba     ca       e      ec c B                          e     a ee        be
a add    a dec          e e ca e bef e e e ec     a     ac                  ba      a ec      ed


Proce ing Mail-In Ballo

        U de A      a a A Re S a                  ea ba      ca be e ed a d c     ed b
e ec       ca     da bef e E ec       Da b      ca     a     e ea e e e        a     ec c
  ae e     ed          e      af e e       c e E ec       Da A a        ba         be
 ece ed b       PM E ec        Da     be c   ed A ca e ed A          Ya ie Hobbs c a e e
     e    e e     a a      ba     be ece ed b e ec        ca     a e a
       a ed bef e        PM E ec         Da b a fede a d c c        de ed a e    a
     c         a e E ec     Da dead e        c de a a a        ed a ea b e U S C          f
A ea f        eN     C c    S     e E ec    Da ba     ece dead e        a df   e e ec

         Ma       ba      a e ce ed             a e e ca         T           c ba      ca    be
c      ed ea e a           da bef e E ec     Da    e ca be c ea ed            a    a e e ca
    ce      a be         e     e ba a d ba a da          ece ed b e c           ec de        ca
c a e f e e ec           a          ae   e ee f Oc be                ea a ba        e e a ed
be           Oc be          T e     ce      e c    a       e    a e         e ba a da e e             e
        e      a e         e e e        a     ec d If a     a e ca      be e ed beca e
  c       e            e e e          a   ec d e ec         ca a e e      ed      a e ea ab e
e            de A       a Re ed S a e              c ac       e a d e e a
c ec e           a e V e             ae       e f b      e da af e e e ec           c ec a
      a c ed       a e If e          a e     e ba e e e              e ed b            e e ba
    c       ed If e       a e e ed e C             Rec de          a     e       e ed a da
e e e a c a d ee                e ba a d a da         e ed     e e      e e e             e ae
  a fe ed         e e ec         ce f f   e     ce     a d ab a

       B c     a f e ba                   a  a e        e       ae                  PM     E ec      Da
       ee     bef e e ba           e ec ed A   a a          e          e        ced e f



                                 Hea   E ec        C            eV e
   Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 19 of 156




    a e ee A        Re S a               b     ec e e         f e E ec   P ced e Ma               a
d e add e            e Acc d           e Ma a      f e ea ba a da               ed e
C        Rec de      a       c      e ba     T eC     Rec de a        e a e a ea ab e a           d
  ea     f a e          c ac e e a a                e e     e a e a d e a         f e                     e
  e a da     a            ed a d e a        e e         e a c e e              a e ca                 a
 e ace e ba        bef e              E ec    Da T e C       Rec de a a e         c ac                    e
   e a      a     ac cab e        a c ac f        a    a a ab e    e e ec d a d a                  e
     ce ea ab     a a ab e       eC        Rec de Ne e e ace e ba                   a
ba     ca be      ed af e             E ec    Da

           T eA       a De c a c Pa        ed e       d a           ced e Ari ona Democratic
Part       Hobbs c a e e e c e            ced e a a            e         a c ed    a e e da
af e      e e ec        e f e ba             ea            e              a e
PM        E ec     Da          e     a e T e E ec      Da dead e a e       e     e e        ae
  e        e e ec ed a e a e fa e       e       ece e    ce       e c ec e e      I add         e
  c         e c be ee      e dead e f         a c ed    a e a d             a e c d be a       ce
 fc     f        f    e T e      C c       a           d a fede a d c c      de a        d
e e    d e dead e add e               ed a        ba     e d a ea

          Ba      ca a be e ec ed      e     ce       a e f e a e ca          e          ec c T
    e a a      e e a ed    a     I Brno ich DNC e a                 ee   e         ae e e      e e
   a ba      ca       e         ec c a e a       a ca d ca ded a d       c        ed              ead
   a     e f c          ae a d a     a      ce     ba     ca      e            ec c       d be c     ed
b     a      e f     ec c ec c ce              d     be c     ed T e N       C c         c d        e
 a      d       a     a e ac ed      e e          d c      a ea a                    e B     eA       a
A       e Ge e a a ea ed e ca e         eS e eC              f e U ed S a    e        c a ed
ce     a a d         ea e ca e            e a e a          e ec        a        e


Tab la ing he Vo e

Logic and Accurac Tests

        A     a e   e a f e ec     e      e be e ed a d ce ed bef e a e ec       U de
A      a Re ed S a e             e     a d ce ca        ce     a e ace b      bef e a d
af e eac e ec     e    e  c           e acc a e a d a b       e       e c ec
ca d da e a d ba     ea e Eac c         e    ed  e a f e ec      e       e     e
  ac e bef e a ab a        ca be     T ee e       be e ee b a ea         e ec      a



                                 Hea   E ec        C         eV e
   Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 20 of 156




     ec     fd e e      ca a e I add      e e                        be  be a   b
e ee a e f         ca a e ca d da e   e e a d e                  b c Add   a f a e ec
 a c de a fede a a e de     e a e ce e Sec e a                    fS a e  c d c add   a
  c a d acc ac e      e    e f      a   c   e

Earl Ballots

       I   e   ea          be     da         bef e E ec      Da a d c         e         e F da
bef e e e ec    T e e ec       ce a          be      ab a     ea ba       af e c     a    f    e
Sec e a f S a e a a          e    e          a e a e        ed    c a d acc ac e A Re S a
        A Tab a       f ea ba     ca          a      da bef e e e ec        ARS           B O ce
  e    a e a ea ba a da              e          ed b e C        Rec de       e ba     e      e
ea ba b a d       c       ade   f a           e be        ae e      ed be a a ed        d ee
     ca a e T e ea ba b a d e                e e ba       f      e e e e a d a               e
  e ab a            e e e ec     ca                e           ab a      T e ba    ab a
   e   ed b a     a e e de feed               e a e ab e     a c ba      ab a     cc

Election Da Ballots
        S ec       e      e e ce a c          e d          c     e        e c     e ed ba       a
  ec ed ba b             c    a     ed        ec         ba     ab a     ce e af e e        c   e
T     a    a           ca ed    b e ec           e       fd e e        ca a e

        O e c       e e e ec c ab a                 e d         c      e              e feed e
c     e ed ba         a ab a        ac e ca     ed a e           ca      T e ac e ab a e e
ba          ed a e a d a e e e c            a   e     ab e ed a de ce      c        ed   de e
 ab a     Af e e         c e e            e         e de      e b        e e    ab e ed a de ce
  e ce a c            ca     f   ec       A      e ce a c            ca     a e ec        c a ad
  e e     f       e e     ab e ed a de ce         e ec e e ec       a a e e        e a dc b e
  e e a f a           e         ca

     A c     e     f    c a fc      d     c T                     c de e     e e f
d c e a         e a d    f e e ba     a e f ba                     ec e ca      a d e e de
feed  e ba    ab a          C     e   a f                          c f e           e ec   f
a ba     c d     e e f a e e de ea de        ca                  bad e a d a            e
e ec    ca f              ca a e e e




                                Hea   E ec           C        eV e
   Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 21 of 156




Repor ing he Vo e

         U de A         a Re ed S a e T e Sec                           c a ab a ed e       a be
 e ea ed af e a      ec c a e e        ed      e     af e      ec         f         c e e c e       I
a ea       a e a e          e de fac defa    a e ca          Sec e a f S a e SOS eb e d ca e
  a e           e         be e ea ed a      PM     c          e       af e e      c ea        PM
T ee         e            c de ea ba           c a a          ba          c ca be c     ed a
da bef e e ec               Af e a        ee e          be      da ed       ad ca   a c    e ece e
  f     a     f              ac e a e                ca         T ee e        ae      ca a e a e
      e bee ce ed b e b a d f             e             e        ce     c a e Re      ae      a e
  a ed           e SOS a       e fa         e e ec     c     ea     a e a e ab a ed a eac      ec c

          A    a e f a ef             BP a        a ec    a     a     e a e e T a V e E ec
S f ae f           a e e ec            e            e      c       c       e a     e       d a e
 e      f    e b c O e ec                     e a e da e e ec        e            ENR eb e a
   f    a       e       f     a c      e T e a e ENR eb e a                e b c        e e    b
c                   f e c           e e           a e      a ENR         e I          ca e   e
   d d a c        e a          ad e            e       eb e a df               e T c        e G ee ee
a dP a       e Sc a         e     a ec       a   e ec       f ae             e e            e
   d d a c           eb e N ab              e e P ec c Re                    be e e e        e    be
  f         ca         a ae e        ed e ec     e             c ea f        ea      a e c ded
    ec c a e         ed ab a          e e           f e       a e e ef          c


Cer if ing he Vo e

        T ce f e e ec         e      e ec        ca         ca a   e e ec     e       f eac
   ec c     e ec   d c T e Sec e a f S a e E ec            Se ce D             c a e f ce f
      e ae e e        e eB a d fS e             f eac c        ce e e c           T e ca a
 e e       e a f a ace ab a ed b                 e       e a e a         e      e Ca a
be ca ed       b aB a d fS e               a b c ee         be ee     a d da af e e e ec
T eB a d fS e                ade      fc           c a e ec ed a f      ea e    T e ca
e ec     e             c de a S a e e      f V e Ca a c        a e O c a F a Re          a da
W e I V e Re           T eS a e e       f V e Ca            c de e        be f ba     ca      eac
   ec c a d c          e e f ce            f e ec        e a e f e e e f e ec                  e
     be a d e f eac ba           ea e a d e           be f e ca f a d a a          eac ba
  ea e T e c         a e O c a F a Re                  c de e a          be f ec c          a
     be f ba      ca     a       be f e e ed e e b e f             e e ec    a d       be f e
ca f eac ca d da e b d c           d          T e W e I V e Re                c de e a e a d


                                  Hea    E ec        C           eV e
     Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 22 of 156




     be f e f eac a           ed    e ca d da e b ec c O ce e b a d f       e
c     e e e e ec     e     ce ca       e O c a F a Re    a dS a e e    f V e Ca
be b ed           e eb e f e ce       c a e f e e ec    U de A      a Re ed S a e
         f e e ec     c de a fede a a e de     e a e ce a a e de ba           ea e
  eB a d fS e            e ec      ce    c a e e     ed   a       e c a ca a       e
Sec e a f S a e e ec    ca a d b a




Florida
        U de a d F da     ced e f      ce    a dc       e b a ba
e ec a        a    e e    be f F d a e ec ed       eb a I    e    a d
 e e a e ec     e b a ba    c     ed a        ae     f a ba    ca  F da
T     ea F da e e e ed ea                 e b a ba    a     ae a      c ea e
  e e       be f e b a ba     e e ed

        Fda        ec         ce c     f e       e ba   ab a                e ba     e
  e e   a d ce     f     e e    A ab a      e     ed F da                   de a
L c Acc ac        e bef e b c e W e e a e        ce bea e e a               a e        a        f
   e ae      e    a e fea e f F da     ec          ce  c de               e      a e
 e ca       ce    a d    ab a      e a    a   ce


Proce ing Mail-In Ballo

      T e     e ea d   ced e f     e      a dc         a    ba         ec ed de F da
S a e T e IX                    S a e e ca        a dc         ca be a       AM
Oc be        da bef e E ec     Da e ea       e e    ea    a fe     H e e ea e
 ea    e     e   e COVID c        F da G e         R DeSa          ed a E ec e O de
  a e     ed F da c     e    be      ce     a d ab a       e b a ba            ed a e
af e e ab a       ac e a e c      e ed e b c L c Acc ac e de c bed be
T e ef e beca e e F da S e           f E ec    be a e d       a    ba         e
Se e be      ac     c d       e   be c            a    ba        Se e be             a
 ab a      ac e ad bee ce ed A c            e ca    be    ab a        e e later a
         e da f        e e ec

       I    ce         a   ba         e ca a    b ad   c      ae   e e          a       e   a
 a     ba   e e    e        e    e        a e    e ec c e     e    ee a     e       e



                                Hea    E ec     C      eV e
     Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 23 of 156




 e e ed      ec     a d de e        e e e a    f a    e b a ba     T e ca a     b ad
ca     de e     e a e      a e d          a c fa a       f e ca a    b a da e a a
c c      a d f e      a e       ac      be d a ea ab e d b T e       e             e
     f e e a        a     be b       b     ca   a a db e a e      e a e    ee      e T
c e e defec     e e         b     a c e a da ce f        a e b      ed e      eb a
ba a d a ac      d c e        a c         e de     T e e a              PM     e
 ec d da af e e e ec      e e a         e a   e c e a da       ec        e       f
e ec

        A ece e       ca   d       c    ed a      e F da ba ed          ea                c a ae e
      a e       a c e e ea a ca             ca d e e ce        e ec     ae          a       a
c        f e       a     F     a ce        Je e     C        e ec ed    f              a ba        e
 a ec      e e B a d a d M a Dade e ec ed ea              O e ea      f              d e e ce    ae
a      c     e a      c    e c         a     c     e     ce ba       F              a ce d e e
e ec        ce F da e d e e          e d     c ac       e     c e e ba                S ec       e
c ac ed e         e e       e b e a a de e            Faceb          e    e            ce
  a ed a    ce A fede a d e ca ed F da a e          e      e ec ed e b              a ba      ac a
      fc     c    a dd e         ced e          e ca a      b a d ac                e a ee          a
  a    f   ced e      e c    a        a e

        O ce e     e      f e ec   c       a e                  a e      e       e ba e e e
  e c e a da     a c e e e ec d e e ba                         e e e        e    ed T e e ec   a
      e      e e c ed ec ec e e e       a e                     b e de e         e   c ec ec e e       e
ca e      f  c       ed a      e e e T ec                     e ead      ab      ae e e


Tab la ing he Vo e

         F da ec c ab a e e          e               ac     ec               e      a d a ca       e
ba       ca    e e e ec     a d e ab e       ec c         e a a ea dd           ad e a e a e e
U    de F da S a e T e IX C a e              a               e     ed f      ab a        be ce   ed
b      eS a e A a e    d a e                 e              ee a         a   d a ea d f a e
 e      e e    e f              F           a ce a             e e      e    e    a       e        be
ca   ab e f a    a ca   d c      ec c          a            ed f

         A          e      a    de a                   b c L c Acc ac L A Te         de
               F a    e  ec c   e ca a          b a d ca    b c e e e a    a be f
     e       ed    e ec c I       b c e          ca     e a e dec e f ba     a    de ea
ba           e   a e ca       e     e F          a ce e e dec    e ac a ba     a ae


                               Hea   E ec            C           eV e
   Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 24 of 156




  a d a ed        a ed       ba      de ce T      e dec               e        e If a
 e ed ab a      de ce    d   ce a e        ab a      e e dec   e de ce dee ed
    a fac      T e ca a       b ad        e de e    e e ca e f e e      de f a d e
    e de ce a c d ea          ab be a     ed    a e e a ee    a d e a     ce      be f
de ce     de e     e a a       e de ce a e a fac

     T e ca a  b ad                 ee ec d f a f e b c L A e C e          a ce ed
       e a e ed     eF             da D      f E ec  eb e a      eac     e
c e    d ce ca      e             a d ce ca      e e   De c ac S e a d EVS a e e
ce ed ab a     e be                ed F da De c ac S e      ed b S a e a d EVS b
   e a    Sae

        F a acc d          F da S a e T e IX C a e              e    f a ab     a ed ea
a d ab e ee            be e e ed      ec        e ec       a   a e e       e   T ec
e ec       a a e e     e     e     bef a e a         da a       e ca      ab   a      a d
 e         a d e ab e e c         e       a da a a d      e    ba     a e A     ea a d
ab e ee ba       a a e bee ab a ed a d ca a ed         be e    e ed      e     e b        PM
   e da bef e e e ec     a     ca e      T ee e                e a      ae         ec e f e
         E ec    Da


Repor ing he Vo e

       E ec   N    Re            ENR      ced e f F da a e d c a ed b F da a e a
         e ec c e           ec   a      ca a b c        A d c ed ab e      ec    e
 ab a e ea       b       PM      e da bef e e e ec          e a    b c e ee e      a
   e Re         be e     ed        e F da De a e     f S a e DOS        e af e     c      e
a da e b e e         da ed e e            e    af   a e c bed b e DOS A e
be b       ed  e DOS b                ef     da af e e e ec

         O e ec           e ca       a    e           e F da E ec     Wa c     e e
          e a    a     fc    e eac        e ca       d c f       ec   a VR S e f
e ec           e   V eF c      e E ec    Ma a e     e S e EMS de e ed b VR S e
     ed b     f c     e F da a ea            a Pa      Beac C       a ece   a ad ed
V eF c       W e e De c ac S e a d EVS a d          a e a d f a e ac a e a e e       bef
 ab a       e ba     eV e F c      f ae e           bef       a     a d a a     e ec
da a T e e ec        e     c      e e           e    e ca d da e    c ca f   e be b e
d          V e B Ma Ea V         a d E ec      Da   a d e       b ec c Sa a a C          e
   e ENR     e f   Sc a      e a e          ec          c   a       eO a eC        a ea


                                 Hea   E ec    C         eV e
     Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 25 of 156




           e                eb e a     e A c    e       a e     e    e     e        e
F     da De a    e       fS a e    da e e a e F da E ec     Wa c eb e

        F da a        ca   ce e f c ec         e        e       a d e    d     c e e    A
d c a ed F da S a e T e IX C a e             Sec        f         ca e          e a ae
bee ca a ed b         ce ed c a a c                   e     c     e      c ec e e    a d
 e ab a e T e DOS         e e f e ab a         a    dc     a e e ab a       f ae      e
  f a e ed           e de a e          c ec         a b       e e    a d e f ae e e
a ec      ed acc a e C ca      f      ca e          d ca e a a ca d da e ba      ea e a
    b e       a      a ec        de ed f e e        f    a ec c e ec       M e e f e
  a      f c       e a       e    a       e ce        e ec          be e f   ed a a


Cer if ing he Vo e

       F da a d e e     e e f c      e   b      e        c a e ec    e    a d
ce f e      c a e ec  e   U de F da S a e T e IX                  a F da c    e
       b  uno cial e      e DOS b         ef       da af e e e ec      U de
         c     e e ae         da af e e e e a e ec       ca a a d ce f e
o cial e        e DOS

        O ce c       e  a e ca a ed a d ce ed e e               e F da E ec    Ca a
C              ade      f e       e     a d      e be f e cab e e ec ed b e        e
ce f a f e c          e      e T e a e Ca a         C            c e e a      AM da af e
  e e e a e ec       ce f a f e e If                   e da af e e ce ca         f e b e
E ec     Ca a       C                ac      ca a     b a d de e    e a     a f   da e
  e ca e            e      ed       e a e a d a a c ec        f a e     c d e       ac a e
  e   c e f a e ec             ec       ca a     b ad       ce f c ec ed e           e
De a e       fS a e                    T e E ec    Ca a       C                 e c ec a d
 ece f e e ec       e        a        a ac cab e


Michigan
        Mc a     ca a ea c a       a ec d b ea          be f ba            ea        a
ba     e ec ed c     e        fa      e      e a e T e COVID       a de     c e ec ed
        e e a     M c a e ec            e         e     be f ab e ee ba       a  ca
 ac            f e     be f ab e ee ba     f          F    e     e   ce     e     e ec
Mc     a a ea e a ded          acce b     I           e a ed a e e f        a e de ba



                                  Hea   E ec    C           eV e
   Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 26 of 156




       a a           a e b e a d e e ed M c a            e      e e a ab e ee ba
     d a ea          a da         a e da     e e     a
        I          Re b ca      e de a ca d da e D a d T                 Mc a b a              e        e
            e ca           e a eb e a         e    a       fa     ae       ec        G    e         a       e
e ec      e      a e e ec ed be         c e ed c           a     b e de       ec          e        e
Mc a c d               e be a     c ed b c      ca ed e dea     P ec c         ba c                     a   a
a ed e e f            e e        a a e e b e be ec            ed T               a a      a              be
e ce f       e fac a          ce e a e e ec ed        a e           c ed b        ab e    ee
     d c                  f e       I De      f ea      e        f        ce e d               eA
          a e        ed acc a e ba c          Ma          e e ec c a e b e f              ec            c       d
  a ea       ca        ac     ee e     f a c e ace


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       U de MCL       ab    e         b     e   a ed ab                  e ee ba  bef e    c e
   N e be d e e b a        a d de e ed     e c                               ce W ea       a
      b eMc a C        fCa     e e ded e dead e a                          a a   ba     a a e
           ee f E ec Da    be c    ed e M c a C                          f A ea  e    ed e
dec      a     a ee a    eed f    ee e        e   e                      be f ba de e
a a ab e     e

        O ce e ec        ec c ece e e ab e ee ba                 e ca e             e f
   ece     a de e e ba              e ab e      e     ec c        ee         be     ce ed a d c     ed b
e ec         ec      MCL                   f ec                   e ec     c              a e ab ed
a ab e        e c         b a d AVCB        e    e ba           be a e          e AVCB f       ce
a dc            MCL           a        d AVCB a e ded ca ed e ec         c           b a d a ee a a
 e a a e ca        a a f        e     a df c       e         ce       ab e ee ba           de e
    e         f e ec        ec     F e                   e AVCB a e ec c                 e e      ae
 e     ed e a a e f        e ec c e ab ed f                e             I c       a ba      de e ed
d ec         e ab e      e      ec c a e c ded a a f e ec c                     a E ec O Ma a
C       O J e              G e       Gec e W           e     ed        a a a e d e           a    e
      c a e e                c b e e         ce           e c e a d                     ec         c ea e
AVCB        e ea e a ad e                     a    ed AVCB        e ea       d d a ec c

        Acc d     MCL       a    ab e ee ba    ca     be                 ce ed              AM
E ec     Da A b      b a a           a       ed     a                    Oc be               e a d
        f f ab e ee ba c       a da            c a e                             a       f a ea
            ce ab e ee ba  e da bef e e e ec      f                        AM           PM P ce


                                   Hea    E ec        C          eV e
   Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 27 of 156




a a      ba    e     e a fac      f a      f    a e     c d      a ece      a c      e ed
  ee a            f e e      e e e a d a e ba            b      be a c e e         be ec ded
f     a    e Acc d        MCL               eb a d f     ec          e e f e e
     a e      e ba e e e a a           e      a e      e a ed e e e             a     ec d
   a e ca d de e d         e    e d f e e          a      See e Hea    E ec       S a e
Ve ca       e     f     e de a      Mc a       e ca          ce If e    a e e ed e
ba        e e      ed f      e e      a      e e e a d e ba         ce        c     ee I
A A b MI            ce   a     e ba     a e a e    a ed     ec d

        O af e a a         ba        a bee f          ce ed ca be e       ed f       ec ec e e e
a d aced        a ab a f c                 U de MCL             c    ab e ee ba       a be ca a
  a e ba      ba ca d       ac       b a        e e f de e d         e ec c If a ab e ee e
   b     a a e ba     e ec            ec    a ea        ed    ec d e ba        a a e ba ca d
   a     e fed       e ab a         T e e ab a             a     a ca e ec ba        a ae
    e   ed b a      e MCL                     c     e         ab a       ed f     e
de c bed       e e ec         Pe    MCL               af e e ec c       AVCB c      ee        e
c      a ea ed a e e      f e            e    ed      ec      ce          a e         de a      ca
 ab a       f e e            e      b c e d a           c a ca a b e c          ca a       b ad


Tab la ing he Vo e

         Eac M c a c                 a ed c e             c      e       e ec    c           e             a
     ee a f e                  e     e e            ed MCL                    T e a e ae e              e
         c de          a e f a e ba          f ab a                 e             b      e ec       c
 ab a       e        e      a a        a ca e ec a c ce ec ded a e ec                   ba      f e e ec
    e f        e c ce a           e a ea       ed    a             a e                      c
e ec      c ab a        e        e      a ca e ec a ba         f    a d e a e ca                       a d
    e ec      c ab a        e        e      a ca a e      e e ec     f e ba           ed a d e e             e
                  ca a        e ba                   c Add          a     e ab a           da           de a
  e df          e      be e de ed          e ab e f e a a e e ea ed bef e              c e e
               U de MCL                      a e        c             f e e ace a a               e          e
   ede e      ed a ea La        f f      a e e ea           ec         ce e    e a a ef        e ec c
a d a ba be fed                  e ab a         e ec ed beca e f         ca da a e defec e ec
    c a ca d        ca e e da a ed ba a d e feed                     e ab a      de MCL               a
T e ea ec e               ee c      a e a              ab a         a ee e e e        e e           e ae

     E e e ec           c ab a            e          e ed a ea    ce   de M c a a          Acc d            e
Te P ced e Ma          a b     e              c           a      ee      e   ef                e            e


                                    Hea       E ec         C        eV e
     Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 28 of 156




ba     a e bee      e     e a ed f eac     ec c a d           a e      a      acc     ae c
   e T e       e           a e e          a acc ac       e a d        be    a         a ce
 ece e e ab a a d ba          T e ec d e             a      e   b c acc ac e           a da ed b
MCL              E ec        ca         e e b ca          ea              ce f e        e a d ace
 f e e a d c          ce      be aced a e        a e        b ed       ec      c         a e
             c   d c        e e e e ec     c ab a        e      e       ed B      f    ee     a
 e e f ba               e ab a     c ec         a e      e a e ab a acc a e            c        e
ba    a d e ec ba        a a eba        e    ed a          ed MCL

       U de MCL           b ce e e c             f   ab a ed a d  e a d ab e ee                e
a e e a a e added f ece a       ec      e    ed b e e ec   c ab a   e     e
c       e e ca e          f eac    ec c   e ec     d c    ce a bee d ce ed


Repor ing he Vo e

        Mc    a ae a e      e c       ce      ab a e        ca e      a d e        e         e
   b c      ece   f ae e      f e      Acc d      MCL              b       ca e       f
M c a e ec            be ade a a ab e      e b c Add       a acc d          MCL
        ece  f e ea ed a e e     f e     f     ec       e ec         ec     c      ce
c       e    ca e     f   ec       a d a e e a a ab e          e b c H e e               e e
     aced    e b c e        e     e e b a           e        ca e       a e f e a a ab e
e ec          c   e ee        b c            ca e     a       e ef                      af e
   ec e f

        E ec          e     ae e    ed a e a e a d ca e e M c a T e M c a
Sec e a f S a e      ce e          ca e            eb a e Ma c       e a d ec
  e         ca e          e de   a ed eb e a PDF A         f   ec        eb e ca be
f    d e e Add     a a fe c       e e     E ec    S ce a ca M c a c         a a a
E ec     Ma a e e Se ce EMS e d E ec           S ce       de a        ca e     e
  ef c         e e e      f   d e e H e e Mc a         a e c       Wa e C        c  e
     E ec    S ce e         e        e ce      bef e e        e e a e ec   d e
   ea     a     a d         e          a


Cer if ing he Vo e

     Eac f M c a      B a d fC               Ca a e   e     b e f ce f                 c
  e    e M c a B a d f S a e Ca a e          U de MCL         aB a d fC
Ca a e      ce f a c           e                da f e e ec    O ce a c                a      ed


                               Hea   E ec       C           eV e
   Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 29 of 156




   ce ca        e    de M c a C ded La                          e a e a ea ed a e e
c a        da a   ec          e    c d     f      a ce e      be f e ca f eac       ce
If e B a d f C      Ca a e fa        ce f        e a d e ae        ea ed a e e
da          de e a e e a          ec d       a d     e B a d f S a e Ca a e a d e B a d
 f S a e Ca a e          ce f        a a c a c              e           da f ece       e
 ec d U de MCL                  e B a d f S a e Ca a e         be      e a e ce ca
    ce          da af e e e ec     a d       ce ca                da af e e e ec

       Mc  a ca      a     e     ec      e      ce f       e   e
                                                            a e ed ed ba U de             MCL
          f e            c a e ec    e            a e e d e e a be ee       e               ace a d
ec d ace ca d da     e f      e e de     a e ec    fe e a         e    e ec e a           f ae
 a d ec e B a d        fC         Ca a   e        ce ca       e c     I fac     e         ec e a
f ae a e      e       eB a d fC            Ca a e        ce ca    a d e ae e               ea ed
 a e e be ee         a d da af e         e e ec

       Ca d da e ca a      e        e M c a ec e a f a e c d c a e ec
ce a c       e U de M c a C ded La                        e ca d da e         e     f a ec
                 f ec      e     f ce ca         T e ca d da e        be ab e a e e a     d fa
be ef a b f         e fa d         a e e ca d da e         d a e ad a ea ab e c a ce f
          e e ec   T e e              a e e ec c        a ce f          d       f e ca d da e a
  c e de ce b      e ca d da e        ec f e c        e        c     e e e a ec          U de
M c a C ded La                 a d             e ca d da e e e         a ec            a
de      e ec c T fee a ed                    e ec c f e e e                   a     f c     f     e
        ca d da e e e e         e       ea e a           e          e ce    fa     e ca       c e e
   ea e If e      c e f e e ec          a e ed a a e       f e ec           e de       ef ded
N ab       de M c a C ded La                   a d           a e e ed e           M c a ca a
 e     f a e ec         a d e a e ef           a      a ca        e a a e de ec          f e
        ca d da e ead            e     fe e


Nor h Carolina
       T e a N     Ca      a    ce e a d c         a   ba      a a ea               f    d e ec
  e e     f e ae         Ge e a E ec      A f Se e be          N     Ca               a ad a ead
e e e ced a a       ae       e f d c ea e ab e ee ba     e e     e e                  be e e ed
a e a e da e        N      Ca      a e ec   a a       ca      e e b                 dea
      F     a ce ca e ec         ca a e ea            be     e    a d e             a     ab e ee
ba    f c           e f T e da bef e E ec        Da T e a a         d add               a ee



                                 Hea     E ec          C           eV e
    Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 30 of 156




af e E ec    Da a d         e da f ca a     c     aea    ab e ee ba     Rece
    a     a a c a ed e       ced e f      ab e ee ba  ca be   ce ed a d c    ed T e
    c e f e d        a      c d               eUS S e eC         a f     e a e
N      Ca    a ca   ce a d c       ab e ee ba

        A            e a ec f N         Ca      a e ec    a e        e a e de f                e
a     a de ee f d c e     f     d d a c       e N        Ca      a a e a               e e ea
     c e f       ba           d be c     ed I a      e   e eN           Ca     aS a eB a d f
E ec        ad      f       a da d a d      ced e f         c       e       dc          e a d
   d d a c      e a a e e fd e e                ec             e        c a e ec     c ec a ca
  a d e ec        A c        e a be e        ed e a e         a d e ec               ec       fa
 ea      e f e a e ba             ec d T e e           f   a c        e     be e ab e e ec
           eN     Ca      a E ec     Re     Da b a d La e         e ca a       a d ce ca         f
    e a e ace b     a b        ec        a d ae e e            e     e a f       a da     a d
d ce      a ec          de a e c        e     f e ca a a eac e e


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         N       Ca       a e ec       a a d da ce             de e b         f c          b a d f e ec
dea           e a c a ed            ca      c ea e     a      ba       Bef e be               c          a
ba            c N        Ca       a e ec          c a f e efe        a ab e ee ba              c         b ad f
e ec         a be       ca        eac a         ed ab e ee ba       a      ce       c c            f e
a       ed ab e ee ba           e            e f         e e e e a d e                     e            e ab a
A            e ec           b a d a e e ab a                       ead e ba            b     e ab a           d
c         e ba            E ec       Da T ea            e aa         e a         e ec        ca         de f
     c ba       ca      be ead b e ab a               ac e e a beca e f da a e a d                         a e
d     ca e c e f e             eadab e ba          a ca be ead b e ab a                 ac e T a a e ec
   a ca a d a                  a a             eac     e e ec          f      a ba            e e
   f ae         c ca a e         e c e E ec         Da A a          ed ab e ee ba                 be ca ed b
   e ab a         ac e Eac c              b a d f e ec       ca dec de b a                  e be             e
 ca            ce d         eac ab e ee b a d ee             I deed a Se e be                       e f
N       Ca       a S a e B a d f E ec          E ec e D ec Ka e Be                    e a d e              e
       ca      c ea e ab e ee ba                 e ec                     ec       e ded a c             b ad
a         e e ca            fa        ed ba       d      ab e ee b a d ee                 ead f a
E ec      Da T e ea e c                  b a d ca be        ca        ab e ee ba                 d            e
ab e ee b a d ee                 c c         b ad ae e         ed         d Se e be             f      e
  e e a e ec       C         b ad a         a e ea               de e a e add          a e aa            e        a
     ef       bef e ab e ee b a d ee               Pe aa         e       c de a          c a        ec          e


                                      Hea     E ec          C           eV e
     Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 31 of 156




ba        e     e e   e f   de c e c e a d f a      de c e c e a e d c e ed          f        e
     eb       e da

         T e    ce f       c      b a d a d e a ca e a a e a d add e de c e c e
ab e ee e       e e e a bee        e b ec f ece             a    T e af e e       ed Se e be
        e f         eN     Ca     a S a e B a d f E ec        f     a ce a        e      e a
Arnett North Carolina State Board of Elections       c a e        e eS a eB a d            de ea e
acce       e b c      b e ea d        de              e ab e ee e     e e ee a a               ce
A A                e f      N     Ca       a S a e B a d f E ec     E ec e D ec Ka e Be
 a e e ed Se e be a d Oc be f                   a ece e e e a d                  N C Alliance for
Retired Americans North Carolina a d Democrac NC North Carolina State Bd of Elections a
      de     da ce         ec       b a d a d e a ca e a a e a d add e de c e c e
ab e ee e       e e e N ab           e f         e e          a e       e e     e e e e
c       b ad       d e     e a e         a e         a f e e ab e c ea e de ce               e
c     a f a ea          be e a e f e e F                  e    e e      a e      be acce ed e e f
       e be T e e a         e a e     e e        c      ae e e          a e        e ab e ee e
e e e             e e         a e      e e        a      ec d If a ab e ee e        e e e ac a
     e      a e      e e     e a e ca               e c e e de c e c a d a e e ba b
   b        a ce ca       e a       e a I ead e ba                 be e ec ed a d c       b ad
a d e a            e e e e a e ba

         O e ece            a     Wise North Carolina State Board of Elections a d Moore Circosta
 a c a e ed e S a e B a d             e f e a a       a d add e       de c e c e ab e ee e
e e e a             ed        A              e     e ed Oc be a e a                    e         f e
ab e ee ba dead e I a                   Oc be a U S D c C                 f     e Ea e D c f N
Ca      a We e D                  ed a e      a e a            de e e              eS a eB a d f
E ec       f    e f c          e f e a a       a d add e       de c e c e ab e ee e              e e e
a d a fe ed b          ca e       eUS D c C            f    e M dd e D c f N               Ca      a La e
    Oc be         e a e c           e de ed e c e              f e e        a e a               de     a
  e      a        c       T e       Oc be          eUS C           f A ea f         eF        C c de ed
  a        a ea a d e e e f                    c e e ef A c            e S a e B a d ca c          e
e f ce e e f e a a                a d add e      de c e c e ab e ee e             e e e a                 ed
       ece    e       a d ab e ee ba       ca be ece ed a d c         ed     e da af e E ec        Da
      a e a e a ed              bef e E ec     Da P a            b     ca e ed a e e                 eUS
S e eC           f a e e e c             c      b      Oc be            eC       de ed e e e
H e e        eS e eC               a dec de    e        e    e af e e e ec               ea        e   e
      b      a a         ba            a ed E ec          Da b ece ed            e a        ee b e      a
    e da af e E ec        Da a bec e a da ed a a a e da e


                                   Hea    E ec         C          eV e
      Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 32 of 156




         Pe d f       e ac      b eUS S e eC                  e S a e B a d ca c         e e f ce
   e e f e a a         a d add e      de c e c e a              ed      e e        f A
   e      a    e ed Oc be             Ge e a      ea           e de c e c e ca be c ed b e
   b         f a ce ca      f        e e add e           e de c e c       e ea     e de c e c e
 e     e e e a ce f a ba          a d       e e       e b a d ac       If a de c e c d c e ed a
b a d ee           e ca        be e ed b a a d                ead e      e b a d ac        e a ae e
de c e c If e b a d e ec         ee e eb a                 e e                 f e e               e
b     e da If e e e e d ca e a e e                    e e         a e ace e ba          ac     e
     a e fa         e   a     a          ea ed e a e a e c                     b a d ce e a
      e ec e ba a d e e a e ba a                       a     ce      e e               eb     e da
B c       a    ef         de c e c e ca be ed b e d              e e a c e ce ca
   a     e a          de e a                    add e

      ●   V e dd            e V e Ce ca
      ●   V e    ed       e       ace
      ●   W e     a     a dd             a e
      ●   W e     a     a dd            add e
      ●   W e     a     a      ed     e           e

          A      N      Ca      a e ec     a d e      a     c      b a d f e ec         be
c           a   ba           E ec      Da    d e      de      e e b        a    add      a    ef
c          U de N C Ge S a                 eac c      b a d f e ec         e   ed      ee a
PM      E ec   Da      be c             a a      ba     e ce f a e a         ba             e
c a   e ed bef e      PM E ec           Da H e e               a a       c      b ad       be
c         ab e ee ba     f         f    ed ce a d e ea          e a ea a         AM E ec
Da    I add                a      c       b ad     be c             e a      ba      a ea a
      PM E ec        Da a        a e ad        a e        a ea        ee           E ec     Da
  a    a e e ace a d       e e         be c

          E ec  a a         de c       b a d f e ec     add    a    e dea        a                  f
 aea        ab e ee ba     F      a ce c       b a d f e ec    ca ad    a e                     d
add      a ee     af e E ec     Da a d bef e ca a          c    ab e ee ba    If a c
b a d ad       c a e           e             e   e e         b c    b       c e
a    e    e c      b ad       ee af e E ec     Da a d bef e e a f ca a             de e             e
 fa a e a       ab e ee ba      a e bee a e ed a d c      ed A a e a       ba
c     ed bef e e da f ca a         be c     ed     e da f ca a



                                 Hea    E ec          C       eV e
   Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 33 of 156




        F a N       Ca     a e ec    a a        e e b           ca         c    ab e ee ba
e e       e e    e   e e f            e ca c       e Eac c       b        a d f e ec      a   e
  a      e    e c      e ab e ee ba     b        b e ea d    e e            e a A a e       e
eac ba e e e e c              b ad      ec d e a e f eac      e           a a e     c     e
    b       e ace eac ba          ea      a e b acc d     ba              e O af e a ba
 a e bee aced      e e ec e b e ca        ec          ce be


Tab la ing he Vo e

       N     Ca      a e ec     a a        e e    e e     e ad      e      a d a a
 f ec          f ba       U de               ec        a eac    ec c be        ed a e af e
  ec       f            E ec     Da a d c       e        c     e ed          a    e   e
  a     ec          eac     ec c be c d c ed        e a c a        f ec c     ca f     a
      ca a e e e I add              a     f a     e be f e b c            e    ec
    ce b f b d e f             a c a           e   e e fe

                   a          e f e e ea         c e a d e f c             ba       F      a ce
    de               ba ca be e ec ed beca e f ec ca e              ade     a         e ba
    e            b e de e       e e e c ce F            e    e f a ba      e ec ed b a ca e
       e c         ac e b e ec          a ca c ea d ce      e e c ce e              e ba
be c      ed b a d I add            e e ea      c e       ded d ec        e a e
 e     e eN       Ca     a S a e B a d f E ec        ad       f     a d    d c        a
     ced e a d a da d f         ec         T e e c de e c a             NCAC B                c
   d ca e a           a ba         be c    ed bef e ca a      NCAC B             a         b
c        b ad f    d ca d a e e e ba               f e a e e be          ef        e e          e
ba      b ad ae e     ed c          e e f         c    e e e be

         A        c      e a a e e fd e e           ec            e   a c     e a be
 e     ed e a e        a d e ec        f a ea      e f e a e ba            ec d
    e       add           a d e ec         f a e ba      c     e a a e e f a ce ed
   ec a ca e ec        c        e      c d        ca ca a d d ec ec d e ec         c
     e    A c       e a ea       e      e a a d e ec              f a e ba           e e ae
 e     ed     da a d e ec           fa a d    a         f e a e ba         T e a          a
   c de a a e ba        f     e       e ec c      a ed ab e ee ba     a d ba     f     ea
          e    e e ab e ee e a e a      ed      e    e     bef e E ec    Da I          a be
 f      ce    e       d ce a a ca           ca e      If e e a a e a d c e a c be ee
   e ec a ca e ec         cc    a d e a d e ec            a d ee        ea      d b e
acc ac f e a d e e c               c a beca e a e ba        a e bee        de    ed e       e


                                Hea   E ec        C         eV e
     Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 34 of 156




    a d   e ec       a e ecede ce If     ed c e a c            ca     e ac     ee a d     e e
c           be c   d c ed


Repor ing he Vo e

        T e     ce f e             e        ca e        a   f a d Af e e c
c     e ed a e ec c          e c ef    d e      e e e     e de     ae       e ba a        ce e
  ec c          ca e       F             e e   e e    f e ece       e     e               ec c
   ca         e a           e e         a       ca e        ec        b a d f e ec     a    c
a      be T           ca e        a     e         c de e       be f           a ba     ca
  a ec c a d              a eab d         e ec    e ca c         ca a I       ed a e af e e
  ec c e        a e ece ed e c a        ec e a     e de   ee         b      e       ca e
  e e      ed a

        C      b ad ae c a e f e             e ec      e      U de          G c        b ad
ae e      ed  e      e      b ec c               da af e e e ec       T e da dead e d e
         e e   e e e ec         b a d f ed          e    e       a     a ac cab e af e e
e ec      N     Ca     a S a e B a d f E ec     E ec e D ec Ka e Be e e ded e
 e        dead e f              G b a add     a     da e ec e Ma c           b     e
e e e c a e d e a                   ee e      e    ed J e          I e        e e         e
c       b ad       a    e      b ec c a d b ba         e     eac    ec c      a       e dd
     e ec a c ce f a ba         e a d       a        e e ec ed       a c ce f a ba       e

      O e ec         e S a e B a d f E ec                  a   a a E ec       Re     da b a d
T e da b a d   be da ed a ec c e          e                 e S a e B a d f E ec      SBE a d
     c de da a   ef    f a      ab e a d c a           a d e ab e           d      ad e ec
e       ead ee Af e     c e e a e e ec                   da e e da b a d e e               e


Cer if ing he Vo e

            U de           a d            ca a      a d ce ca       a e ace a b      ec
a   d a e e e A ec             e e eac c      b a d f e ec          ee a      AM da af e
    e e ec        c d c e ca a          f e      ca a         ec c       a c    a d e       e
    a a        e a e bee c    ed a d ab a ed c ec If e         a ca a a       bee c     e ed
b       a      e eb a d a       d e ca a     ee    a a ea ab e       e e eaf e Af e
c         e      e ca a    ec       b ad      e a e ab ac       de ed de            a a
d   c e           ed b e be f e b a d f e ec                    e e f eac ca d da e        e
     f       f   a e e ed b e S a e B a d f E ec        T e ab ac a a             a e eac


                                Hea     E ec       C           eV e
   Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 35 of 156




ca d da e a e a    d e       be f e ece ed Eac c         b ad e ae      ee     a             f e
ab ac e a           ef      ef b         e    ece f e       e   c     f    a c               a d
  b        e       e S a e B a d f E ec   S da af e e c       e     f e ca a f              ee
   e ec      e     e d        e  ec     b ad       e a ce ca e f e ec

        A e a e e e e S a e B a d f E ec                 ee a        AM       e T e da      ee
  ee af e E ec     Da     c   ee       a e de ca a a d e         e a e e a e bee c               ed
a d ab a ed c ec If a e          e f ca a ee               eS a eB a d a         e ece ed
ab ac f           ec      b ad    e S a e B a d ca e        a ad          e ee        f
da       e ba         e      ab ac I b a              e ab ac f         ec        b ad      eS a e
B ad a          ed     ba    e f e        ca e      a a ee e e f ec                e I     ed a e
af e c     e      e ca a    eS a eB a d         e ae             a c e f c              e ab ac
 ea         ef     efa d b           e    e      e Sec e a f S a e      c     e Sec e a       e
 e    ed     ee acce b e    e b c S da af e e c              e      f e S a e B a d ca a f
   ee     e ec         e e d       e     eS a eB a d          e a ce ca e f e ec

        Rec         ae e     e a de a e c           e     f a ca a a d e e a e          e
d ce      a a d a da        W e ece a        c      e e ca a       eS a eB a d a d c e
  de a ec       a dac       b ad a d       e a e f eS a eB a d a           a ead de ed a
 ec          a c      A        ca d da e a a e de ba          a e         de a d a ec      f
  e a       f e be ee        e       a d e e a        ca d da e e     a         f e e ca
fe e a               e If e        ca d da e a        eec e             e          b     e
de a d                 eS a eB a db               e ec d b      e da af e e c         ca a If
  e E ec e D ec       ae e e e          a e      a d c c de a e                  a      a e
  e       ca d da e de a d a ec          e    e E ec e D ec         e     ed        f e
ca d da e      ed a e Af e be          ed e         ca d da e a             eec e e          a
 ec

         Ca d da e a e e             de a d a additional ec      f        a        a ec       f e
     a ec       dd       e a d e ec            a ddd       e e e e e       f      e       ca d da e
I     e ec c     a ce      e      ca d da e a                    fc     e       f e      a ec
de a d a a d e e ec               a a        f ec c If e         a ec         a       a d e e
a d d e e              e e ec     e    f    e ca d da e      ad     a bee dec a ed e           e
   e    a ca d da e a e a e              a a d e e ec          a a        f e ec c S c a
 a               c de a ba               f e ec c ca            e eac c                ded        e
  ea e       e     be f ec c F            e      e f     ca c a      eac     e       ea
   e      d be c   de ed a ec c If e a a            e d c e a c be ee       e     a ec       a d
   e a d e e ec               e a           d ead a e e a f e e ec           e         e   eS a e


                                 Hea   E ec        C         eV e
   Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 36 of 156




B a d f E ec            de a a d       e e ec          ee     e       dc         c    e e ec
 ed


Penn l ania
     T e a e        be f ab e ee ba         e ec ed Pe      a a c b ed        e a
e   e e       a       b     ce        e bef e E ec     Da        a e d c f Pe                       a a
  a      ce e        e ec         I          a a   a a ed a        a   e       eb               a
            d a ec e A a e             f      e a a d ec a e                e      d           e        e
a de c a ec d         be f e        a         eb a           Pe      a ad e      e                  e
ab a       f a     ba       be           af e e c e f         E ec    Da T a a                 ea
  e            e e      f a c ca a e e ec              da af e e e ec     de e d                    e
e     f a fe e c        e I fac af e e          a e J e a       d af f e a e c                  e
 ee     ab a         e a ee a e

       T e ab a      a d ca a        e     Pe       a        a fa       a da d ed D c e e a e
ae     ca de e ed c             ce     e e e a ea           e a ed a             a     ba    a d
        a ba      D c e a ce a dc a e e e                      a ba       a e ec c ed a d dec ded
a ec          e e A e e       c e         ec      e a       da c        e     ce    a     ba       e
 e      e       ca c        e De a e      fS a e T e               ca c       a e da ed       e
  a e de e ec         e         e T e     d da af e         e e ec         ec    e be ca a
 e        ce e c a c         ce ed a ea ed c                   ca de e ed          e De a e      f
Sae

          T e c ea d        ce f c            a     ba       Pe        a a T e P S a c a ed
        ca          e a ea Ac         a ed b e a e e a e Oc be                       e a ded
    eb a          a     e      e e a ba       T e a a ce a ed e               ce      f a       ba
a ec             e e Ac       a ed Ma c            e     ded COVID              b c ea c ce
d          e       a e a d da ed e        ced a      e ef       e ca a       a d ca a         a
ba        S be e             ec a e     e Pe     a aS e eC                Se e be       ed Ac
  J            a d J            b e e d       e e d a         ba      ca be ece ed        ee da af e
   e e ec     a da      ed ec e d          ca    f     a     ba      O Oc be                  eUS
S e eC              e a d e           a Pe      a a ca c        ba      ece ed af e E ec      Da
T e ae          e ec        a a     ed a e a e ca          c        a     ba      e                e
  ae         ded     e e e e efe ed a a ec ec e e e                 e ded          ec e      ac f
  a          e Ba                 e ec ec e e e a e          e e efe ed a a ed ba




                                 Hea    E ec       C           eV e
   Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 37 of 156




T e ec a e       a   a ea        ca        ac       e e       f   e N e be           e ec             e
      ae


Proce ing Mail-In Ballo

         T ec         b a d f e ec      ae e       bef         ce        a      ba     T e ca         be
   e      a dc           ba           e           f E ec      Da a d ca ec d a d b                e
      af e e c e f           P e ca a         e     ce f        ec         e       a d a      ba
  f e        e ec ec e e e           a be       ce          e      E ec      Da a         AM        PS
                 Af e e        c ea        PM c        e ca be ca a               c          a ba
a d           ce c        e      a a d a        ba        a e bee c       ed      PS
N ab         e ece Pe         a aS e eC                   a      f ba         e      E ec      Da      be
c      ed          a e a e ece ed             ee da af e E ec         Da a d e e            e de ce a
   e e e a ed af e E ec         Da I add               a ba         ece ed e e da af e E ec            Da
ca be c        ed a d        e e ca a        a d ca a           e d         c        e      a ea e
da af e e e ec           T e a d e e ce be ee           e ca a        a d ca a             a
   e ca a        be     bef e e       c e a d ca a          be      af e e          c e I           af e
      c e a e ec                ca be ec ded          b ed         PS                 O ce ca a
  a       ec        b a d ee       e f a d ab a e ba                   e e e e a ef           eac
ca d da e ca a a d e e e e a e f                   eac a a           ed      be e       PS

       W e e ca             ce ca     be          E ec   Da c       b a d f e ec     c ec
a d ec d a        ba       a a e bee e       ed Acc d       a De a e     f S a e da ce ce
 ece       a     ba        ca a        e da e f e a ba        a ece ed a d ca      e
 c e       de ce ID ba c de a f        d       e   e e e e Eac        ed a      ba    a
           ec e       de ce ID a d Pe       a a S a e de U f      Re        f E ec   SURE
        acce     e a e ID ce T e SURE           e a    ec d    e a ba      ece ed a d f a
ba     a bee ca ce ed A ba        ae e        ed a ec e ca              e ca be e ca a ed
a d ca a ed E ec         Da

       D       e e ca a               a d ca a       ce     e e a e e e a ea       ba     a be
 e a de a d   c     ed V e                a Pe    a a a       ba a e         c ed  ace e ba
        e e e T e ba              e            e a e e e e abe ed O c a E ec           Ba
    c de    ed      de e de           a d a      f e e          PS        D If e ba a e
            ec ec e e e               e a de a d     c    ed a de ed b a ece Pe         a a
S e eC               F    e         e f ee a         d ca      f e e de             a       e
 O c a E ec    Ba      e e        e e ba        e a de a d       c    ed    PS             T e
   e a         c ed     ace       e a e e e e             e ba           e a e e e e a a e


                                   Hea     E ec       C           eV e
   Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 38 of 156




   e     dec a a     a d e e c            d     c a d    a    e    PS         D A      decea ed
   e     ba      a e e a de a e a a      ba       a a eba

          T ec       b a d f e ec     e c ec      e a e      e ba e e e a a        e
Re       e ed Ab e ee a d Ma      V e F e a d       e M a Ve e a a d E e e c C a
Ab e     ee V e F e             e SURE     e      e f a e d d a        e e ed a d a a
             e    PS             D             e a e be f e b a d a c a e e a ba
  e ba       a ea      ca          a ed       e acc d       a ece De a e     fS a e
d ec     e b ca       c a e e e ba      ba ed       a ea a        If c a e ed d ca ded
  e      e e e e        e ed a d e ba       a ed     PS          Ba    a a e bee
c a e     ed a e e a de f a ea        PS              a d e c a e e ec ded       e SURE
    e

       A           d d a c           b a d f e ec          Pe    a a ae      c d ce        e
c e      c          e d a d        e f ec             e e ea a        a    a    ce F eac
  a    ba    a c e ca      e       e e e e e          a d ca    e    e ec ec e e e e
   a     e    e    e e e ea        d ca       e ba        ac      ab a        e F e a      e
M         e C         ce    ca         e e e e a       e a e ba           a d a e e ed
 ba e ac         de ce a d          de       ca e     P ade    aC        a a      e ed
        eed ca e a d       e e           e     T e    e e e e        be e ed          be
da a ed a e           be    ed f           ea af e    e e ec      PS            C        e
 ab a        e ca        be c       ec ed         e    ed     e e fac     e        acc d
  e De a e       fS a e

         T e e a e bee a d a e         e ea           e a         a        a db        a a a ec
    eb a         ced e Pe             a a O e c a          c ce      e ece       e         f e ea
 a e e e ec         ce P ade           a Sa e e e ec       ce a        e       e e            e e e
a a       ba     a d e         a     a     e     T eT       ca a         ed P ade        a a e      a
  e ab e ce f         a c e a e e a e e e ec            ce    a e e ec      a A fede a d e
 e ec ed e a        a d e ca a a ea ed e dec                b     e a ea a a           e ec ed T e e
  a a a Re b ca                 ed e             e a e e a e a ade                  fc          ee
 ee        c ea e a Se ec C          ee E ec       I e      b Re b ca              e e a e ae
ca ce ed e e                e      e e         a d a ed a             e ec            ee f     e I
add          e ea e           e a             e e a e c         de a         a a     a        da
c      e       a     ce        a    ba      ea e F e a      e e           a      da        f a da
   e ca a e d f           a    ba             E ec     Da A      e b      a a bee            d ced
  eH e           da      f a da e ca a e d N e e a                         a ea       e        a bef e
  e e ec


                                   Hea   E ec         C       eV e
   Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 39 of 156




Tab la ing he Vo e

        Pe     a a ab a     f     e     ba    be       eac d c       e       c ea
PM e ec                PS          I d c           a e ba        ba ca d       ca
a       ce e e a c        ae e         a      c ec        c ec f a d c e a c e a d
        e ab a         a        e f e ae e            PS               If e d c
 ab a e      e       a        e d ec        e  ea      a ed ab a          ce be   a e
c e f           PS        f F      e       a          ac e ab a e e d c            e
             a     a f e e       f eac d d a ac e Pe               a a ece      e  ed a
c     e        ade e          e      a e afe      a da d       ed b e De a e       fS a e
  a a da e       e e ab e a e ec d be         ed f    eac ac e           a ee a a e
  a f      e

       I d d a d c ae e           b e f de   e       ac    f e      ec           e c     e
W e     ed c a a         e    ab a e e           c e f e e             ef     f d c       a
ca d    e e       ca d a d e          f      a e ade      PS           b f T e e a e ea ed
e e e       ec     a       ed c a d e               ca de e ed      ec      b a d f e ec
    PS         f       I A e e C               e e     e    ca e      a e a fe ed f
  ec c      e   a ce e a d e e ec       ca       e a ed   ec       acc d       a Ja a
   d b e B e R bb C                a eU        e       fP b      Re            e a d
         a ba         be de e ed c            ce b       AM e da af e e e ec           PS
            I a       e e     b     fd c             b c       e e      a ed c
  ace    PS          f

      C     b a   d ae e     bef a e a       d c e                ab a       ac e a
a ce a ab a       ce e     PS          A        c      e a e a de a a f e ec
a d a a e e        e    a e ca    e   ab a e a d c ea e ec d f e e a       c     e
     a f a ae     de e f ec     e   e e     I add        a e a     e   c       b ad
ca a a d c           e ba   a d        a ba

      T e e a e a fe ca e    e a e a ca a             a ba    If a   d d a c e        e
    a d e de               e ab e a d e        f f de     a d           e c a e ed
 e a beca e e a e d e            a ea       e     f e e ed e ec       e    e a ca a
       a ba         PS        I add      fa    d d a e e ed a a         ba b      e
  ea e            E ec    Da a d d e    b       e   a    ba      be d ca ded e    e     e
 ca a a           a ba     P      ca          f e          c de     e a a ea     ed b
   e    ed a a       ba    W      e e da f e e ec       c      b a d f e ec   e a ae e


                             Hea   E ec          C       eV e
   Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 40 of 156




        a ba   a d a e a de e     a     eac                     a ba      a d     PS                  If
 e b a d de e  e e ba         a d     be c ded                  e ab a        PS
O e     e e ba     ec e        ed a d       e e da               f e c a e e a ea              be e d
  e e e e ca b ec         e dec       PS


Repor ing he Vo e

         T e e a          f e ec            e         c e            f      De a e       f S a e d ec e
U de        PS             e c       e ma           ca e            e       e f ec             T e
De a e         f S a e DOS               e     a de      a ed b c eb e e e c                b ad f
e ec        b         ce ed e ec       c      b       ad e          ed e f          e e ec
  a a e e          e        e SURE       a P ea e       e       eb e a d         e DOS e a e ad
    a e a ece         a Oc be A                   c        e d ec        b    e ec           e         e
DOS e ec       ca a fe c           e e        e     a fa a d       ec        e a      e DOS        a a
  c a e e ec         e     f        ec          eb e acc d             a Ja a            d b eB e
R bb C                   a eU e            fP b            T       d f      e ca       a f c        e a
   b      e      e ec     ca      ec        e e e            a          e e          d be c      ee
 e a a ed f           e c       e c        e c       ec ed      e e ec        a a e e        e S e
c       e a     ae e              b c fac      eb      a      ee e a            ce ce ed e c
    e ec           a d       e da f           A e e C              f ea         e a a de     a ed eb e
f e ec               e

         A ece d ec e f            e De a e      fS a e a          add       a     de e f        a d
   e       b       e          e   e    e a f ad a              ab a         e d T e De a e           f
S a e a d ec ed c           b ad     abe c                a   d e         e         e De a e      fS a e
a fa         de      e f ee ca e      e E ec     Da Ma        c b a            f ab e ee a d a
ba       P          a C         b a d f e ec            b          ef           c         e ec
     e De a e          fS a e a         a da     da ed e         af e e ec                 a ec c e e
 e        e ac            e e       a e      f      e EMS         e a d a ec c e e                 a
 e     f        e EMS       e   T     a e d ec e a c           e       b         da ed e       a ec e
 f       da a e ca a                ce c       e d       ce      ca      a d e         e b        e a
 e       e c


Cer if ing he Vo e

     C       b ad        f e ec         a    e    ce f ca a  a d ce f              e   ec    a
AM e     d da af e        e e ec          PS          a T   ce a bee                ed b a DOS
c ec   F      ec                   e    e e e a d c ec e a e    a                be f eac d c a d


                                       Hea   E ec     C          eV e
     Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 41 of 156




 e f a a                    e e ec         a d         ac e        If e c           e    d
d c e a ce        e           e a        e a       b e e      b ad       PS          b     c ba
   ec a c c       a ce c           f            e d e f       ec       fc           ea    PS
       b T e         be f ba         e a ba           ed ba     a d ab e ee ba      a e e e ed
a d d c e a c e acc         ed f        PS         c F a       e a e ba      e       f eac d c
 f      d c        a ca d a e ead            d a d c ec ed f d c e a c e         e e ea e
   ee        PS        d If a d c ed ac e                 e d d a ac e e              a        be a d
 e        a e ead        d a d c ec ed f d c e a c e La            e b a d c d c a a ca
 ec         fa a d     a     e f ba            PS                c       be a a a ec          f ba
     e ba       a e c a ed            e    e    acc d       a      d ec e O c a e           ce ed
    de e ea f e c                a e de e ed       e De a e      fS a e        ca f




Wi con in
        L e M c a a d Pe         a a W c        a       e ae a             a     be ab e a      ce
a      e f      a e de e e ec             d e     e        e f ab e        ee ba     T e a e ca
be       ce      ab e ee ba        E ec   Da a d ca        be c                    e         e
c ea         PM CT W c         dece a ed e ec      ad       a               e a           c a e
      ca    e b       c          ced e    c d            a    ba           ae     ce ed T
  e b       a e           e ca e be ab e      e       e          e         a     e A      da bef e
   e      e e a e ec           ab e ee ba     ad bee     a ed               da      f      e
N e be          e ec       e ae a     ed          ab e ee ba        a             c ea e

        W c         a       de e ba c     c ef      ce         c        a d ce f   e ec
e       Ba       ca      be e ed a d c   ed    E ec         Da Af e ba    ae e   ed c e
       e f      a e ba e e e a e b            e a d         e      a e a d a add e
 e    e e        a e bee   e Ce       e c ac    e           dd      ee e    e e     e   e
ba    e e       e feed ba                   ac e a d         a   a    e e Ta         e e
ca         cc    af e e c e f e

       T e e            ce     a       ba     ca be     ec             a   ca e f    a e
   e e e e a d a e ba            c        ed     a       feed             ac e T e e  ced e
  a c ea e a bac      f        f e           c c d de a e             f e     A e e f
    ce c ec       f     e a d      e       a e      a      d      ca      e ce e e a e ec
e     T       a d f a       ba       a e bee e ec ed f               a e      a e ec       e
A                a e ec             ba       e e e ec ed f             a e        f      a



                                 Hea    E ec        C           eV e
   Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 42 of 156




e ec ed ab e ee ba         F c        a           e   e ec      W c           a dec ded b
   e

   ● V de H          W c         C         Ab e ee Ba        W c       E ec     C


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       Ab e ee ba     W c      a e ca ef    c ec ed a d ec e       ed    E ec                   Da
    e   e ae a    ed     ca          ace           ec         e a ce a c                       fac
M      ca e W c          c d             a a ea a d a         c a e a e a                        e a e
c e c a Mad         e       e a     ba     a d     e     ba    a e         ace                 Ba
    ce    a dc        ced e a            ace ca       a e de ed b W S a                       A ba
a ec     ed e e     a     e   e ec c c           e ea ed c a b           e                    a d
  a    ba

        O e ca e            c a M a ee Ke          a Wa e a a d Ja e e         ce     a   ba
a a ce a c              ca     f           ae a W Sa            T       e       c a e         ea
        ce   a      ba      a a Ce a C         Ab e ee Ba       e A     c a b a d f ab e ee
ba ca a e c                ed f e        c a ce      a a ed e ec de       a ed b e c e a d
        e   a ed e ec         f e       c a a         ed b e c e      c e ea a b c
  ca     a      e af e e e           f e       a d bef e      PM E ec        Da     c       e
ab e ee ba      f     e       c a     T e b a d f ab e ee ba ca a e          f        e a e
    ced e a        e ed a e               ace e      ce     c       a d ec       ab e ee ba
J      ea e a                ace e ec       be e f          ca a e a d      e     a a         a
  be e e       ce      a dc           f ab e ee ba     a e e de   a ed e W S a

       W c         a       af e e      e  E ec                 Da      be   ce              a    ba
P ce          e ac f e f       e de   f e e                    e     ed e a    ba            T e ea e
       e e         ce    a ba bef e c     be                  T e e ec     ec                 e   e a

       T e e       ce ca      a bee       e e ec ed
        e e       a a ed e ec     f e a d e ec       d c
        e e      a      e   ed     e e ec
        e ba      a bee e d ed b e          ce
       T e e      a e c ed      f f e de ce f e    ed de W S a        a d                     c       f
        ac e     e a e a d add e        e f   e c ed e ba      a ed a                             a a d




                                     Hea   E ec         C       eV e
   Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 43 of 156




            e       e      a ed e  a            ea       e               a   e      be    e b ea    f a fe
        c       c         If e e d e            a e a fe   c            c          e   ec      c a e e e ba                           a
                ded       W Sa

      If e e ec                  ec          b a d f ab e ee ba ca a e                       d            ea         e ec         e
ab e ee ba      e a                   e e ec       a e a        a d de                       e        e     ba                e           e
ba b B           ec                      e ec a ba    f e     d e f ef                                     e

        A ce         ca                 ce          e ba     e e e a                    e         a   e              e            a   e
                    e add e b                ec a           de  e fa ed                     a d                ce   ca
        a       a   e
            ea       ca     a           a ed e ec               e a d e ec      d c
            e ba      e e e             e    a bee            e ed a d e ea ed
            e ba      e e ec            a      e a             e ba     fa     e d
            e ce      ca e              f a      a              e ea e ec        ece ed a ab e ee ba                              b fa
             e a
            ee             f   a a ab e ee ba               a bee       b        ed f   a     e                a    ce d ed

       W e a ab e ee ba           e ec ed a        ec         e d e e e ec ed ba                e bac
         e ec ed         e ea        T e          e e e         e e ec ed ba            e ce ca e
e e e a d ec e ea e ba                  ee e e           de a e e e a ed f e ec ed ab e ee
ba     T e       ec     e e d e e e ec ed ba                e e e        a ae e        f e ad
e ec    d c a d da e f e e ec               ed b e c ef         ec a d e f e               ec
 e ee       eac f e          a         ca a e          e e     e be f e b a d f ab e ee ba
ca a e a d e            ee e e          e       c a ce          e a e a e a          c a ba           ed
a e e ec       Ba    e ec ed beca e f        e       ce ca           c a        e        a e a be
 e    ed       e    E ec     Da           de e         e                c e e ce ca             defec
bef e e         c ea       PM B          ce a d c e ac ce ac          W c         a       de I         e
c     e e ec        ca    a ea e           ca e e         e      e ba d e           ee        e
 e    e e a d e        e        e ba      De e e e a ba                  a     be       ce ed bef e
E ec     Da c       ce      a      ec e          de f a a       ba a         a         ece ed          f
a e fa                a e I       e c        e        a a         be f ba        a fa ed          ee e
     e e      e e     ade        ee e a c

      Re ec                f ab e ee ba             a a c ce f N e be I    e a de c e c e        e
ab e ee ba              ce ca       f               c e   e e  a e f e e a da      e     a e bee
 e     bef               e a        f e ec            I  eA       a e ec       e a
ab e ee ba               e e a da ed                 d e    e   e   e e fa           e ab e ee


                                          Hea        E ec           C             eV e
    Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 44 of 156




ba e e e A c a                  a ee      e ec    a e a ca e  e N e be       e
W c       E ec      C             a c ed a b c e a     ca a       de be e      c
      e               a ba     f       e      e e    e e c ec      a e a d e
  e ba     ce c      e ed See Hea    E ec      S a e Ve ca    Me f a d c         f
W c       ba     e ec      a e d e ba defec       e    e f   e ca      ce ba c e
a d e a ed     a

       Ab e ee ba          be ece ed b e c e f            E ec     Da      de     be c    ed
T    a    a ece      e b ec f      a     a De c a a e            a     e e b e dead e O
Se e be      US D c J d eW a C e                 ed a ba        a a e           da af e
E ec    Da      dc      a     a e ae          a ed b E ec      Da b        Oc be        e
C c b c ed e e e            fW c        ab e ee ba dead e a d e U S S e e C
a eed Oc be                 d eW c          a A a e         e             e e ba            e
     b E ec    Da     be c   ed H e e a e             c a e c d M a ee a d
G ee Ba a c        ab e ee ba     a a ce a ca          e        d c ec        e        c a
c e ab       ee    e       e ba        E ec    Da


Tab la ing he Vo e

         I W c            ba     a be c    ed     e      c e T    ae a       ec
   ce      a e c ed c   ce     a e e      f e    e ec         e     be       f da Ye
  eW     c      E ec     C            a a     a e     e fc           e   E ec    N
a d ca     a        e      ef      da   de    ed e     e a acc a e     e a d a ae
 ab a        a d e          f e e e      a e ba b a e a         de ec ac a f a d

        W c          e a        a e deba ed a           e   be ab a ed bef e      c eb       ae
    e ac ed a     c a e T eA e b a              ed a b           a     d a ea     ed    e
    e        e   ca ea       be c     ed      e b      a b d ed     eW c       Se a e A Se    ae
c        ee ea   d e         ea e        ea     ab     a     d a ea     ed c e    c     ab   e ee
ba     ea b              fa ed     a T e ef e f         e N e be       e ec      ec            f
   e      be d    e af e e        c ea         PM E ec       Da

         V ec       a         ace   ef   ed b e e ec                 ec         e    e      a
           e  Eac         ace e e a   a e e      ec                        e ca be a     ed T e
    e     b d fa      c a      a a a        ab a     a              e ec         ec       e
c          f e af e     c e




                                  Hea   E ec       C         eV e
   Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 45 of 156




      I   ed a e af e e        c e e     ec      ceed ca a a      e ece ed a e
       ace T e ca a       e e c d c ed a e          ace a a ce a c         ca
     c     e        ad       e       e ca a f a ba     ca a d ece ed     bef e
E ec   Da c       e ed a d e e    ae e      ed W S a

     T e    ce f c      ba      de a ed    eW c                     E ec Da Ma            a
   c c de de a ed   ced e f    a dc     ed a e ba                    ca ca ba             a d D ec
Rec d E ec     cV     E      e DRE F e a        e               e a dc    ed ba              ced e
f     e e ba c e   C        Ba

      If e e a e       e ba b e       e b e       ea     a      e
      C        e ba       eac b           e a             e     de e e e a     be
      De e     e f e       be f ba      e a       e        be f e If      a d ee
      a e a e ea     f       e ba   e a e e ec           ca a d        da    e   be                  f
      ba    e a      e e ce       be f ba      a d e        e a de
      C     a d ec d e e               e a a e Ta S      ee Rec c e e a     ee   e                   e
      c        f eac       ce c    ee
      A       ce e e         f e e ca a e                     ace a d      e a e a e ec      ae a f
      de e         e     c a ce

      W c       a d e      ec f e a e f ac a c                   a e ba    T e E ec
C           ec    e d a ce       c    e e ec       c a ead eac ba       a ec d c a
 be e a d        e e ec      ca  a    e e        a     ee        c ae e c      a ed f
acc ac a e e d f c      H e e         W c                 ca         e   ca ca
de ce          ac e f ab a      ba         c ec d e e a d d              e a ed ba
    a c ed c a e Ve ed V         e a de a ed b ea d       f e ec     ba     a    a d
 ab a   e      e b c

      F     ca         a ab    ae e           D ec Rec d E ec            cV       E      e DRE
 ec              ce      a    f ad A          e    c d         e       e a ea       a ca ab a ed
b e DRE e           e Af e       e      c e e ec          e             a a e    c         e
 ab a ed e        a I ec           e ec d e e a          be        e ec        ea a d ec e a c
 f e e               e e       ca d      e     e e a ea ed         e ac e         a ea ed e e e
bea      e     a e f ec         ef e ec        ec a d       add     a      ec     ac      e ea T e
  ac e     d   ced ec d f      e a       e ca f eac ca d da e         e    ed c ec       e a e
    e ec d     c ea a a e              e a ca d da e a e e ec      e e        a e ac e be
  e ed V         ac e         de ee ed da c e          e      a ba          e ec ed c a e         e



                                 Hea   E ec        C           eV e
   Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 46 of 156




          a ef    e ac         e a d e e ec       c e        de ce f       e ac     e W c
c ea e a a e ec d f e e          e a ca            a e      a   d f ba       e        e   e        e

         I add         f            e e f       e D ec Rec d E ec            c DRE e        e
  ca           c    e     ca ca       de ce        be a a e f e a      ced e      ab a e ba       a
  ee       e be       e ac e F e a          e a ba     e ec ed b e ac e            be e a   ed b
     e ec        ca f       d ee          ca a e       de e     e e ca e f e ec         T e ca
ca     e     a ead     ca e ba       c ec e        be     ee Re a       Ba            e WEC E ec
Da Ma a F               e ac e          e ba             be ab a ed b a d         c a e        ea
ed        e      ed e       f f      a ce a e ec           a    a e      a ca d da e a e a d a
     e a ca d da e f        a     ce b fa      c      ee a a W e               e e e f e
a         a       c      e ed a e c    ed    ead f e e f          e ca d da e      e ba   f e
     e      a e e ed ca d da e T e ef e e e                a eed be a e ded          e ec e c ec
      be f e

        T eW c           E ec      C             WEC      e e e    e       c       f c
   e a ba          acc da ce          W Sa              W e a e a a ed a ba                 a a a
d e      c ea      d ca e e             b ec e c a        e a e ec      a e       ed a     ce        e
ba       e e ec         ec            a e       de e     e e e        e        A       ec           be
 a f e de e          a         ce a d e a                 a ee a e e             e      ca     ca
be de e      ed R e f c                  e      e a          e e       e     f ea       e a     e a
    e       e a be c         ed f e e        f e e ca be de e        ed e e f a a e              e ed
A ba       a da a ed e             ed       e    e c ea a       e     e     ca ed a defec e ba
W e e e a ba          f    d be defec e ca b a c a e ed e ec             e ec ed e f               a
    a e       e ba           be de     ed     a      be a d e a de a d a      a     ab       e e ec ed
ba          be ade          e I ec        Sae e


Repor ing he Vo e

        W c      a    ec e e      ce f e ec           e        Af e a           e e e ec
   ca a       ce e e       f e e ca a e               ace a d e a e a e ec          ae a f
de e        e     c a c e O e ec            e ec        ec          e        e e      b ad
    e               ec      ce        ae a             af e e e a e ab a ed W S a
        c W c       d e      a ea      c a a e de E ec     N     e              e Acc d
   W Sa               ece              a e       b ad      e                 a     e e e
  a a ed b e c            ae a              af e ece       e e          e ec          S e
c     e   c a Ada C                 e      aG     e D e f de       ed f        e c
  eb e      e   e e      e     d ec        e eb e T e E ec         C              fW c


                                  Hea   E ec        C          eV e
     Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 47 of 156




ad    e   e    efe        fW c             C    e ec     eb e     e ec              d
       ca e   f    W c        C            Ce            f e         b   ca e        e
     c a e a ea d e    a e de e


Cer if ing he Vo e

       V e a       W c       ae   e c ec ed E ec      e   f         c a e ae        ca
       e a e bee d b e c ec ed b e c         a d ce ed b e b a a W c           E ec
C          T e a f       e ec       ec        e ec          e uno cial e ec  e      e
   ca e      f e e ec     ae     a ed          a e ee P E ec      Ac     e T ce f e
   e eac   c a b a d f ca a e           ee   c     e e e c a ca a f e e ec e
   ce a e        c a c        ae        e e e T e ca a a e e          e ca
de e     a    f e     c e f e e ec       T e e ec       c     e ea d     ec  ca be
 e e ed        e ca a a bee c        e ed W S a                     a

      T e ca a f      e e de a ace a e ace a e c          e e I   ed a e f         e
c    ca a       ec      c e de e        e E ec  C            e ce ed a e e f
  ec      b a d f ca a e         e e ec      e   ec ded b a d C       ca a e
ce f e e             eW c      E ec     C           WEC b N e be                da
af e e e ec     W Sa             T e WEC       ce f e a e de e        b Dece be
     W Sa             a

        Ca d da e a d e ec      a e        f a ec             PM      e   db      e da
f           ce ca       b e c a b a d f ca a e A           a    dead e f        a e
f a ec           a a ed e       c a ce       e a Ce ca e f E ec      eac e      e ec ed
a          c a      ce W e a a d e       f a ec        ed e       c a ce          a       e
  e ce ca e f e ec       f   e ce        e          e ec      a bee c    e ed a d e     e
a     ed f         a a ea a a ed       f a ea ed       e a ea dec ded W S a
W c           ec      a ae      a ed de a b e C e f E ec            I e     M e a




Concl ion
      C         e e e ec a     a     e   ac   e      ce e e     e     e ce
  ae T e     e a       f eb a a         ae         e     e e e ce c         a e
    be f ab e ee ba         e ab ca e c        a e     e a        e    e ec     I
    e ae    ee    ce    a dc     be      E ec   Da         a e    e a       a
c    ba   a d e      e    De e d        c e e e ec      a d e e ce a


                              Hea   E ec        C       eV e
     Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 48 of 156




 ae    ce    ba e       d ae Mc       a Pe      a a     a dW c              be d      ef    e
    c  e e e de a ace a a e e         e a da bef e      e      e                a   de ee f
ce a      H e e beca e f e dece       a ed ad       a       a d e             e     ee ae
e ec          a     d ce a ab e f      a    f     e     ca e e a ca         a     c a e
    ca     d a eb        If e e ec          e   ae       de e     ae      e e e      d e ec
ab e ee ba      be a fe e    ce f c      c a d   a            e      e ec      e d




Appendi

Ke    Links
Ac    a We W K      aL       E ec    N     Na e Pe    a d C a e S e a III Wa S ee
J      a
H         S  e E ec N       Na e Pe    a d C a e S e a III S a e
C           eV eD       e       E ec    B a a P c Ce e
H      Q c W Y Ab e ee V e Be C           ed A S a e b S a e T e e Ne Y T e
Sa   e Rec   La Sea c ab e Da aba e C e f E ec         I e    M e a
Ve     ed V    E ec  e      e     ed eac c




                             Hea   E ec       C           eV e
Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 49 of 156




                            Exhibit 2.
All-Mail Elections   Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 50 of 156                                                             1/25/21, 2:17 AM



                                                                                       Login (https://www.ncsl.org/login.aspx?
                                                                                       returnurl=%2fresearch%2felections-and-campaigns%2fall-mail-
                                                                                       elections635457869.aspx)
           (/)
                                                                                   |
                                                                                       Create Account (https://www.ncsl.org/fon_registration.aspx?
                                                                                       returnurl=https%3a%2f%2fwww.ncsl.org%2fresearch%2felections-
                                                                                       and-campaigns%2fall-mail-elections635457869.aspx)
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    GENERAL
    INFORMATION                All-Mail Elections
                              By Michael D. Hernandez | Vol . 22, No. 35 / September 2014
    Download free PDF
    (/LinkClick.aspx?                                                Did You Know?
    !leticket=-
    ltr5LyV7lM%3d&tabid=28575&portalid=1)                            At least 22 states allow certain elections to be conducted
                                                                     entirely by mail.
    Order LegisBrief
                                                                     Legislators introduced 42 bills in 2013-2014 that related to
    Subscription
                                                                     vote-by-mail elections.
    (http://comm.ncsl.org/OnlineStore/ProductListing/ProductDetail/tabid/55/Default.aspx?
    ProductId=2196)                                                  Although supporters of vote-by-mail emphasize its
                                                                     apparent convenience for voters, critics have cited
    NCSL Bookstore                                                   concerns about its reliance on the U.S. Postal Service.
    (http://comm.ncsl.org/OnlineStore/tabid/54/Default.aspx)
                              Voters more often are casting their ballots from home as states have increasingly allowed all
    Legisbriefs Home          mail elections to take the place of traditional precinct polling place voting. Voters in Colorado,
    Page                      Oregon and Washington need never visit a traditional neighborhood polling place. Instead,
    (http://comm.ncsl.org/Default.aspx?
                              these three states administer all elections entirely through the mail. This trend has been quietly
    tabid=177&class=LegisBriefs)
                              growing and is prompting legislators to consider whether all-mail elections are a good !t for
    NCSL CONTACTS             their state or community.
    AND RESOURCE
                              For such elections, all registered voters in a jurisdiction receive a mailed ballot. A participating
    Wendy Underhill           voter marks the ballot and places it inside a secrecy envelope or protective sleeve, which then is
    | 303-856-1379            placed inside a separate envelope. This envelope is signed by the voter as an a"davit to
    (mailto:wendy.underhill@ncsl.org)
                              con!rm his or her identity and returned to an election o"ce. Occasionally, voters in other states
                              have used the same voting method that previously was a#orded only to quali!ed absentee
    Michael D.                                                                                                                       (https://www.ncsl.org/aboutus/ncslservice
                              voters. At least 22 states have provisions that allow certain elections to be conducted entirely by
    Hernandez | 303-                                                                                                                           state-liaisons-map.aspx)
                              mail.
    856-1474                                                                                                                         (https://www.ncsl.org/aboutus/ncslservice
                              Pros and Cons. Supporters of all-mail elections say allowing a person to cast a vote from the
    (mailto:michael.hernandez@ncsl.org)                                                                                                        state-liaisons-map.aspx)
                              comfort of his or her home boosts convenience and helps people avoid wait times at polling             (https://www.ncsl.org/aboutus/ncslservice
    Katy Owens Hubler         places. The voter also can take as much time as needed to thoroughly examine the ballot.                         state-liaisons-map.aspx)
    | 303-856-1656            Elections administrators say all-mail elections reduce the costs of recruiting and training            (https://www.ncsl.org/aboutus/ncslservice
    (mailto:katy.hubler@ncsl.org)
                              workers for polling places; it also frees them from the sometimes challenging task of !nding a                   state-liaisons-map.aspx)
                              suitable polling location. Some rural jurisdictions appreciate the $exibility all-mail elections
    NCSL’s Vote-by-Mail
                              provide local governments. They no longer need to devote resources to the infrastructure and
    Web page
                              personnel required to administer an election at traditional in-person voting precincts. These
    (http://www.ncsl.org/research/elections-
                              vote-by-mail elections have slightly increased turnout for special elections and some municipal
    and-campaigns/all-
                              elections that often fail to garner attention from voters and the media.
    mail-elections.aspx)


https://www.ncsl.org/research/elections-and-campaigns/all-mail-elections635457869.aspx                                                                       Page 1 of 3
All-Mail Elections   Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 51 of 156                                                                               1/25/21, 2:17 AM



    ADDITIONAL              Opponents of all-mail elections say the voting method weakens the traditional civic experience
    RESOURCES               of voting with neighbors at a local school, church or community polling place. They maintain
                            that vote-by-mail’s cost savings are largely nulli!ed by the expenses to print and mail ballots to
    Changing the Way        each registered voter in a jurisdiction. Although all-mail elections increase turnout in special
    Colorado Votes: A       and small elections, they have not successfully encouraged voter participation in larger general
    Study of Selected       elections. Finally, opponents say all-mail elections do not provide the level of security and voter
    Reforms,”Colorado       con!dence inherent in polling place voting. They contend that ballots can be lost at any stage of
    Secretary of State,     the vote-by-mail process, that such a system relies on an already strained U.S. Postal Service,
    2011                    and that voters outside a polling place can be more easily coerced into selecting candidates and
    (http://www.ucdenver.edu/academics/colleges/SPA/Documents/Election%20Reform%20Study%202-
                            measures they do not support.
    1-11.pdf)
                                  State Action
    Oregon's Vote-by-
    Mail Procedures            Colorado, Oregon and Washington are the only states that administer all elections entirely by
    Manual,”                   mail. Other states permit vote-by-mail in certain elections, such as special elections, municipal
                               elections, when a candidate is unopposed, or at the discretion of the county clerk. The kinds of
    (http://sos.oregon.gov/elections/Documents/vbm_manual.pdf)
                               jurisdictions that use all-mail elections vary. Some states have relied on the voting method to
                               address a shortfall in elections resources. In Idaho, for example, a county with a precinct that
   Elections and               has no more than 125 registered voters can use all-mail elections. Hawaii, which has some of
   Campaigns                   the lowest turnout rates in the country, has sought to increase voter participation by allowing
                               jurisdictions to use vote-by-mail for local and special elections.
    All Documents
    (/searchresults/issearch/false/kwdid/459.aspx)
                               Costs. Some states and jurisdictions that have moved to all-mail elections have noted
     !                          signi!cant savings because they no longer need to spend money for recruitment, training and
                                pay for polling place workers. When Montana considered an expansion of vote-by-mail to
    Initiative and
                                administer all elections in 2011, the state’s association of clerks and recorders estimated the
    Referendum
                                move would save taxpayers $2 million each election cycle. In Colorado, a county survey
    (https://www.ncsl.org/searchresults/issearch/false/kwdid/462.aspx)
                                estimated that costs in 2010 would have amounted to $1.05 less per registered voter, a savings
    Election                    of about 19 percent.
    Administration
                                However, some of the savings from administering an election entirely by mail are o#set by an
    (https://www.ncsl.org/searchresults/issearch/false/kwdid/461.aspx)
                                  increase in postage costs for each registered voter to be mailed a ballot. Since Americans are
    StateVote Election          highly mobile, the task of ensuring voter registration rolls are updated becomes even more
    Results and Analysis        essential in an all-mail election.
    (https://www.ncsl.org/searchresults/issearch/false/kwdid/463.aspx)
                                  Security. The secure delivery of ballots is a key concern about all-mail elections. Academic
    Campaign Finance            research has found absentee ballots can be lost in transit for a variety of reasons, including
    (https://www.ncsl.org/searchresults/issearch/false/kwdid/460.aspx)
                                  ballots requested but not received, ballots transmitted but not returned for counting, and
                                  ballots returned for counting but rejected. This loss of votes could a#ect a close election.

                                  Some jurisdictions have o#ered voters the use of ballot-tracking systems that allow a person to
                                  follow where his or her ballot is in the delivery and counting process. In addition, some
                                  jurisdictions provide ballot drop boxes to address voters’ concerns that ballots might not be
                                  returned in time to be counted.

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(https://www.ncsl.org/aboutus/ncslservice/ncsl-state-liaisons-map.aspx)
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All-Mail Elections   Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 52 of 156                                                                1/25/21, 2:17 AM


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Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 53 of 156




                            Exhibit 3.
                    Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 54 of 156
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                                WASHINGTON (AP) — Disputing
                                                                            happen last week
                                President Donald Trump’s persistent,
                                baseless claims, Attorney General
                                William Barr declared Tuesday the U.S.
                                                                            Biden attends Mass at DC church where

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                   Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 55 of 156
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                                                                            Biden attends Mass at DC church where
                                Justice Department has uncovered no         he worshipped as VP
                                evidence of widespread voter fraud that
                                could change the outcome of the 2020
                                election.                                   Legislator who questioned Black hygiene
                                                                            to lead health panel
                                Barr’s comments, in an interview with
                                the The Associated Press, contradict the
                                concerted effort by Trump, his boss, to
                                                                                                           by Taboola
                                subvert the results of last month’s
                                voting and block President-elect Joe                       ADVERTISEMENT
                                Biden from taking his place in the White
                                House.

                                Barr told the AP that U.S. attorneys and
                                FBI agents have been working to follow
                                up specific complaints and information
                                they’ve received, but “to date, we have                                                 China pushes fringe theories on pa
                                not seen fraud on a scale that could have                                               virus
                                effected a different outcome in the
                                election.”

                                The comments, which drew immediate
                                criticism from Trump attorneys, were
                                especially notable coming from Barr,
                                who has been one of the president’s
                                most ardent allies. Before the election,          "One Percenter's" Powerful
                                                                                  New Message: Things Are
                                he had repeatedly raised the notion that              About to Get Ugly
                                mail-in voting could be especially
                                vulnerable to fraud during the
                                coronavirus pandemic as Americans                               Click
                                feared going to polls and instead chose
                                to vote by mail.

                                More to Trump’s liking, Barr revealed in
                                the AP interview that in October he had
                                appointed U.S. Attorney John Durham
                                as a special counsel, giving the
                                prosecutor the authority to continue to
                                investigate the origins of the Trump-
                                Russia probe after Biden takes over and
                                making it difficult to fire him. Biden
                                hasn’t said what he might do with the
                                investigation, and his transition team
                                didn’t comment Tuesday.

                                Trump has long railed against the
                                investigation into whether his 2016
                                campaign was coordinating with Russia,
                                but he and Republican allies had hoped
                                the results would be delivered before


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                   Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 56 of 156
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                                the 2020 election and would help sway
                                voters. So far, there has been only one
                                criminal case, a guilty plea from a
                                former FBI lawyer to a single false
                                statement charge.

                                RELATED STORIES:
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                                       Wisconsin election chair
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                                       wins in presidential vote

                                Under federal regulations, a special
                                counsel can be fired only by the attorney
                                general and for specific reasons such as
                                misconduct, dereliction of duty or
                                conflict of interest. An attorney general
                                must document such reasons in writing.

                                Barr went to the White House Tuesday
                                for a previously scheduled meeting that
                                lasted about three hours.

                                Trump didn’t directly comment on the
                                attorney general’s remarks on the
                                election. But his personal attorney Rudy
                                Giuliani and his political campaign
                                issued a scathing statement claiming
                                that, “with all due respect to the
                                Attorney General, there hasn’t been any
                                semblance” of an investigation into the
                                president’s complaints.




                                  Attorney General William Barr said Tuesday the
                                  Justice Department has not uncovered evidence
                                  of widespread voter fraud that would change the
                                  outcome of the 2020 presidential election. (Dec.
                                  1)


                                Other administration officials who have
                                come out forcefully against Trump’s
                                allegations of voter-fraud evidence have
                                been fired. But it’s not clear whether
                                Barr might suffer the same fate. He


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                   Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 57 of 156
Disputing Trump, Barr says no widespread election fraud                                         1/25/21, 1:58 AM



                                maintains a lofty position with Trump,
                                and despite their differences the two see
                                eye-to-eye on quite a lot.

                                Still, Senate Democratic leader Chuck
                                Schumer quipped: “I guess he’s the next
                                one to be fired.”

                                Last month, Barr issued a directive to
                                U.S. attorneys across the country
                                allowing them to pursue any
                                “substantial allegations” of voting
                                irregularities before the 2020
                                presidential election was certified,
                                despite no evidence at that time of
                                widespread fraud.

                                That memorandum gave prosecutors the
                                ability to go around longstanding Justice
                                Department policy that normally would
                                prohibit such overt actions before the
                                election was certified. Soon after it was
                                issued, the department’s top elections
                                crime official announced he would step
                                aside from that position because of the
                                memo.

                                The Trump campaign team led by
                                Giuliani has been alleging a widespread
                                conspiracy by Democrats to dump
                                millions of illegal votes into the system
                                with no evidence. They have filed
                                multiple lawsuits in battleground states
                                alleging that partisan poll watchers
                                didn’t have a clear enough view at
                                polling sites in some locations and
                                therefore something illegal must have
                                happened. The claims have been
                                repeatedly dismissed including by
                                Republican judges who have ruled the
                                suits lacked evidence.

                                But local Republicans in some
                                battleground states have followed
                                Trump in making unsupported claims,
                                prompting grave concerns over
                                potential damage to American
                                democracy.

                                Trump himself continues to rail against
                                the election in tweets and in interviews

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                   Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 58 of 156
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                                though his own administration has said
                                the 2020 election was the most secure
                                ever. He recently allowed his
                                administration to begin the transition
                                over to Biden, but he still refuses to
                                admit he lost.

                                The issues they’ve have pointed to are
                                typical in every election: Problems with
                                signatures, secrecy envelopes and postal
                                marks on mail-in ballots, as well as the
                                potential for a small number of ballots
                                miscast or lost.

                                But they’ve gone further. Attorney
                                Sidney Powell has spun fictional tales of
                                election systems flipping votes, German
                                servers storing U.S. voting information
                                and election software created in
                                Venezuela “at the direction of Hugo
                                Chavez,” – the late Venezuelan
                                president who died in 2013. Powell has
                                since been removed from the legal team
                                after an interview she gave where she
                                threatened to “blow up” Georgia with a
                                “biblical” court filing.

                                Barr didn’t name Powell specifically but
                                said: “There’s been one assertion that
                                would be systemic fraud and that would
                                be the claim that machines were
                                programmed essentially to skew the
                                election results. And the DHS and DOJ
                                have looked into that, and so far, we
                                haven’t seen anything to substantiate
                                that.”

                                In the campaign statement, Giuliani
                                claimed there was “ample evidence of
                                illegal voting in at least six states, which
                                they have not examined.”
                                Full Coverage: Election 2020
                                “We have many witnesses swearing
                                under oath they saw crimes being
                                committed in connection with voter
                                fraud. As far as we know, not a single
                                one has been interviewed by the DOJ.
                                The Justice Department also hasn’t
                                audited any voting machines or used


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                   Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 59 of 156
Disputing Trump, Barr says no widespread election fraud                                         1/25/21, 1:58 AM



                                their subpoena powers to determine the
                                truth,” he said.

                                However, Barr said earlier that people
                                were confusing the use of the federal
                                criminal justice system with allegations
                                that should be made in civil lawsuits. He
                                said a remedy for many complaints
                                would be a top-down audit by state or
                                local officials, not the U.S. Justice
                                Department.

                                “There’s a growing tendency to use the
                                criminal justice system as sort of a
                                default fix-all,” he said, but first there
                                must be a basis to believe there is a
                                crime to investigate.

                                “Most claims of fraud are very
                                particularized to a particular set of
                                circumstances or actors or conduct. ...
                                And those have been run down; they are
                                being run down,” Barr said. “Some have
                                been broad and potentially cover a few
                                thousand votes. They have been
                                followed up on.”

                                ___

                                Associated Press Writers Lisa Mascaro
                                and Eric Tucker contributed to this
                                report.


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                   Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 60 of 156
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                   Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 61 of 156
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                        Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 62 of 156
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Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 63 of 156




                            Exhibit 4.
                          Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 64 of 156



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                  Methods of Information Hiding and Detection in File Systems



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Abstract—Multiple methods of information hiding can be used by criminals to conceal incriminating data. The FAT
and NTFS file systems are the most commonly used file systems in operating systems today, and therefore are the
most exploited. Most methods of information hiding can be detected using forensic tool kits designed specifically for
cyber crime investigators. The purpose of this paper is to explore various methods of information hiding in the FAT
and NTFS file systems)

    Keywords- Digital forensics, information hiding, file system, FAT, NTFS, slack space, file slack, disk slack, bad cluster, free space,
steganography, forensic toolkit, deleted file, hidden file, directory entries, alternate data streams, master file table, hidden partition,
computer forensics analysis



                                                              I.     INTRODUCTION
   Information hiding, accomplished by exploiting a computer's file system and various other operating system
characteristics, can take on many forms. In many cases, information hiding is a intentional activity that an individual
employs to store away sensitive information in an attempt to make it invisible to everyone else. However, there are some
exceptions, such as digital watermarking, that are used for appropriate purposes. Some common methods of information
hiding include: hidden files, deleted files, hidden partitions, alternate data streams, steganography, and slack space hiding.
There are many computer forensics tool kits available that allow a user to detect multiple types of information hiding.
Taking a more in depth look to how these tool kits detect the types of information hiding mentioned gives a deeper
understanding of how the information hiding was accomplished.
   The most widely used file systems for Windows operating systems are the file allocation table (FAT) file systems and the
new technologies file system (NTFS). These file systems both perform the same basic tasks, but for the purposes of
information hiding, their subtle differences change the ways that some methods of information hiding are accomplished.
Thus, a brief overview of each file system, along with a small discussion of their differences is warranted and shall be
presented prior to the discussion of the various methods of information hiding.
                                                        II.        FAT FILE SYSTEMS
   The FAT or File Allocation Table file system is one of the simplest file systems used today. Its simplicity is mainly due to
its compatibility with multiple operating systems and its small number of data structures [1]. Because of this, many cross-
platform storage devices, such as thumb drives, use FAT file systems to avoid complications when running the device on
other machines with different operating systems. However, as Carrier [1] points out, the simplicity has lead to many
modifications used to give the system new capabilities. Also, FAT does not follow the five-category model laid out by
Carrier [1]. This is mainly due to its low number of data structures that perform duties for more than one category. This
makes it easier to analyze the FAT file system in terms of its data structures as apposed to breaking it down into the five
categories of file system data. The FAT file system uses two primary data structures, the file allocation table and directory
entries [1].
                                                       III.        NTFS FILE SYSTEMS
  The New Technologies File System (NTFS) was designed by Microsoft and is the default file system for Microsoft
Windows NT, Windows 2000, Windows Server, and Windows XP [1]. NTFS is also the default file system for Windows
Vista and Windows 7.
         Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 66 of 156



    The master file table (MFT) is the primary data structure and it contains information about all files and directories of the
file system [1]. Each entry in the MFT contains attributes that describe the file. These attributes are denoted by a name
beginning with a ‘$’. One important aspect of the NTFS file system is that everything is treated as a file, even the MFT.
    The NTFS file system is a more complex and advanced file system. Its introduction was supposed to provide a more
reliable and secure file system than FAT [1]. However, NTFS file systems are still susceptible to virtually all of the same
methods of information hiding that the FAT file systems are.
                                           IV.     REASONS FOR INFORMATION HIDING
   Not all information hiding is done for criminal purposes. Hidden partitions can be used to place a system recovery
partition on the disk. Also, hidden partitions can be used when you need to install multiple legacy operating systems that do
not usually work well when installed simultaneously [3]. Steganography can be used for digital watermarking in an attempt
to prevent copyright infringement. Alternate Data Streams (ADS) can be used to allow a file to contain additional property
information. For the purposes of this paper, however, let us discuss the methods of information hiding from a perspective of
both the criminal and the investigator.
                                              V.    INFORMATION HIDING METHODS

A. Hidden Files and Folders
   Possibly the most simple method of information hiding a person could use is hidden files or folders. All Microsoft
Windows operating systems allow a user to set properties for a file or folder. Taking this into consideration, a criminal could
simply store whatever information they choose in a file or a folder of files and mark the file or folder as hidden from the
Windows file properties dialog box. Since this is the simplest method of information hiding, it is also the most easily
detectable method of information hiding. In order to detect hidden files or folders in a Windows operating system, an
investigator simply has to enable the viewing of hidden files and folders from the folder view submenu. This almost
eliminates the method of hiding data in hidden files and folders for criminal purposes.
B. Deleted Files
    According to Davis et. al., “one of the most common tasks requested in any investigation is to find and recover the files
that have been deleted from the system. This will often be a prime indicator of what the suspect is trying to hide if you find
mass deletions before your imaging occurred” [2].
    Multiple factors are taken into account when designing file systems. For the final user of the system, more often than not
they are concerned with the speed and throughput of the system as opposed to the security. Taking this into consideration,
the designer of the operating system has a couple of options when implementing the way the file system will handle deleted
files. First, the operating system can overwrite the data on disk and remove it completely, or the operating system can mark
the file as unallocated in the FAT or MFT. Since the second option is much less time intensive, the operating system
designer usually chooses this option.
    By choosing this design option, the operating system designer opens up the possibility of hiding information in deleted
files. The only caveat to hiding information by deleting files is that the person must make sure that the clusters the files once
resided in will not be overwritten once deleted. Due to the increasing capacity of disks, and the design option of allowing
deleted files to still reside on disk but not in the MFT or FAT, the possibility of a deleted file being overwritten is small. This
is due to the file allocation algorithms used by most modern operating systems. Operating systems tend to allocate files in a
linear fashion [2]. This causes new file allocation to occur toward the end of the disk. As a result, deleted files toward the
beginning of the disk have a better chance of not being overwritten. This will be especially true for smaller deleted files since
the file system will attempt to allocate larger files sequentially. The large files cannot be completely stored in the clusters of
the deleted file, so the file will be stored further down in memory.
    Recovering deleted files using modern forensic tool kits requires the same process in both FAT and NTFS file systems.
These tool kits examine the allocation status of the file and will inform the user whether or not the file has been deleted or
unallocated. Also, these tool kits will allow the investigator to examine the deleted files [2].
C. Hidden/Deleted Partitions
   As with files, it is also possible to mark a partition as hidden or deleted. Hidden partitions, although possible, are almost
useless when hiding information for criminal purposes. This is because most common file systems have standardized ways
of dealing with hidden partitions. Every operating system as well as any partition manager will recognize these partitions
even though they are hidden, and some Linux distributions mount these hidden partitions by default. The method for
marking a partition as hidden manually is rather straightforward. If a user flips the fifth most least significant bit in the
partition ID, the partition is hidden [3].
         Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 67 of 156



           Deleted partitions are a little more useful for information hiding. All operating systems make use of a master boot
record (MBR) which is located in the first block on the drive and contains a pointer to a boot loader that either allows the user
to choose from multiple operating systems installed or loads an operating system from a partition on a drive. All file systems
are accessed through the MBR. The MBR also contains a partition table for each partition that has information about the
partition on the drive. It is possible for a user to delete the partition table, or entries in the partition table, using various
utilities freely available [2]. The deleted partitions still remain on the disk just as deleted files/folders do, so it may be
possible to recover or reconstruct these partitions using most computer forensic tool kits.
    Recovering deleted partitions is a bit more complex, but it follows along the same lines as recovering deleted files. For
the FAT file system, a deleted partition can be recovered by locating the first and last sector of a deleted partition. Forensic
tool kits allow you to search for the first and last sectors of an object, and since the first and last sectors of a FAT partition are
standard, an investigator can simply perform a search for these items to recover the deleted FAT partition [2]. The process is
the same for recovering deleted NTFS partitions. The only difference is the starting sector of the NTFS partition contains a
different value [2].
D. Alternate Data Streams
    Alternate Data Streams (ADS) are a method of information hiding that is only possible on NTFS file systems. The
previously mentioned attributes associated with each file on a NTFS system gives way to ADS. Each file has an associated
$DATA attribute that describes the content of the file. More than one $DATA attribute that is associated with a file is an
ADS [1]. These additional data attributes will not be shown when the contents of a directory are listed, so the hidden
$DATA attributes can be used by individuals to hide information [1]. An ADS becomes invisible to someone using a tool
such as Windows Explorer to view a file. Thus, the existence of an ADS is undetectable to average users that are not using a
utility that can be used to view the structure of a file [2]. Furthermore, the size of the file (when viewed through a tool such
as Windows Explorer) does not increase, no matter how large the alternate data is. Therefore, it is easy to see how a suspect
could use this method to hide sensitive information rather secretively.
    The following example will show how easy it is to create an ADS using the Windows command line tool. Assume that
the user has a file named “new.txt,” then in the command line the user enters the command “echo Hidden
Data>new.txt:secret.txt.” This command creates a new $DATA attribute for “new.txt” named “secret.txt” with the string
“Hidden Data.” Following this, the user enters the command “notepad new.txt:secret.txt.” to open the “secret.txt” $DATA
attribute for “new.txt.” When notepad opens, the user will now see “Hidden Data” in the file, as opposed to opening
“new.txt” normally where they would see whatever information is contained in the actual file [5]. Luckily for the
investigator, most modern tool kits can detect and reveal ADS.
    Almost all of the modern forensic tool kits provide the capability to display ADS. Given that an NTFS image is provided,
these tool kits will detect and display the information hidden in an ADS to the investigator. The investigator simply has to be
aware that ADS may exist on a NTFS image and that ADS may contain hidden information [2].
E. Slack Space
    Slack space refers to the remaining data from a previously allocated file in a cluster that has been overwritten on disk.
Since a cluster is fixed in size, any newly allocated data that did not fill the entire cluster would still contain data from the last
allocated file. Searching a disk using a non-forensic tool would cause a user to miss all of the data contained in the slack
space. It is possible, if a user can figure out how to delete files in such a way that new files are allocated to the position of the
file they wish to hide, to use slack space for criminal information hiding purposes [2]. However, all modern computer
forensic tool kits capture the entire disk when imaging a drive and therefore show all data that remained in slack space. So
any information hidden in the slack space will be revealed once the image is examined in such a tool kit. As such, a
discussion of how to detect disk slack space hiding is not warranted because it is revealed with the disk image acquisition.
F. File Slack Space Hiding
   Since the file system has some basic size for a cluster, there is frequently space left over in allocated clusters at the end of
files. Shu-fen et al [6] describe a method for hiding files in this slack space found at the end of other files. This process is
similar to hiding files in free space; however, the file will have to be divided into varying size segments based on the slack
space sizes available. To find slack space, it is necessary to analyze the directory entries. This data structure will contain the
size of the files in the system. “If the file size is a non-integer multiple of the size of the cluster, we can calculate the size of
the remaining space in the final cluster” [6]. Again, the cluster numbers and size of the data stored must be stored and
encrypted in order to restore the file. As such, there will be no directory entry for the hidden file because of the manual
storage of file segments. Again, the locations of the file segments could be decrypted if the configuration file can be found.
Also, the hidden file contents will easily be seen following the end of the file.
                         Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 68 of 156



  G. Bad Clusters
      In their paper, Shu-fen and others [6] describe a method for hiding files in “bad” clusters. The basic technique relies on
  the file allocation table and its manipulation. The file is split up into segments based on the size of the clusters used by the
  FAT file system. The segments are then placed in unallocated spaces as identified by the file allocation table. This process
  mimics the normal allocation done by the file system except that there is no entry for the file in the directory entries. As each
  segment of the file is placed in unallocated clusters, that cluster is marked as “bad” in the file allocation table. This can be
  done directly because the start position of the file system can be found based on the type of FAT [6]. To keep track of the
  clusters that compose the hidden file, each “bad” cluster is recorded in a configuration file and encrypted. This technique
  tries to completely hide a file in unallocated clusters manually, by avoiding the default behavior of file allocation. By doing
  this, there will be no directory entry for the file, and the file clusters can be manually marked as “bad” in the file allocation
  table. To recover the file, the used cluster numbers must be decrypted and used to read the segments of the file in memory
  [6]. Of course, this method has its drawbacks. An encrypted list of sectors must be kept in order to reconstruct the file. If
  this list is stored in the same file system, there is the possibility it will be found and decrypted. An even easier way to
  uncover the presence of such a file would be to analyze the file using some sort of forensic tool kit. A forensic tool kit is
  capable of identifying bad clusters and allows the user to view the contents if the cluster is indeed not bad.
  H. Steganography
       Steganography means “concealed writing” and refers to many types of information hiding. For the purposes of this paper,
  let us consider image steganography. This is perhaps the most complex and useful information hiding technique. Also, it is
  the most difficult to detect and uncover. An image file is usually large in size compared to a text or short audio file, thus
  image files can be used to plant steganography that will go undetected to a typical user [4]. According to Kessler, “the most
  common steganography method in audio and image files employs some type of least significant bit substitution or
  overwriting” [4]. If a user wanted to hide a short text file or something similar in an image file, changing the least significant
  bit changes very little in the image and it is not very likely that a human could detect the alterations. This is a very simple
  implementation of image steganography. Most steganography creation tools use some sort of algorithm to randomize which
  bits are actually changed in the image. This factor is what makes steganography detection so difficult [4].
      Detecting steganography is a very complex task. One approach to detect steganography is to inspect the structure of the
  medium to detect oddities. A human eye may not be able to detect image manipulation in this way, but perhaps a software
  tool would. Least significant bit alterations cause multiple duplicate colors. Sometimes these duplicate color patterns can
  give some insight into what algorithm was used when hiding the data. Furthermore, longer hidden messages will alter the
  carrier image more severely, so the suspect will have to choose a large enough image so that the hidden information will still
  go undetected. Kessler also mentions that this type of statistical analysis is commonly employed to detect hidden messages
  when the hidden information to be detected is unknown [4]. Finally, Kessler points out that recovering the hidden
  information is much more complex than simply detecting the hidden information. When recovering the hidden information,
  the investigator must have some sort of insight into the message length and perhaps some knowledge of the algorithm used
  [4].
                                                                    VI.    CONCLUSIONS
     Information hiding is a factor in each computer forensics investigation. There are several methods of information hiding
  that a suspect can use to conceal incriminating evidence. Most modern tool kits provide methods for detecting, recovering,
  and viewing most all types of information hiding. Thus, the investigator's job is made much easier with the advent of these
  tool kits. However, as these tool kits make detecting the common methods of information hiding more trivial, it is plausible
  that new and more innovative ways of information hiding will be developed to circumvent the current methods and thwart the
  tool kits' capabilities.
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Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 69 of 156




                            Exhibit 5.
                    Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 70 of 156
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   23             By EC-Council            /    Fundamental, Speed Reading


   NOV            6 ANTI-FORENSIC
                  TECHNIQUES THAT
                  EVERY CYBER
                                                                                                   SUBSCRIBE TO EC-
                  INVESTIGATOR                                                                     COUNCIL BLOG

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   Anti-forensic
     M E M B E R S ’ F techniques
                       EEDBACK    can
                                   A B Omake
                                        UT   a computer
   investigator’s life difficult. From committing fraud in an
   organization to stealing crucial data, cybercriminals can


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                    Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 71 of 156
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   perform a wide range of nefarious activities. In some                                      Name*




                                                                                                                       Write for Us
   cases, these perpetrators try to cover their tracks by
   deleting browser history, cache memory, and even
   cookies. But with an upward trend, it is now much                                          Email*

   convenient for cyber attackers to use already
   programmed software and tools to alter their digital
   footprints. Technically, these tools are designed to hide,                                   By signing up, you agree to
   remove, and eventually hinder cyber forensic analysis.                                       EC-Council using your data,
                                                                                                in accordance with our
   With the use of anti-forensic techniques, it becomes                                         Privacy Policy
   exhausting to retrieve evidence during a computer                                            (https://www.eccouncil.org/pr
   investigation.                                                                               statement/) & Terms of Use
                                                                                                (https://www.eccouncil.org/te
                                                                                                of-use/). We use your data to
   Cybercriminals use many ways to hide information and                                         personalize and improve your
   their digital footprints. For instance, altering the header                                  experience as an user and to
                                                                                                provide the services you
   of a file can deceive people. Changing the header from
                                                                                                request from us.
   .jpg to .mp3 will give the impression of an audio file, but                                  You can change your
   the system will still treat as an image file.                                                preferences or unsubscribe at
                                                                                                any time by editing your
                                                                                                profile on your Member
   Similarly, an investigator focused on a particular file
                                                                                                Dashboard or by clicking
   format can skip over important evidence. Under
   another method, perpetrators can use slack space, i.e.,
   unused space of a file, to hide sensitive sections of a file.
   Dividing a file into smaller sections and hiding the
   information in the slack space, makes the data retrieval
   and data assembly challenging.

   The internet has a vast number of anti-forensic
   techniques to conceal the digital activities of an
   individual. Some of these techniques are basic, while
   some require sound technical knowledge. The
   advanced techniques are deliberately used by the black
   hat community to hamper a cyber investigation.

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                    Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 72 of 156
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   Fascinating Anti-Forensic Techniques
   to Cover Digital Footprints
   1. Encryption

   Under encryption, the data is converted into an
   unreadable format (“encrypted data” or “ciphertext”)
   using a pair of keys.

   The primary motive of encryption is to prevent
   confidential files or data from unauthorized access. The
   encrypted data can be deciphered only by using the
   paired-up key. This is one of the traditional methods to
   protect data.

   Under modern cryptography methods, Data Encryption
   Standard (DES), Advanced Encryption Standard (AES),
   are a few of the popular techniques. They use
   symmetric as well as asymmetric encryption.

   Di!erence between symmetric and asymmetric
   algorithms?

   Symmetric algorithms use a single key to encrypt and
   decrypt data, while asymmetric algorithms use two
   separate keys for both the processes.
                                                                                              C AT E G O R I E S
   2. Steganography
                                                                                                  EC-COUNCIL NEWS
   Steganography is the act of concealing data in plain                                           SPEED READING

   sight.                                                                                             FUNDAMENTAL
                                                                                                      INTERMEDIATE
                                                                                                      ADVANCED
   Most often, data is exchanged via an image. In this type
                                                                                                  EC-COUNCIL DOSSIER
   of technique, a section of the image is altered so that it
                                                                                                  MEMBERS FEEDBACK

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                    Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 73 of 156
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   is not identifiable easily. The processed file looks
   ordinary and can go unnoticed. In the modern-day, the
   message is concealed using microdots and invisible ink.
   There is another form, linguistic steganography, where
   the message is hidden in a natural context.
   Steganography allows messages and even huge files to
   be hidden in pictures, text, audio, and video files.

   It is challenging to identify a steganography-attack, but
                                                                                              L AT E S T A R T I C L E S
   repetitive patterns can reveal the secret message to the
   investigator. With that, the professionals can also use
                                                                                                          WHAT IS
   advanced tools to spot hidden data.                                                                    CYBER THREAT
                                                                                                          INTELLIGENCE?
   3. Tunneling                                                                                           ALL YOU NEED
                                                                                                          TO KNOW

   This method uses encapsulation to allow private                                                        22 Jan 2021
   communications to be exchanged over a public
   network.                                                                                               A DAY I N T H E
                                                                                                          LIFE OF A

   The data packets will flow from public networks, thus                                                  SECURITY
                                                                                                          OPERATIONS
   generating no suspicion. One of the common ways is to
                                                                                                          A N A LY S T
   use a Virtual Private Network (VPN), which encrypts the
                                                                                                          22 Jan 2021
   data for security reasons.

                                                                                                          A LVI N O N G ,
   To eliminate such attacks, organizations must
                                                                                                          CHIEF
   continuously monitor their encrypted network                                                           INFORMATION
                                                                                                          OFFICER AT
   connections.
                                                                                                          N A N YA N G
                                                                                                          TECHNOLOGICAL,
   4. Onion Routing                                                                                       TALKS ABOUT
                                                                                                          BECOMING A
   The process of sending messages which are encrypted                                                    CERTIFIED

   in layers, denoting layers of an onion, is referred to as                                              CHIEF
                                                                                                          INFORMATION
   onion routing.
                                                                                                          SECURITY


https://blog.eccouncil.org/6-anti-forensic-techniques-that-every-cyber-investigator-dreads/                               Page 4 of 9
                    Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 74 of 156
6 Anti-forensic techniques that every cyber investigator dreads | EC-Council Official Blog                        1/24/21, 8:54 PM



   The data packet goes through several networking                                                     OFFICER
                                                                                                       (CCISO)
   nodes where every layer of encryption gets peeled off.
                                                                                                       21 Jan 2021
   With the stripping of the final layer, the message gets
   closer to reach its destination. The message remains
   anonymous to the entire message delivery chain except
   the nodes placed after the source and before the
   destination.                                                                               Tweets by ​@ECCOUNCIL
                                                                                                  EC-COUNCIL
   One of the best practices to fight against onion routing
                                                                                                  @ECCOUNCIL
   is to use reverse routing. This elimination process is                                         And the countdown
   time-consuming but can be used to defeat onion                                                 begins...
                                                                                                  Our compelling
   routing.                                                                                       roundtable on Effective
                                                                                                  Security Incident
   5. Obfuscation                                                                                 Handling is all set to
                                                                                                  take place on Jan 28!

   A technique that makes a message difficult to                                                  Reserve your spot now
   understand because of its ambiguous language is                                                to receive actionable
                                                                                                  insights and learnings -
   known as obfuscation.                                                                          bit.ly/3i4ZQVA#cyberse
                                                                                                  curity
                                                                                                  #informationsecurity
   This method uses jargon and ingroup phrases to
                                                                                                  #security
   communicate. It could be intentional and unintentional.
   The primary objective of obfuscation is to reduce the
   risk of exposure. It can be done by altering the signature
   or fingerprint of malicious code.

   Deobfuscation is the same as countering onion routing.                                                                1h

   Removing layers exposes clean and readable code.
                                                                                                  EC-COUNCIL
                                                                                                  @ECCOUNCIL
   6. Spoofing                                                                                    What does web
                                                                                                  application security
                                                                                                  mean? Read more to
   The act of disguising communication to gain access to
                                                                                              Embed         View on Twitter
   unauthorized systems or data.

   Spoofing can be performed through emails, phone

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                    Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 75 of 156
6 Anti-forensic techniques that every cyber investigator dreads | EC-Council Official Blog    1/24/21, 8:54 PM



   calls, and websites. Two most common ways of
   spoofing are –

          IP Spoofing – Under IP spoofing, perpetrators use a
          different IP address to hide their system’s IP address
          for initiating malicious activities. Generally, this type
          of spoofing intends to carry out a distributed denial
          of service (DDoS) It can be performed either
          manually or by the use of tools.
          MAC Spoofing – MAC addresses usually cannot be
          changed, but with technical skills, it is not
          impossible. With MAC spoofing, cyber attackers use
          fake MAC addresses. This is one of the difficult
          spoofing methods to counter.

   Other types of spoofing include ARP spoofing, DNS
   spoofing, email spoofing, and many more.

   Forensic investigators have many tools and techniques
   to identify spoofing, such as examining email headers
   in the case of email spoofing or investigating wireless
   access point activities in case of MAC spoofing, and
   likewise.

   Many of these topics are covered under the Computer
   Hacking Forensic Investigator (C|HFI). The program will
   give you an in-depth understanding of digital forensics.
   Being a hands-on program, its virtual labs mimic the
   real-world challenges, offering the best learning
   experience. The vast coverage of C|HFI includes
   database forensics, cloud forensics, operating system
   forensics, network forensics, mobile forensics, and many


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                    Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 76 of 156
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   others.

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                    Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 77 of 156
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                    Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 78 of 156
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Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 79 of 156




                            Exhibit 6.
                      Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 80 of 156
Judge blasts Georgia officials’ handling of election system | Yourbasin                                                                         1/25/21, 1:58 AM




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     NATIONAL

     Judge blasts Georgia o6cials’
     handling of election system




                               NEWS             VIDEO            WEATHER              SPORTS              TV SCHEDULE   ABOUT US   CONTESTS




                               COMMUNITY                JOBS
     FILE – This May 22, 2018, 3le photo, shows a voter access card inserted in a reader during voting in the
     Georgia primary in Kennesaw, Ga. A federal judge has ordered Georgia to stop using its outdated voting
     machines after 2019. U.S. District Judge Amy Totenberg on Thursday, Aug. 15, 2019, issued the order after
     voting integrity advocates and individual voters asked her to order the state to immediately switch to hand-
     marked paper ballots. (AP Photo/Mike Stewart, File)

                                                                                                                                   DON'T MISS
        by: KATE BRUMBACK, Associated Press

        Posted: Aug 17, 2019 / 07:53 AM CDT / Updated: Aug 17, 2019 / 10:56 AM CDT



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                    Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 81 of 156
Judge blasts Georgia officials’ handling of election system | Yourbasin                                                             1/25/21, 1:58 AM



     the time stamp on the story to see when it was last updated.


     ATLANTA (AP) — Georgia election officials have for years ignored,
     downplayed and failed to address serious problems with the state’s
     election management system and voting machines, a federal judge                                  Be Our Change –
     said in a scathing order this week.                                                              Legendary Barn Door
                                                                                                      Be Our Change / 2 days ago
     U.S. District Judge Amy Totenberg said those problems place a
     burden on citizens’ rights to cast a vote and have it reliably
                                                                                                      Odessa neighborhood upset
     counted. She called Georgia’s voting system “antiquated, seriously
                                                                                                      over car vandalisms
     flawed, and vulnerable to failure, breach, contamination, and
                                                                                                      News / 4 days ago
     attack.”

     Despite those findings, Totenberg ruled Thursday that Georgia                                    Permian Producers Are
     voters will use that same election system this fall because of                                   Optimistic About Keystone XL
     concerns about the state’s capacity to make an interim switch                                    Cancellation
     while also implementing a new system .                                                           Energy Report / 2 days ago


     Plaintiffs in a lawsuit challenging Georgia’s system had asked
     Totenberg to order an immediate switch to hand-marked paper
                                                                                                      Jane Doe identiRed in 54-year-
                                                                                                      old Pecos cold case
     ballots for special and municipal elections this fall. But she
                                                                                                      Local News / 5 days ago
     declined, citing worries about the state’s capacity to manage an
     interim switch while also implementing a new system that is
     supposed to be in place for the March 24 presidential primaries.                                 Safe-2-Save Competition
                                                                                                      News / 1 week ago
     “(T)he totality of evidence in this case reveals that the Secretary of
     State’s efforts in monitoring the security of its voting systems have                            More Don't Miss

     been lax at best — a clear indication that Georgia’s computerized
                                                                                                       Ad
     election system is vulnerable in actual use,” Totenberg wrote in a
     153-page ruling that devotes considerable space to chronicling
     those shortcomings.

     Here are some of the concerns Totenberg identified:

     LACKLUSTER RESPONSE TO A SECURITY LAPSE                                                             Amazing Murphy Beds

     Security experts in 2017 disclosed a gaping hole exposing personal                                  iresults.com              Open
     data for 6.7 million Georgia voters, as well as passwords used by
     county officials to access election-staging files. That lapse at the
     Center for Election Systems at Kennesaw State University, which
     managed the system for the secretary of state, still wasn’t fixed six

https://www.yourbasin.com/news/national/judge-blasts-georgia-officials-handling-of-election-system/                                       Page 2 of 10
                    Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 82 of 156
Judge blasts Georgia officials’ handling of election system | Yourbasin                               1/25/21, 1:58 AM



     months after it was first reported to election authorities.

     The relevant servers were wiped soon after the lawsuit was filed.
     Totenberg said officials’ assertions that the servers “were simply
     ‘repurposed ‘ and not intentionally destroyed or wiped is flatly not
     credible.”

     Election officials have refused to “fully acknowledge or remedy
     these circumstances and their broader ramifications for the voting
     system’s security and reliability,” Totenberg wrote. She also said
     election officials had shown “inconsistent candor” with her about
     this and other voting system security issues.

     The Center for Elections Systems eventually became part of the
     secretary of state’s office. Michael Barnes, who directed it at
     Kennesaw State remains in that role. But Barnes “could recall little
     or what expressly was done” after they received notification of the
     breach, Totenberg wrote.

     PROBLEMATIC FROM THE START

     Totenberg cited a brief filed by the Electronic Privacy Information
     Center that says “almost from their inception” the paperless
     electronic voting machines Georgia has used since 2002 “have been
     plagued by warnings that the voting machines are unreliable,
     insecure, unverifiable.”

     “(W)hile Georgia election officials have effectively taken no steps to
     address these deficiencies with its DRE-based system — a litany of
     other states have abandoned the plagued machines in exchange for
     a more secure and reliable alternative voting method,” Totenberg
     wrote.

     BALLOT BUILDING SECURITY

     Barnes testified last month that the state’s election management
     system, which is used to build ballots, is housed on private
     computers not connected to the internet, saying the system is “air
     gapped.” He also testified that he uses a “lockable” USB drive to
     transfer files between those computers and internet-connected
     computers.

https://www.yourbasin.com/news/national/judge-blasts-georgia-officials-handling-of-election-system/       Page 3 of 10
                    Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 83 of 156
Judge blasts Georgia officials’ handling of election system | Yourbasin                               1/25/21, 1:58 AM



     Relying on testimony from cybersecurity experts, Totenberg wrote
     that using a USB drive in that way exposes the data to malware and
     leaves the entire election system vulnerable to contamination.

     The state has a contract with election equipment company Election
     Systems & Software, which employs three people to design and
     configure Georgia’s databases. They built all the ballots for last
     November’s elections, Barnes testified.

     They work from home on computers disconnected from the
     internet, Barnes testified. But Totenberg noted that Barnes couldn’t
     say what physical security measures they have at their homes and
     that their computers are “outside the secure facilities that the
     Secretary of State maintains for ballot building.”

     RISK ASSESSMENTS AND RESPONSE

     Fortalice Solutions, a cybersecurity firm hired by the secretary of
     state’s office to do risk assessments, identified 22 security risks in
     the networks it examined for an October 2017 report. In a
     subsequent Nov. 30, 2018, report Fortalice found that just three of
     those risks had been fixed and another three were in the process of
     being fixed.

     Totenberg wrote that the record includes “scant” evidence of what
     “targeted remedial measures” state officials took following the
     November 2018 report.

     Totenberg also wrote that the state never asked Fortalice or
     another expert “to conduct an actual cybersecurity review and
     analysis” of its election-related systems and databases.

     VOTER TROUBLES

     Totenberg cited a “mountain of voter testimony showing that these
     vulnerabilities have a tangible impact” on voters’ attempts to cast a
     ballot and have their vote counted.

     The plaintiffs provided statements from 137 Georgia voters, two
     county poll workers and 15 poll watchers about problems during
     the November 2018 midterm election. Those included: self-casting


https://www.yourbasin.com/news/national/judge-blasts-georgia-officials-handling-of-election-system/       Page 4 of 10
                      Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 84 of 156
Judge blasts Georgia officials’ handling of election system | Yourbasin                                         1/25/21, 1:58 AM



     ballots, malfunctioning voting machines, voter selections flipping
     to another candidate, and electronic pollbooks showing incorrect
     polling places or addresses for voters.

     STATE RESPONSE

     In an email to The Associated Press, Tess Hammock, spokeswoman
     for Secretary of State Brad Raffensperger, said, “These conclusions
     are silly and unfounded. At the end of the day no judge should be
     susceptible to political Rhetoric.”

     In a subsequent email she added that the secretary of state’s office
     looks forward to implementing the new system.

     Much of what Totenberg mentioned took place while now-Gov.
     Brian Kemp was secretary of state. Kemp spokeswoman Candice
     Broce didn’t respond to emails seeking comment.

     Lawyers for the state have argued that implementing a new
     election system resolves the problems of the old system.

     State election officials testified that steps were taken to ensure the
     election management system’s safety when it was transferred from
     Kennesaw State, and that they had acted to remedy vulnerabilities
     identified in risk assessments.

     During a hearing last month, under questioning by a plaintiffs’
     attorney, Barnes said, “I feel confident in Georgia’s voting system,
     yes.”

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https://www.yourbasin.com/news/national/judge-blasts-georgia-officials-handling-of-election-system/                 Page 5 of 10
                        Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 85 of 156
Judge blasts Georgia officials’ handling of election system | Yourbasin                               1/25/21, 1:58 AM




      Jackie Kennedy Was a Style Icon -                George Gilder Presents Tiny Little
      but Her Shoes Revealed What We                   Device Set to Boom in 2021
      Long Suspected                                   George Gilder Wi3 6

      Maternity Week




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      Diabetes (Watch)                                 Than $3000 Telescopes?
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https://www.yourbasin.com/news/national/judge-blasts-georgia-officials-handling-of-election-system/       Page 6 of 10
                       Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 86 of 156
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      Diana's Butler Reveals Why Harry
      Really Married Meghan
      Maternity Week




                                   MORE NATIONAL STORIES




     AP Source: Sarah Sanders running for
     Arkansas governor
     by ANDREW DeMILLO, Associated Press / Jan 24, 2021

     LITTLE ROCK, Ark. (AP) — Sarah Sanders, Donald Trump’s
     former chief spokeswoman and one of his closest aides, is
     running for Arkansas governor, a senior campaign official
     told The Associated Press on Sunday night.

     Sanders, who left the White House in 2019 to return to her
     home state, planned to announce her bid on Monday,
     according to the campaign official who spoke on condition
     of anonymity because they were not authorized to speak
     publicly ahead of the formal announcement
     Read the Full Article




https://www.yourbasin.com/news/national/judge-blasts-georgia-officials-handling-of-election-system/       Page 7 of 10
                    Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 87 of 156
Judge blasts Georgia officials’ handling of election system | Yourbasin                                      1/25/21, 1:58 AM




         FEMA just posted new jobs in your area. Make                                                 OPEN
         up to $2812 per paycheck.




     Grizzly, 34, conRrmed as Yellowstone region’s
     known oldest
     Jan 24, 2021

     JACKSON, Wyo. (AP) — A 34-year-old grizzly bear captured
     in southwestern Wyoming has been confirmed as the oldest
     on record in the Yellowstone region, Wyoming wildlife
     officials said.

     Grizzly bear 168 was captured last summer after it preyed on
     calves in the Upper Green River Basin area.
     Read the Full Article




https://www.yourbasin.com/news/national/judge-blasts-georgia-officials-handling-of-election-system/              Page 8 of 10
                    Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 88 of 156
Judge blasts Georgia officials’ handling of election system | Yourbasin                                      1/25/21, 1:58 AM




     Chicago teachers vote to teach from home,
     defying district
     by SOPHIA TAREEN, Associated Press / Jan 24, 2021

     CHICAGO (AP) — The Chicago Teachers Union said Sunday
     that its members voted to defy an order to return to the
     classroom over concerns about COVID-19, setting up a
     showdown with district officials who have said that refusing
     to return when ordered would amount to an illegal strike.

     Chicago Public Schools, which is the nation's third-largest
     district, wanted roughly 10,000 kindergarten through eighth
     grade teachers and other staffers to return to school
     Monday to get ready to welcome back roughly 70,000
     students for part-time in-school classes starting Feb. 1. No
     return date has been set for high school students.
     Read the Full Article




         FEMA just posted new jobs in your area. Make                                                 OPEN
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                    Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 89 of 156
Judge blasts Georgia officials’ handling of election system | Yourbasin                                                                 1/25/21, 1:58 AM




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Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 90 of 156




                            Exhibit 7.
                   Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 91 of 156
Judge allows GA to reset & wipe Dominion voting machines data                                                                    1/25/21, 1:57 AM




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       Judge allows GA to                                       ' ' ' More
                                                                ( Shop
       reset & wipe DominionEnter a player's first, last, or fullSubmit
                                                                  name
       voting machines data
                            Reply                 Back To Topics


       dinkum
       Nov 29th, 2020, 6:55 PM


       UPDATE– Judge Timothy Batten reversed
       claim later today.


       What??? Judge reversed order based on
                                                                                                 LOCKED TOPIC - NO MORE REPLIES
       Defendants’ claim that GA Counties control                                                CAN BE POSTED
       voting machines.
                                                                                                 STICKY NOTE

                                                                                         VIP     PREMIUM TOPIC
       Machines are owned by State &
       @GaSecofState administers state laws on                                                   EXPERT POSTED ON THIS TOPIC

       elections.
                                                                                                 COMMUNITY THREAD

                                                                                             |   YOU POSTED IN THIS TOPIC
       Why are GA oﬃcials determined to wipe
       these machines clean be resetting them?                                                   NEW MESSAGES IN TOPICS YOU
                                                                                         |
                                                                                                 VIEWED

       https://t.co/Oq0edTGfsl                                                                 HOT TOPIC
                                                                                         hot
                                                                                         topic
                                                                                               WARMER TOPIC
                                                                                         warmer
       — Lin Wood (@LLinWood) November 29,                                               topic
                                                                                               WARM TOPIC
                                                                                         warm
       2020                                                                              topic
                                                                                               COOL TOPIC
                                                                                         cool

https://247sports.com/college/usc/board/59419/Contents/-judge-allows-ga-to-reset-wipe-dominion-voting-machines-data-155673790/       Page 1 of 21
                   Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 92 of 156
Judge allows GA to reset & wipe Dominion voting machines data                                                                    1/25/21, 1:57 AM



       ____________________                                                              topic



       By Jim Hoft
       Published November 29, 202
       BREAKING: Judge Timothy Batten Issues
       Order to Freeze All Dominion Machines in
       Georgia …UPDATE: Judge Reverses Order
       Within Hours


       https://www.thegatewaypundit.com/2020/1
       1/breaking-update-judge-timothy-batten-
       issues-order-freeze-dominion-machines-
       georgia/


       ______________________


       Georgia court issues, then reverses order to
       prevent Dominion voting machines being
       ‘wiped’
       A Georgia court brieﬂy granted an order to
       prevent voting machines being wiped on
       Sunday, before reversing course.


       on Sunday, with a federal judge brieﬂy
       granting, then reversing, an order seeking to
       prevent voting machines being wiped.



       L. Lin Wood is suing Georgia Governor Brian
       Kemp, Secretary of State Brad Raffensperger
       and several members of the state election
       board in an attempt to de-certify the election
       results and have Donald Trump declared the
       winner.
       Mr Wood has made sweeping allegations of


https://247sports.com/college/usc/board/59419/Contents/-judge-allows-ga-to-reset-wipe-dominion-voting-machines-data-155673790/       Page 2 of 21
                   Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 93 of 156
Judge allows GA to reset & wipe Dominion voting machines data                                                                    1/25/21, 1:57 AM



       election fraud and, among other things, had
       sought an emergency order “that voting
       machines be seized and impounded
       immediately for a forensic audit by plaintiffs’
       experts”, as he takes aim at voting machine
       company Dominion.
       NED-2208-US Election-In-Article-Banner - 0
       The prominent defamation lawyer – who
       famously represented Richard Jewell, and
       more recently Covington student Nick
       Sandmann and Kenosha shooter Kyle
       Rittenhouse – also requested an order that
       “no votes received or tabulated by machines
       that were not certiﬁed as required by federal
       and state law be counted”.
       On Sunday, US District Court Judge Timothy
       Batten granted Mr Wood’s request for a
       temporary injunction. “Plaintiffs contend that
       Union County oﬃcials have advised that they
       are going to wipe or reset the voting
       machines of all data and bring the count
       back to zero on Monday, November 30,”
       Judge Batten wrote.
       Should Donald Trump concede?
       Yes, Joe Biden has the electoral votes
       required to win
       No, he is right to challenge the result
       Cast your vote
       “To the extent Plaintiffs seek a temporary
       restraining order to preserve the voting
       machines in the State of Georgia, and to
       prevent any wiping of their data, their motion
       is granted. Defendants are ordered to
       maintain the status quo and are temporarily

https://247sports.com/college/usc/board/59419/Contents/-judge-allows-ga-to-reset-wipe-dominion-voting-machines-data-155673790/      Page 3 of 21
                   Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 94 of 156
Judge allows GA to reset & wipe Dominion voting machines data                                                                    1/25/21, 1:57 AM



       enjoined from wiping or resetting any voting
       machines until further order of the court.”


       Within hours, however, Judge Batten
       reversed the order after being advised by the
       defendants that the machines were
       controlled by the local counties. “Plaintiffs’
       request fails because the voting equipment
       that they seek to impound is in the
       possession of county election oﬃcials,” he
       wrote.



       “Any injunction the court issues would
       extend only to defendants and those within
       their control, and plaintiffs have not
       demonstrated that county election oﬃcials
       are within defendants’ control. Defendants
       cannot serve as a proxy for local election
       oﬃcials against whom the relief should be
       sought.”



       Judge Batten ordered Georgia oﬃcials to
       “promptly produce to plaintiffs a copy of the
       contract between the state and Dominion”.
       The defendants must ﬁle a response by 3pm
       on Wednesday, with an in-person hearing
       scheduled for Friday at 10am.
       A Fulton County employee moves voting
       machine transporters to be stored at the
       Fulton County Election Preparation Center on
       November 4, 2020 in Atlanta, Georgia.
       Picture: Jessica McGowan/Getty Images/AFP


https://247sports.com/college/usc/board/59419/Contents/-judge-allows-ga-to-reset-wipe-dominion-voting-machines-data-155673790/      Page 4 of 21
                   Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 95 of 156
Judge allows GA to reset & wipe Dominion voting machines data                                                                    1/25/21, 1:57 AM



       A Fulton County employee moves voting
       machine transporters to be stored at the
       Fulton County Election Preparation Center on
       November 4, 2020 in Atlanta, Georgia.
       Picture: Jessica McGowan/Getty
       Images/AFPSource:AFP
       On Twitter, Mr Wood expressed frustration at
       the ruling. “Machines are owned by (the)
       state and (the Secretary of State) administers
       state laws on elections,” he wrote. “Why are
       Georgia oﬃcials determined to wipe these
       machines clean (by) resetting them?”
       It’s the latest setback for Mr Wood – who is
       working closely with former Trump team
       lawyer Sidney Powell – in his bid to overturn
       the election which saw Joe Biden become
       the ﬁrst Democrat to win the southern state
       for the ﬁrst time in decades.
       Mr Biden beat Mr Trump by 12,670 votes, or
       0.25 per cent, according to results that were
       certiﬁed by the State of Georgia after a hand
       recount and “risk-limiting audit”. The
       President and state Republicans have
       claimed the process was “meaningless”, and
       are instead demanding a full audit of
       absentee ballot signatures.
       Mr Wood unsuccessfully attempted to stop
       the vote being certiﬁed, and is now arguing
       that the restraining order is also needed for
       the US Senate run-offs on January 5, where
       the loss of Kelly Loeﬄer and David Perdue
       could hand the majority back to Democrats.
       On Twitter, however, Mr Wood has attacked
       both of the Republican incumbents, accusing

https://247sports.com/college/usc/board/59419/Contents/-judge-allows-ga-to-reset-wipe-dominion-voting-machines-data-155673790/       Page 5 of 21
                   Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 96 of 156
Judge allows GA to reset & wipe Dominion voting machines data                                                                    1/25/21, 1:57 AM



       them of not supporting the President more
       forcefully. “It makes NO sense that (Ms
       Loeﬄer) and (Mr Perdue) are not demanding
       (Mr Kemp) order special session of (the)
       Georgia legislature to address fraud,” he
       tweeted on Sunday. “Same voting machines,
       same mail ballots, same fraud. (November 3)
       fraud will be repeated in run-off.”
       In addition to seeking to disqualify millions of
       mail-in votes, Mr Wood has latched onto
       more nebulous allegations of electronic vote
       manipulation by Dominion, which the
       company has repeatedly rejected as
       baseless conspiracy theories.



       Last week, Ms Powell ﬁled her own lawsuit in
       Georgia, alleging election software and
       hardware produced by Dominion is where
       the “massive fraud begins”. Georgia
       purchased Dominion products in July 2019, a
       year after Texas rejected the system due to
       its vulnerability to undetected manipulation.
       Speaking to Fox News last week, Dominion
       spokesman Michael Steel said the alleged
       switching of votes from Mr Biden to Mr Trump
       could not have occurred because it was
       “physically impossible”.



       “Look, when a voter votes on a Dominion
       machine, they ﬁll out a ballot on a touch
       screen,” Mr Steel said. “They are given a
       printed copy which they then give to a local


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                    Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 97 of 156
Judge allows GA to reset & wipe Dominion voting machines data                                                                    1/25/21, 1:57 AM



       election oﬃcial for safekeeping. If any
       electronic interference had taken place, the
       tally reported electronically would not match
       the printed ballots, and in every case where
       we’ve looked at – in Georgia, all across the
       country – the printed ballot, the gold
       standard in election security, has matched
       the electronic tally.”


       ____________________


       Sounds familiar


       Divide familiar into syllables: fa-mil-iar


       Or, in Georgia familiar is divided into fa-mi-liar
       with the accent on the last syllable.


       https://twitter.com/llinwood/status/133314
       0968082649088


                0


                                 Discussion



         dinkum
         Nov 29th, 2020, 10:51 PM • 174 months •
             7,859


         https://www.zerohedge.com/political/jud
         ge-blocks-then-unblocks-georgia-wiping-
         or-resetting-election-machines


         Judge Blocks, Then Unblocks Georgia
         From Wiping Or Resetting Election
         Machines

https://247sports.com/college/usc/board/59419/Contents/-judge-allows-ga-to-reset-wipe-dominion-voting-machines-data-155673790/       Page 7 of 21
                   Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 98 of 156
Judge allows GA to reset & wipe Dominion voting machines data                                                                    1/25/21, 1:57 AM



         Authored by Ivan Pentchoukov and Petr
         Svab via The Epoch Times,


         A federal judge presiding over a major
         election lawsuit in Georgia on Sunday
         issued and then reversed an order
         directing the state to cease and desist
         wiping or resetting election machines.


         “Defendants are ordered to maintain the
         status quo & are temporarily enjoined from
         wiping or resetting any voting machines in
         the State of Georgia until further order of
         the court,” Judge Timothy Batten wrote in
         an emergency order issued Nov. 29.


         The judge reversed the order not long
         after, explaining that the defendants are
         not in possession of the machines.


         “Plaintiffs’ request fails because the voting
         equipment that they seek to impound is in
         the possession of county election oﬃcials.
         Any injunction the Court issues would
         extend only to Defendants and those
         within their control, and Plaintiffs have not
         demonstrated that county election oﬃcials
         are within Defendants’ control. Defendants
         cannot serve as a proxy for local election
         oﬃcials against whom the relief should be
         sought,” the judge wrote.


         The change of course by the judge drew a
         ﬂabbergasted response from Lin Wood, an

https://247sports.com/college/usc/board/59419/Contents/-judge-allows-ga-to-reset-wipe-dominion-voting-machines-data-155673790/      Page 8 of 21
                   Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 99 of 156
Judge allows GA to reset & wipe Dominion voting machines data                                                                    1/25/21, 1:57 AM



         attorney associated with the Trump
         campaign.


         “What??? Judge reversed order based on
         Defendants’ claim that GA Counties
         control voting machines,” Wood wrote on
         Twitter, adding that the machines are
         owned by the state and that the Georgia
         secretary of state administers elections.


         “Why are GA oﬃcials determined to wipe
         these machines clean [by] resetting
         them?”


         The plaintiffs in the lawsuit on Sunday ﬁled
         an emergency motion which included an
         aﬃdavit featuring a Nov. 25 message from
         an election oﬃcial stating that the ballot-
         counting machines would be reset to zero
         on Monday, Nov. 30, before performing a
         recount.


         “The process will begin with an L & A –
         resetting the machine to ‘zero’ to begin
         the recount,” the text of the message
         stated before describing the speciﬁcs of
         the recount process.


         The aﬃdavit was written by a GOP poll
         worker who says he or she addressed
         concerns about wiping the machines to
         the election manager.


         “Because the plan on Monday is to wipe

https://247sports.com/college/usc/board/59419/Contents/-judge-allows-ga-to-reset-wipe-dominion-voting-machines-data-155673790/      Page 9 of 21
                  Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 100 of 156
Judge allows GA to reset & wipe Dominion voting machines data                                                                    1/25/21, 1:57 AM



         the voting machines clean, and start from
         0 so that we can recount using those
         machines, I’m concerned by what I am
         reading online,” the poll worker wrote,
         according to the aﬃdavit.


         “I am seeing lots of notices from lawyers
         about possibly impounding the machines.
         Lawyers are now saying that the machines
         should be conﬁscated immediately before
         this happens to protect forensic data.
         They are saying those machines need to
         be impounded ASAP. Yikes. Maybe I’m
         being overly paranoid but let’s be sure this
         is what we’re supposed to be doing.”


         The supervisor responded, “It’s what we
         are supposed to do. It will take a court
         order to stop this process—so I guess we
         need to keep watching the news. If we get
         a court order to stop, we will see it in our
         SOS information. The issue is, the Atlanta
         area has already started,” the elections
         manager wrote.


         When the poll worker asked if the reset
         will wipe the forensic info from the
         machines, the manager said that “Atlanta
         already did it.”


         The lawsuit in question is being litigated
         by Sidney Powell, an attorney who
         defended former national security adviser
         Lt. Gen. Michael Flynn. President Donald

https://247sports.com/college/usc/board/59419/Contents/-judge-allows-ga-to-reset-wipe-dominion-voting-machines-data-155673790/      Page 10 of 21
                  Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 101 of 156
Judge allows GA to reset & wipe Dominion voting machines data                                                                    1/25/21, 1:57 AM



         Trump pardoned Flynn earlier this week.
         The Trump campaign has said that Powell
         is not part of its legal team.




         Georgia Republican Party Chairman David
         Shafer wrote on Twitter after the judge
         issued the order that election oﬃcials in
         Fulton County were updating the software
         on voting systems earlier the same day.


         “Our Republican recount monitors at the
         World Congress Center waited today for
         four hours while Fulton County elections
         oﬃcials ‘updated the software.’ The
         explanation given to me—‘just the usual
         Fulton County incompetence’—is
         completely unacceptable,” Shafer wrote
         on Twitter.


         “It is outrageous that we cannot rely on
         Fulton County elections oﬃcials to do their
         jobs without unexplained four hour delays,
         interventions by private attorneys and
         federal court orders.”


         Voting Systems


         The lawsuit makes a number of allegations
         regarding the voting machines and
         software supplied by Dominion Voting
         Systems, which is used in Georgia and
         many other states.

https://247sports.com/college/usc/board/59419/Contents/-judge-allows-ga-to-reset-wipe-dominion-voting-machines-data-155673790/      Page 11 of 21
                  Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 102 of 156
Judge allows GA to reset & wipe Dominion voting machines data                                                                    1/25/21, 1:57 AM




         The lawsuit cites an aﬃdavit written by a
         former electronic intelligence analyst
         under 305th Military Intelligence Battalion,
         who testiﬁed that the software used by the
         Dominion machines was accessed by
         agents of malicious actors, such as China
         and Iran, “in order to monitor and
         manipulate elections,” including the 2020
         election.


         The suit further alleges that the machines
         are connected to the internet, even
         though they aren’t supposed to be, and
         are easily hacked, based on multiple
         expert declarations. The machines have
         built-in functions that allow operators to
         manipulate the results, several experts
         cited in the lawsuit said.


         Dominion has vehemently denied that its
         machines were used to manipulate vote
         counts.


         “Servers that run Dominion software are
         located in local election oﬃces, and data
         never leaves the control of local election
         oﬃcials,” the company’s website states.


         “All U.S. voting systems must provide
         assurance that they work accurately and
         reliably as intended under federal U.S.
         EAC and state certiﬁcations and testing
         requirements. Dominion’s voting systems

https://247sports.com/college/usc/board/59419/Contents/-judge-allows-ga-to-reset-wipe-dominion-voting-machines-data-155673790/      Page 12 of 21
                  Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 103 of 156
Judge allows GA to reset & wipe Dominion voting machines data                                                                    1/25/21, 1:57 AM



         are certiﬁed for the 2020 elections.”


                  0



         GABUSC
         Nov 29th, 2020, 11:49 PM • 231 months •
             8,328


         I would think the Republicans would
         welcome wiping them clean.


         The party had whined since the Election
         took place.


         Do you really want the same machines the
         party claims are part of a made up Fraud
         charge?


         GO SC


                  1



         Metrobank
         Nov 30th, 2020, 8:30 AM • 193 months •
             15,917


         https://www.dropbox.com/s/7fewfrnbatz
         0jb7/THIRD%20ORDER%20-
         %20PEARSON%20v.%20KEMP%2011.29.
         2020.pdf?dl=0


         Defendants must ﬁle an objection by
         Wednesday. Looks like the forensic
         examination of the Dominion voting
         machines is on in Georgia.


https://247sports.com/college/usc/board/59419/Contents/-judge-allows-ga-to-reset-wipe-dominion-voting-machines-data-155673790/      Page 13 of 21
                  Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 104 of 156
Judge allows GA to reset & wipe Dominion voting machines data                                                                    1/25/21, 1:57 AM



                  1



         TroyKiddv2
         Nov 30th, 2020, 10:01 AM • 35 months •
             19,313


              dinkum said... (original
              post)UPDATE– Judge Timothy
              Batten reversed claim later
              today.What??? Judge reversed
              order based on Defendants’ claim
              that GA Counties control voting
              machi...

              show more


         Naw. Nothing to see hear. Totally above
         board. You Republicans just shut up and
         move on.


                  0



         dinkum
         Dec 1st, 2020, 1:41 PM • 174 months •
             7,859


              TroyKiddv2 said... (original
              post)Naw. Nothing to see hear.
              Totally above board. You
              Republicans just shut up and move
              on.

              show more




https://247sports.com/college/usc/board/59419/Contents/-judge-allows-ga-to-reset-wipe-dominion-voting-machines-data-155673790/     Page 14 of 21
                  Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 105 of 156
Judge allows GA to reset & wipe Dominion voting machines data                                                                    1/25/21, 1:57 AM



         TroyKidd2, spot on!


         Democratic Party & GOP Gangland Wars in
         Atlanta entered a treaty to remove all
         evidence while judges held up Temporary
         Restraining Orders.


         https://en.wikipedia.org/wiki/Gangs_in_
         Georgia_(U.S._state)
         Gangs in Georgia


         _________________


         https://www.zerohedge.com/political/po
         well-dominion-server-removed-fulton-
         county-while-lawyers-sought-restraining-
         order


         Powell: Dominion Server Removed From
         Fulton County While Lawyers Sought
         Restraining Order
         Authored by Ivan Pantchoukov via The
         Epoch Times, 1Dec20


         Attorney Sidney Powell said on Monday
         that someone had removed a Dominion
         Voting Systems server from a recount
         center in Fulton County, Georgia.


         “Someone went down to the Fulton center
         where the votes and Dominion machines
         were, claimed there was a software glitch
         and they had to replace the software, and
         it seems that they removed the server,”
         Powell told “Lou Dobbs Tonight” in an

https://247sports.com/college/usc/board/59419/Contents/-judge-allows-ga-to-reset-wipe-dominion-voting-machines-data-155673790/      Page 15 of 21
                  Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 106 of 156
Judge allows GA to reset & wipe Dominion voting machines data                                                                    1/25/21, 1:57 AM



         interview aired on Nov. 30.


         Powell added that her team does not
         know where the server is.


         Dominion’s software and hardware
         features prominently in two lawsuits ﬁled
         by Powell in Georgia and Michigan.


         The lawsuits claim that the software is
         vulnerable to manipulation by hackers and
         was used to alter to vote totals in the
         presidential election.


         Powell prefaced her comment by saying
         that the alleged removal of the server
         took place when her team was seeking a
         temporary restraining order against the
         resetting, wiping, or altering of any of the
         Dominion machines. A district court
         judge subsequently granted the
         temporary restraining order on Sunday
         night.


         Powell said her team is making signiﬁcant
         progress in both cases while preparing to
         ﬁles suits in other states. She said the
         lawsuits are meant to stop the runoff
         elections in Georgia in January “because
         all the machines are infected with the
         software code that allows Dominion to
         shave votes from one candidate and give
         them to another and other features that do
         the same thing.”

https://247sports.com/college/usc/board/59419/Contents/-judge-allows-ga-to-reset-wipe-dominion-voting-machines-data-155673790/      Page 16 of 21
                  Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 107 of 156
Judge allows GA to reset & wipe Dominion voting machines data                                                                    1/25/21, 1:57 AM




         “Different states shaved different
         amounts of votes. The system was set up
         to shave and ﬂip different votes in
         different states. Some people were
         targeted as individual candidates. It’s
         really the most massive and historical
         egregious fraud the world has ever
         seen,” Powell said.


         Dominion has vehemently denied these
         and other allegations.


         A Dominion Voting Systems server
         crashed on Nov. 29 during the second
         recount in Georgia, according to a
         spokesman for Fulton County.


         “A newly purchased Dominion mobile
         server crashed,” the spokesman told The
         Epoch Times via email. “Technicians from
         Dominion have been dispatched to
         resolve the issue.”


         The oﬃce of the Georgia Secretary of
         State Brad Raffensperger, a Republican,
         was told of the issue and is aware of
         attempts to ﬁx the problem, the
         spokesman said.


         Dominion and Raffensperger’s oﬃce
         didn’t immediately respond to emailed
         requests for comment.



https://247sports.com/college/usc/board/59419/Contents/-judge-allows-ga-to-reset-wipe-dominion-voting-machines-data-155673790/      Page 17 of 21
                  Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 108 of 156
Judge allows GA to reset & wipe Dominion voting machines data                                                                    1/25/21, 1:57 AM



         The judge presiding over the Powell case
         in Georgia has scheduled a hearing
         concerning the temporary restraining
         order for Dec. 4.


         According to an aﬃdavit from a GOP poll
         worker that was ﬁled alongside the
         request for a restraining order, an election
         oﬃcial wrote in a message on Nov. 25 that
         some ballot-counting machines were to be
         reset on Nov. 30 so they could be used in
         the machine recount requested by the
         Trump campaign given the tight margin
         with former Vice President Joe Biden.


         Upon seeing the message, the poll worker
         said they notiﬁed their supervisor because
         they were concerned about wiping of the
         machines.


         “I am seeing lots of notices from lawyers
         about possibly impounding the
         machines,” the poll worker wrote,
         according to the aﬃdavit. “Lawyers are
         now saying that the machines should be
         conﬁscated immediately before this
         happens to protect forensic data. They
         are saying those machines need to be
         impounded ASAP. Yikes. Maybe I’m
         being overly paranoid but let’s be sure
         this is what we’re supposed to be doing.”


         The supervisor responded: “It’s what we
         are supposed to do. It will take a court

https://247sports.com/college/usc/board/59419/Contents/-judge-allows-ga-to-reset-wipe-dominion-voting-machines-data-155673790/      Page 18 of 21
                  Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 109 of 156
Judge allows GA to reset & wipe Dominion voting machines data                                                                    1/25/21, 1:57 AM



         order to stop this process—so I guess we
         need to keep watching the news. If we get
         a court order to stop, we will see it in our
         SOS information.”


         When the poll worker asked if the reset
         will wipe the forensic info from the
         machines, the manager said that “Atlanta
         already did it.”


                  0



         ppaulie
         Dec 1st, 2020, 4:47 PM • 143 months •
             12,263


              GABUSC said... (original post)I
              would think the Republicans would
              welcome wiping them clean.The
              party had whined since the Election
              took place.Do you really want the
              same machines ...

              show more


         Is this the same as the Russia collution
         charge brought to all of us by your side?,
         just curious.


                  0



         GABUSC
         Dec 1st, 2020, 5:13 PM • 231 months •
             8,328


https://247sports.com/college/usc/board/59419/Contents/-judge-allows-ga-to-reset-wipe-dominion-voting-machines-data-155673790/      Page 19 of 21
                  Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 110 of 156
Judge allows GA to reset & wipe Dominion voting machines data                                                                    1/25/21, 1:57 AM




              ppaulie said... (original post)Is this
              the same as the Russia collution
              charge brought to all of us by your
              side?, just curious.

              show more


         Good to see you acknowledge the
         machines weren’t the fault of any Fraud or
         Improper False Election Charges.


         I wasn’t aware Cult Member's had rehab
         facilities could you ﬁll us in or, you’re not
         allowed to discuss it on a Forum?


         GO SC


         GO SC


                  0



         ppaulie
         Dec 1st, 2020, 5:36 PM • 143 months •
             12,263


              GABUSC said... (original post)Good
              to see you acknowledge the
              machines weren’t the fault of any
              Fraud or Improper False Election
              Charges.I wasn’t aware Cult
              Member's had reha...

              show more


         GABUSC, don't be like Gunnm and spin

https://247sports.com/college/usc/board/59419/Contents/-judge-allows-ga-to-reset-wipe-dominion-voting-machines-data-155673790/     Page 20 of 21
                  Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 111 of 156
Judge allows GA to reset & wipe Dominion voting machines data                                                                    1/25/21, 1:57 AM



         and try and change directions, I asked you
         a question yes or no do you agree or
         disagree?, don't make a mountain out of a
         mole hill.


         I have far more respect for you than a
         number of people on this board, have I
         been wrong?.


                  0



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https://247sports.com/college/usc/board/59419/Contents/-judge-allows-ga-to-reset-wipe-dominion-voting-machines-data-155673790/      Page 21 of 21
Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 112 of 156




                             Exhibit 8.
Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 113 of 156




 86                                           PUBLIC LAW 86-449-MAY 6, 1960                                [74 S T A T .

                       Public Law 86-449
      May 6,1960                                                   AN ACT
                  -'                 To enforce constitutional rights, and for otlier purposes.

                      Be it enacted hy the Senate and House of Representatives of the
 of^1960^*^^*^ ^"^^ United States of America in Congress assembled,, That this Act may
                    be cited as the "Civil Rights Act of 1960".

                                                                TITLE I
                                                   OBSTRUCTION OF COURT ORDERS

  62 Stat. 769.           SEC. 101. Chapter 73 of title 18, United States Code, is amended by
                       adding at the end thereof a new section as follows:
                       •'§ 1509. Obstruction of court orders
                          "Whoever, by threats or force, willfully prevents, obstructs,
                       impedes, or interferes with, or willfully attempts to prevent, obstruct,
                       impede, or interfere with, the due exercise of rights or the performance
                       of duties under any order, judgment, or decree of a court of the
                       United States, shall be fined not more than $1,000 or imprisoned not
                       more than one year, or both.
                          "No injunctive or other civil relief against the conduct made
                       criminal by this section shall be denied on the ground that such
                       conduct is a crime."
                          SEC. 102. The analysis of chapter 73 of such title is amended by
                       adding at the end thereof the following:
                       •'1509. Obstruction of court orders."

                                                                 TITLE I I
                       F L I G H T TO AVOID PROSECUTION FOR DAMAGING OR DESTROYING A N Y B U I L D -
                           I N G OR OTHER REAL OR PERSONAL P R O P E R T Y ; A N D , ILLEGAL TRANSPORTA-
                           T I O N , U S E OR POSSESSION OF E X P L O S I V E S ; A N D , T H R E A T S OR F A L S E I N -
                           F O R M A T I O N C O N C E R N I N G A T T E M P T S TO DAMAGE OR DESTROY REAL OR
                           PERSONAL PROPERTY BY F I R E OR EXPLOSIVES

  62 Stat. 755.           SEC. 201. Chapter 49 of title 18, United States Code, is amended by
                       adding at the end thereof a new section as follows:
                       "§ 1074. Flight to avoid prosecution for damaging or destroying any
                                     building or other real or personal property
                         " ( a ) Whoever moves or travels in interstate or foreign commerce
                       with intent either; (1) to avoid prosecution, or custody, or confinement
                       after conviction, under the laws of the place from which he flees, for
                       willfully attempting to or damaging or destroying by fire or explosive
                       any building, structure, facility, vehicle, dwelling house, synagogue,
                       church, religious center or educational institution, public or private, or
                       (2) to avoid giving testimony in any criminal proceeding relating
                       to any such offense shall be fined not more than $5,000 or imprisoned
                       not more than five years, or both.
                          " ( b ) Violations of this section may be prosecuted in the Federal
                       judicial district in which the original crime was alleged to have been
                       committed or in which the person w^as held in custody or confinement:
                       Provided,, however,, That this section shall not be construed as indi-
                       cating an intent on the part of Congress to prevent any State, Terri-
                       tory, Commonwealth, or possession of the United States of any juris-
                       diction over any offense over which they would have jurisdiction
                       in the absence of such section."
Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 114 of 156




       74   STAT.]         PUBLIC LAW 86-449-MAY 6, 1960                                             87

        SEC. 202. The analysis of chapter 49 of such title is amended by
      adding thereto the following:
       ••1074. Flight to avoid prosecution for damaging or destroying any building
                 or other real or personal property."
         SEC. 203. Chapter 39 of title 18 of the United States Code is               62 stat. 738.
      amended by adding at the end thereof the following new section:
      "§837. Explosives; illegal use or possession; and, threats or false
                    information concerning attempts to damage or destroy real
                    or personal property by fire or explosives
         " ( a ) As used in this section—                                            Definitions.
                " 'commerce' means commerce between any State, Territory,
             Commonwealth, District, or possession of the United States, and
             any place outside thereof; or between points within the same
             State, Territory, or possession, or the District of Columbia, but
             through any place outside thereof; or within any Territory, or
             possession of the United States, or the District of Columbia;
                " 'explosive' means gunpowders, powders used for blasting, all
             forms of high explosives, blasting materials, fuzes (other than
             electric circuit breakers), detonators, and other detonating agents,
             smokeless powders, and any chemical compounds or mechanical
             mixture that contains any oxidizing and combustible units, or
             other ingredients, in such proportions, quantities, or packing that
             ignition by fire, by friction, by concussion, by percussion, or by
             detonation of the compound or mixture or any part thereof may
             cause an explosion.
         " ( b ) Whoever transports or aids and abets another in transporting        Penalties,
      in interstate or foreign commerce any explosive, with the knowledge
      or intent that it will be used to damage or destroy any building or
      other real or personal property for the purpose of interfering with
      its use for educational, religious, charitable, residential, business, or
      civic objectives or of intimidating any person pursuing such objec-
      tives, shall be subject to imprisonment for not more than one year, or
      a fine of not more than $1,000, or both; and if personal injury results
      shall be subject to imprisonment for not more than ten years or a fine
      of not more than $10,000, or both; and if death results shall be sub-
      ject to imprisonment for any term of years or for life, but the court
      may impose the death penalty if the jury so recommends.
         " ( c ) The possession of an explosive in such a manner as to evince
      an intent to use, or the use of, such explosive, to damage or destroy
      any building or other real or personal property used for educational,
      religious, charitable, residential, business, or civic objectives or to
      intimidate any person pursuing such objectives, creates rebuttable
      presumptions that the explosive was transported in interstate or for-
      eign commerce or caused to be transported in interstate or foreign
      commerce by the person so possessing or using it, or by a person
      aiding or abetting the person so possessing or using i t : Provided,
      however, That no person may be convicted under this section unless
      there is evidence independent of the presumptions that this section
      has been violated.
        " ( d ) Whoever, through the use of the mail, telephone, telegraph,
      or other instrument of commerce, willfully imparts or conveys, or
      causes to be imparted or conveyed, any threat, or false information
      knowing the same to be false, concerning an attempt or alleged at-
      tempt being made, or to be made, to damage or destroy any building
      or other real or personal property for the purpose of interfering with
      its use for educational, religious, charitable, residential, business, oi*
      civic objectives, or of intimidating any person pursuing such objec-
      tives, shall be subject to imprisonment for not more than one year
      or a fine of not more than $1,000, or both.
Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 115 of 156




  88                                  PUBLIC LAW 86-449-MAY 6, 1960                    [74 S T A T .

                     "(e) This section shall not be construed as indicating an intent
                   on the part of Congress to occupy the field in which this section oper-
                   ates to the exclusion of a law of any State, Territory, Commonwealth,
                   or possession of the United States, and no law of any State, Territory,
                   Commonwealth, or possession of the United States which would be
                   valid in the absence of the section shall be declared invalid, and no
                   local authorities shall be deprived of any jurisdiction over any offense
                   over which they would have jurisdiction in the absence of this section."
                     SEC. 204. The analysis of chapter 39 of title 18 is amended by adding
                   thereto the following:
                   "837. Exi)losives; illegal use or possession; and threats or false information
                           concerning attempts to damage or destroy real or personal property by
                           fire or explosives."
                                                    TITLE I I I
                                            FEDERAL ELECTION RECORDS

                          SEC. 301. Every officer of election shall retain and preserve, for a
                        period of twenty-two months from the date of any general, special, or
                        primary election of which candidates for the office of President, Vice
                        President, presidential elector. Member of the Senate, Member of the
                        House of Representatives, or Resident Commissioner from the Com-
                        monwealth of Puerto Rico are voted for, all records and papers which
                        come into his possession relating to any application, registration, pay-
                        ment of poll tax, or other act requisite to voting in such election, ex-
                        cept that, when required by law, such records and papers may be
                        delivered to another officer of election and except that, if a State or the
                        Commonwealth of Puerto Rico designates a custodian to retain and
                        preserve these records and papers at a specified place, then such
                        records and papers may be deposited with such custodian, and the
                        duty to retain and preserve any record or paper so deposited shall
                        devolve upon such custodian. Any officer of election or custodian who
                        willfully fails to comply with this section shall be fined not more than
                        $1,000 or imprisoned not more than one year, or both.
                          SEC. 302. Any person, wiiether or not an officer of election or cus-
                        todian, who willfully steals, destroys, conceals, mutilates, or alters
                        any record or paper required by section 301 to be retained and pre-
                        served shall be fined not more than $1,000 or imprisoned not more
                        than one year, or both.
                          SEC. 303. Any record or paper required by section 301 to be retained
                        and preserved shall, upon demand in writing by the Attorney Gen-
                        eral or his representative directed to the person having custody,
                        possession, or control of such record or paper, be made available for
                        inspection, reproduction, and copying at the principal office of such
                        custodian by the Attorney General or his representative. This de-
                        mand shall contain a statement of the basis and the purpose therefor.
                          SEC. 304. Unless otherwise ordered by a court of the United States,
                        neither the Attorney General nor any employee of the Department of
                        Justice, nor any other representative of the Attorney General, shall
                        disclose any record or paper produced pursuant to this title, or any
                        reproduction or copy, except to Congress and any committee thereof,
                        governmental agencies, and in the presentation of any case or pro-
                        ceeding before any court or grand jury.
                           SEC. 305. The United States district court for the district in which
                        a demand is made pursuant to section 303, or in which a record or
                        paper so demanded is located, shall have jurisdiction by appropriate
                        process to compel the production of such record or paper,
  tion^'"'^*'^ of eiec-    ggc. 306. As used in this title, the term "officer of election" means
                        any person who, under color of any Federal, State, Commonwealth,
Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 116 of 156




       74   STAT.]        PUBLIC LAW 86-449-MAY 6, 1960

       or local law, statute, ordinance, regulation, authority, custom, or
       usage, performs or is authorized to perform any function, duty, or
       task in connection with any application, registration, payment of poll
       tax, or other act requisite to voting in any general, special, or primary
       election at which votes are cast for candidates for the office of Presi-
       dent, Vice President, presidential elector. Member of the Senate,
       Member of the House of Representatives, or Resident Commissioner
       from the Commonwealth of Puerto Rico.

                                    TITLE IV

                 EXTENSION OF POWERS OF THE CIVIL RIGHTS COMMISSION

         SEC. 401. Section 105 of the Civil Rights Act of 1957 (42 U.S.C.
       Supp. V 1975d) (71 Stat. 635) is amended by adding the following
       new subsection at the end thereof:
         " ( h ) Without limiting the generality of the foregoing, each mem-
       ber of the Commission shall have the power and authority to
       administer oaths or take statements of witnesses under affirmation."

                                     TITLE V
                EDUCATION o r CHILDREN OF MEMBERS OF ARMED FORCES

         SEC. 501. (a) Subsection (a) of section 6 of the Act of September
      30, 1950 (Public Law 874, Eighty-first Congress), as amended, re-            ^J^ f*!^-.fi?^.
      lating to arrangements for the provision of free public education            20 u s e 241.
      for children residing on Federal property where local educational
      agencies are unable to provide such education, is amended by inserting
      after the first sentence the following new sentence: "Such arrange-
      ments to provide free public education may also be made for children
      of members of the Armed Forces on active duty, if the schools in
      which free public education is usually provided for such children are
      made unavailable to them as a result of official action by State or
      local governmental authority and it is the judgment of the Com-
      missioner, after he has consulted with the appropriate State educa-
      tional agency, that no local educational agency is able to provide
      suitable free public education for such children."
          (b) (1) The first sentence of subsection (d) of such section 6 is
      amended by adding before the period at the end thereof: "or, in the
      case of children to whom the second sentence of subsection (a) applies,
      with the head of any Federal department or agency having jurisdic-
      tion over the parents of some or all of such children".
          (2) The second sentence of such subsection (d) is amended by strik-
      ing out "Arrangements" and inserting in lieu thereof "Except where
      the Commissioner makes arrangements pursuant to the second sentence
      of subsection ( a ) , arrangements".
         SEC. 502. Section 10 of the Act of September 23, 1950 (Public Law
      815, Eighty-first Congress), as amended, relating to arrangements            72 stat^. 553.
      for facilities for the provision of free public education for children       20 u s e 640.
      residing on Federal property where local educational agencies are
      unable to provide such education, is amended by inserting after the
      first sentence the following new sentence: "Such arrangements may
      also be made to provide, on a temporary basis, minimum school facili-
      ties for children of members of the Armed Forces on active duty, if
      the scliools in which free public education is usually provided for
Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 117 of 156




                     90                PUBLIC LAW 86-449-MAY 6, 1960               [74   ST A T .

                     such children are made unavailable to them as a result of official action
                     by State or local governmental authority and it is the judgment of the
                     Commissioner, after he has consulted with the appropriate State
                     educational agency, that no local educational agency is able to provide
                     suitable free public education for such children."

                                                   TITLE VI

                        SEC. 601. That section 2004 of the Revised Statutes (42 U.S.C.
                     1971), as amended by section 131 of the Civil Rights Act of 1957 (71
                     Stat. 637), is amended as follows:
                        (a) Add the following as subsection (e) and designate the present
                     subsection (e) as subsection " ( f ) " :
  Voting rights.        "In any proceeding instituted pursuant to subsection (c) in the
  Court action.
                     event the court finds that any person has been deprived on account of
                     race or color of any right or privilege secured by subsection ( a ) , the
                     court shall upon request of the Attorney General and after each party
                     has been given notice and the opportunity to be heard make a finding
                     whether such deprivation was or is pursuant to a pattern or practice.
                     If the court finds such pattern or practice, any person of such race or
                     color resident within the affected area shall, for one year and there-
                     after until the court subsequently finds that such pattern or practice
                     has ceased, be entitled, upon his application therefor, to an order de-
                     claring him qualified to vote, upon proof that at any election or elec-
                     tions (1) he is qualified under State law to vote, and (2) he has since
                     such finding by the court been (a) deprived of or denied under color
                     of law the opportunity to register to vote or otherwise to qualify to
                     vote, or (b) found not qualified to vote by any person acting under
                     color of law. Such order shall be effective as to any election held
                     within the longest period for which such applicant could have been
                     registered or otherwise qualified under State law at which the appli-
                     cant's qualifications would under State law entitle him to vote.
                        "Notwithstanding any inconsistent provision of State law or the
                     action of any State officer or court, an applicant so declared qualified
                     to vote shall be permitted to vote in any such election. The Attorney
                     General shall cause to be transmitted certified copies of such order
                     to the appropriate election officers. The refusal by any such officer
                     with notice of such order to permit any person so declared qualified to
                     vote to vote at an appropriate election shall constitute contempt of
                     court.
                        "An application for an order pursuant to this subsection shall be
                     heard within ten days, and the execution of any order disposing of
                     such application shall not be stayed if the effect of such stay would be
                     to delay the effectiveness of the order beyond the date of any election
                     at which the applicant would otherwise be enabled to vote.
  Voting referees.      "The court may appoint one or more persons who are qualified
                     voters in the judicial district, to be known as voting referees, who shall
                     subscribe to the oath of office required by Revised Statutes, section
  23 Stat. 22.       1767; (5 U.S.C. 16) to serve for such period as the court shall deter-
                     mine, to receive such applications and to take evidence and report
                     to the court findings as to whether or not at any election or elections
                      (1) any such applicant is qualified under State law to vote, and (2)
                     he has since the finding by the court heretofore specified been (a)
                     deprived of or denied under color of law the opportunity to register
                     to vote or otherwise to qualify to vote, or (b) found not qualified to
                     vote by any person acting under color of law. In a proceeding before
                     a voting referee, the applicant shall be heard ex parte at such times
                     and places as the court shall direct. His statement under oath shall
                     be prima facie evidence as to his age, residence, and his prior efforts
Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 118 of 156




       74 S T A T . ]     PUBLIC LAW 86-449-MAY 6, 1960                                    91

       to register or otherwise qualify to vote. Where proof of literacy or an
       understanding of other subjects is required by valid provisions of
       State law, the answer of the applicant, if written, shall be included in
       such report to the court; if oral, it shall be taken down stenograph-
       ically and a transcription included in such report to the court.
          "Lpon receipt of such report, the court shall cause the Attorney re^ort^lnd order °^
       General to transmit a copy thereof to the State attorney general and
       to each party to such proceeding together with an order to show
       cause within ten days, or such shorter time as the court may fix, why
       an order of the court should not be entered in accordance with such
       report. Upon the expiration of such period, such order shall be
       entered unless prior to that time there has been filed with the court
       and served upon all parties a statement of exceptions to such report.
       Exceptions as to matters of fact shall be considered only if supported
       by a duly verified copy of a public record or by affidavit of persons
       having personal knowledge of such facts or by statements or matters
       contained in such report; those relating to matters of law shall be
       supported by an appropriate memorandum of law. The issues of
       fact and law raised by such exceptions shall be determined by the
       court or, if the due and speedy administration of justice requires,
       they may be referred to the voting referee to determine in accordance
       with procedures prescribed by the court. A hearing as to an issue
       of fact shall be held only in the event that the proof in support of the
       exception disclose the existence of a genuine issue of material fact.
       The applicant's literacy and understanding of other subjects shall be
       determmed solely on the basis of answers included in the report of
       the voting referee.
           "The court, or at its direction the voting referee, shall issue to each
       applicant so declared qualified a certificate identifying the holder
       thereof as a person so qualified.
           "Any voting referee appointed by the court pursuant to this sub-
       section shall to the extent not inconsistent herewith have all the
       powers conferred upon a master by rule 53(c) of the Federal Rules
       of Civil Procedure. The compensation to be allowed to any persons 28 use app.
       appointed by the court pursuant to this subsection shall be fixed by
       the court and shall be payable by the United States.
           "Applications pursuant to this subsection shall be determined
       expeditiously. In the case of any application filed twenty or more
       days prior to an election which is undetermined by the time of such
       election, the court shall issue an order authorizing the applicant to
       vote provisionally: Provided^ Jwwever^ That such applicant shall be
       qualified to vote under State law. In the case of an application filed
       within twenty days prior to an election, the court, in its discretion,
        may make such an order. I n either case the order shall make appro-
        priate provision for the impounding of the applicant's ballot pending
       determination of the application. The court may take any other
        action, and may authorize such referee or such other person as it may
        designate to take any other action, appropriate or necessary to carry
       out the provisions of this subsection and to enforce its decrees. This
        subsection shall in no way be construed as a limitation upon the exist-
        ing powers of the court.
           "When used in the subsection, the word 'vote' includes all action Definitions.
        necessary to make a vote effective including, but not limited to, regis-
        tration or other action required by State law prerequisite to voting,
        casting a ballot, and having such ballot counted and included in the
        appropriate totals of votes cast with respect to candidates for public
        office and propositions for which votes are received in an election;
        the words 'affected area' shall mean any subdivision of the State in
        which the laws of the State relating to voting are or have been to
Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 119 of 156




 92                                       PUBLIC LAW 86-450-MAY 6, 1960                   [74   ST A T ,

                        any extent administered by a person found in the proceeding to have
                        violated subsection (a) ; and the words 'qualified under State law'
                        shall mean qualified according to the laws, customs, or usages of the
                        State, and shall not, in any event, imply qualifications more stringent
                        than those used by the persons found in the proceeding to have vio-
                        lated subsection (a) in qualifying persons other than those of the
                        race or color against which the pattern or practice of discrimination
                        was found to exist."
   State as p a r t y
 defendant.
                            (b) Add the following sentence at the end of subsection (c) :
                           "Whenever, in a proceeding instituted under this subsection any
                        official of a State or subdivision thereof is alleged to have committed
                        any act or practice constituting a deprivation of any right or privilege
                        secured by subsection ( a ) , the act or practice shall also be deemed that
                        of the State and the State may be joined as a party defendant and,
                        if, prior to the institution of such proceeding, such official has resigned
                        or has been relieved of his office and no successor has assumed such
                        office, the proceeding may be instituted against the State."

                                                        TITLE VII
                                                       SEPARABILITY

                          SEC. 701. If any provision of this Act is held invalid, the remainder
                        of this Act shall not be affected thereby.
                          Approved May 6, 1960.


                        Public Law 86-450
      May 6, 1960                                           AN ACT
       [^- t^Si]        To place in trust status certain lands on the Wind River Indian Reservation in
                                                            Wyoming.

                           Be it enacted hy the Senate and House of Representatives of the
   Wind River In-       United States of America in Congress asserribled^ That all the right,
 dian Reservation,
 Wyo.                   title, and interest of the United States in and to the following-
                        described tracts of land on the Wind Kiver Indian Reservation in
                        Wyoming shall hereafter be held in trust by the United States for the
                        benefit of the Shoshone and Arapahoe Tribes of said reservation:
                           Section 28, township 1 north, range 1 east, Wind River meridian: '
                                 (1) South half, southwest quarter, southwest quarter, north-
                              west quarter, comprising 5.0 acres more or less.
                           Section 32, township 5 north, range 4 west, Wind River meridian:
                                 (2) Beginning at a point 553.8 feet south of the corner of sec-
                              tions 29, 30, 31, and 32; said point being comer numbered 1;
                              thence south 106.2 feet to corner numbered 2 which is identical
                              with the southwest corner of northwest quarter northwest quarter
                              northwest quarter, section 32; thence east 200 feet to corner num-
                              bered 3, thence north 106.2 feet to corner numbered 4 ; thence
                              west 200 feet to corner numbered 1 and place of beginning, com-
                              prising 0.487 acres.
                                 (3) Beginning at a point 118.2 feet south of the comer of sec-
                              tions 29, 30, 31, and 32; said point being corner numbered 1;
                              thence south 435.6 feet to corner numbered 2; thence east 200
                              feet to corner numbered 3, thence north 435.6 feet to corner num-
                              bered 4; thence west 200 feet to point of beginning, or described
                              as a 2-acre tract in the northwest quarter northwest quarter,
                              section 32.
                                 (4) West half southwest quarter northwest quarter northwest
                              quarter, section 32, comprising 5.0 acres.
                           Approved May 6, 1960.
Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 120 of 156




                             Exhibit 9.
                  Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 121 of 156
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                                                                         2020

         Forget Hanging Chads. Copyright Laws Could be the Next
                          Electoral Quagmire.
        Most election-tech equipment is the intellectual property of the companies that make it — meaning a contested
                                          election could get even more complicated.




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                  Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 122 of 156
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         By ISABELL A FARR and OLIVIA REINGOLD
         11/03/2020 04:30 AM EST




         Isabella Farr is a freelance journalist based in New York, specializing in energy and tech coverage.


         Olivia Reingold is an editor-producer for POLITICO Audio.




         I
                  f you used a mail-in ballot in Fulton County, Georgia this year, you may
                  have noticed peculiar language at the top of the ballot: “Copyright ©
                  2020 Dominion Voting Inc.” Dominion Voting is a private company that
         sells election technology. And this ballot design — which was created by
         Dominion and counted using the company’s proprietary equipment — is
         technically its intellectual property.

         Unusual as it may seem, this isn’t uncommon: Most voting technology used
         throughout the U.S. is covered by intellectual property law. That means the
         touch-screen you might have tapped on to vote could be patented. The software
         used to process your vote could be copyrighted. Before you even got to the
         voting booth, your ballot was likely designed on copyrighted software.

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                  Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 123 of 156
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         And all of it could cause a nightmare after Nov. 3, according to election-
         security experts.


         “We’re going to wind up with a thousand court cases that cannot just be
         resolved by just going into the software and checking to see what happened,
         because it’s proprietary,” said Ben Ptashnik, the co-founder of the National
         Election Defense Coalition, a bipartisan advocacy group that pushes Congress
         to reform election security.


                                                    POLITICO DISPATCH:NOVEMBER 3

                                     Election Day is here. The results? They might not be
                                     finalized for a while. And that has lawyers for Trump
                                     and Biden preparing for lawsuits, recounts and some
                                     odd scenarios that you might never have thought of.

                                                 00:00                                        12:41


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         In most elections, the intellectual-property laws that surround the machinery
         of America’s electoral system prove inconsequential in determining who won
         or lost a campaign, and software isn’t central to most contested-election
         scenarios, such as late-arriving ballots or issues with access to polling
         locations. But in instances where the vote tally itself is in question, analysts
         could need access to voting machines’ underlying code to determine if potential
         security flaws, errors or even purposeful tampering are behind the
         irregularities. And this year, with widespread fears of contested ballots,
         recounts and the potential for weeks of legal challenges that threaten to
         undermine public faith in the results, those IP laws could prove decisive.




https://www.politico.com/news/magazine/2020/11/03/2020-election-recount-ballot-machine-technology-law-433871      Page 3 of 12
                  Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 124 of 156
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         “You know how Apple fights against law enforcement coming in and going into
         their iPhone software? Well, you’d be in the same position,” said Ptashnik.
         “You might have to go all the way to the Supreme Court to get permission to get
         into proprietary software.”

         Three major companies — Election Systems & Software, Dominion Voting
         Systems and Hart InterCivic — together control about 90 percent of the U.S.
         market for voting systems, according to election security advocates and
         researchers consulted by POLITICO. Industry-wide, it is standard practice for
         those companies to tightly control who has access to their proprietary software
         — not only to help those companies maintain an edge over their competitors,
         but to prevent the fraud or hacking of elections equipment. That means that
         the relevant source code used to design ballots and tabulate votes is
         copyrighted and private.

         The rough outline of those legal battles is further complicated by the contracts
         some states have entered into with the election-tech companies. For instance,
         take Michigan — the pivotal battleground state that President Donald Trump
         won in 2016. Under a 10-year contract signed with Hart InterCivic in 2017, the

https://www.politico.com/news/magazine/2020/11/03/2020-election-recount-ballot-machine-technology-law-433871      Page 4 of 12
                  Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 125 of 156
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         state agreed not to “attempt to access or derive any source code” used by the
         company. In a similar agreement with Dominion, Michigan “agree[d] not to
         reverse engineer or otherwise attempt to derive the source code” of the
         company’s software, and forfeited its right to transfer its license for Dominion’s
         software to third parties.

         Contracts and licensing agreements are one of a few ways companies prevent
         outsiders from looking at their proprietary code. The Digital Millennium
         Copyright Act is another. Section 1201 of that federal law may block anyone
         besides the source code owner from accessing and viewing copyrighted source
         code, even if it’s for the purpose of gauging the security of those systems.

         For researchers like University of Michigan computer science professor J. Alex
         Halderman, that presents a real obstacle.

         “I’ve studied machines several times that came up on eBay after state
         governments decommissioned them,” said Halderman. “Once, in 2005, I got to
         study another voting machine because an anonymous source gave us one and
         our lawyers were convinced we would be allowed to study it.”




                                                                           AD




         What Halderman and others are trying to prove is that these machines are

https://www.politico.com/news/magazine/2020/11/03/2020-election-recount-ballot-machine-technology-law-433871       Page 5 of 12
                  Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 126 of 156
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         secure. But some election technology companies say giving researchers access
         to their software is a security risk in itself.

         Voatz, a technology firm that sells mobile voting systems, recently filed an
         amicus brief to the Supreme Court arguing that opening up its software to well-
         meaning third parties invites bad actors to exploit the system.

         “If a security vulnerability is widely disseminated publicly and prematurely, it
         can expose software platforms and their users to malicious attacks, as ill-
         intentioned hackers can take advantage of such vulnerabilities prior to the
         development of any patch,” the brief said.

         There are other ways to ensure security besides opening the door to hackers.
         One option is certifying technology equipment through the Election Assistance
         Commission, which also tests systems for functionality and accessibility. But
         Halderman says its testing program is weak.

         “That level of testing is very superficial from a security standpoint,” Halderman
         said. “There’s now been many, many dozens of studies by academics and other
         independent researchers of voting machines in the U.S., virtually every one of
         which passed the EAC testing before it was found to have vulnerabilities by
         other testers.”

         Federal auditors do get to inspect parts of voting-machine software, but the
         goal is to evaluate functionality, not quality, according to Eddie Perez, a former
         Hart InterCivic executive who now works with the Open Source Election
         Technology Institute to advocate for publicly owned voting systems.

         “It’s a little bit like a mechanic looking under the hood of a car and saying, ‘The
         carburetor is indeed driving the piston, and that’s driving the crankshaft that
         makes the wheels go,’” said Perez. “But that’s not the same thing as the
         mechanic saying, ‘This is the best-quality car that I’ve ever seen and it’s a

https://www.politico.com/news/magazine/2020/11/03/2020-election-recount-ballot-machine-technology-law-433871      Page 6 of 12
                  Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 127 of 156
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         Mercedes, not a Yugo.’”

         Getting that sort of third-party certification is critical to building public trust in
         an election’s outcome, said Perez. Without it, the public might have a hard time
         trusting election officials or election-technology companies — both of which
         could hypothetically produce an audit that protects their own interests.




                                                                           AD




https://www.politico.com/news/magazine/2020/11/03/2020-election-recount-ballot-machine-technology-law-433871       Page 7 of 12
                  Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 128 of 156
Forget Hanging Chads. Copyright Laws Could be the Next Electoral Quagmire. - POLITICO                          1/25/21, 1:57 AM




         Dominion and Hart InterCivic did not respond to repeated requests for
         comment for this article. ES&S told POLITICO its systems have been inspected
         by third parties, but it’s unclear if those audits were paid for by the company
         and if the findings were made public.

         “ES&S has been participating in an industry effort to craft a vulnerability
         disclosure program that works for both security researchers and the elections
         technology industry,” a company spokesperson said. That program invites
         findings from researchers about possible vulnerability in its digital products,
         even though ES&S “does not give authorization to test state and local
         government election related networks or assets.”

         Asked why it frequently places its products under intellectual protection, ES&S
         had a simple answer: “It’s common practice for businesses to protect their
         intellectual property.”

         Which, to election security experts, is precisely the problem.

         “What is so secret about the way these machines are counting our votes?”
         asked Halderman. “That’s the question that everyone should be asking when
         we’re told that the software is copyrighted.”




https://www.politico.com/news/magazine/2020/11/03/2020-election-recount-ballot-machine-technology-law-433871      Page 8 of 12
Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 129 of 156




                            Exhibit 10.
   Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 130 of 156




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                 Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 131 of 156                                                                                         1

          AnÿIntroductionÿtoÿHidingÿandÿFindingÿDataÿonÿLinux

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                                                                      TableÿofÿContents




                                                                                                                              ts.
          ABSTRACT .............................................................................................................................................................. 2




                                                                                                                           igh
          INTRODUCTION ...................................................................................................................................................... 2




                                                                                                                       ll r
          FORENSICÿSOFTWAREÿINSTALLATION............................................................................................................ 2




                                                                                                                     fu
              INSTALLATIONÿOFÿTHEÿSLEUTHÿKIT ......................................................................................................................... 2
              INSTALLATIONÿOFÿAUTOPSY .................................................................................................................................... 3




                                                                                                             ins
          HIDDENÿDIRECTORIES.......................................................................................................................................... 3



                                                                                                       eta
              HIDINGÿDATAÿINÿHIDDENÿDIRECTORIES ................................................................................................................... 3
              FINDINGÿDATAÿINÿHIDDENÿDIRECTORIES ................................................................................................................. 4
                                                                                                 rr
                 UsingÿLinuxÿUtilities ......................................................................................................................................... 4
          CAMOUFLAGEDÿFILES ......................................................................................................................................... 5
                                                                                            ho

              HIDINGÿDATAÿWITHÿCAMOUFLAGE ........................................................................................................................... 5
                                                                                        ut


              FINDINGÿDATAÿHIDDENÿWITHÿCAMOUFLAGE ............................................................................................................ 6
                                                                                 ,A



                 UsingÿLinuxÿUtilities ......................................................................................................................................... 6
                 UsingÿTheÿSleuthÿKitÿ/ÿAutopsy....................................................................................................................... 6
                                                                            03




          DELETINGÿFILES .................................................................................................................................................... 7
                                                                        20




              HIDINGÿDATAÿBYÿDELETINGÿFILES ........................................................................................................................... 8
              FINDINGÿDATAÿINÿDELETEDÿFILES ........................................................................................................................... 8
                                                                  te




                 UsingÿLinuxÿUtilities ......................................................................................................................................... 8
                                                              tu




                 UsingÿTheÿSleuthÿKitÿ/ÿAutopsy....................................................................................................................... 9
                                                      sti




          UNLINKINGÿOPENÿFILES .....................................................................................................................................11
              HIDINGÿDATAÿVIAÿUNLINKINGÿANÿOPENÿFILE...........................................................................................................11
                                                    In




              FINDINGÿDATAÿHIDDENÿVIAÿUNLINKINGÿANÿOPENÿFILE ............................................................................................13
                 UsingÿTheÿSleuthÿKitÿ/ÿAutopsy......................................................................................................................13
                                             NS




          SLACKÿSPACE .......................................................................................................................................................14
                                      SA




              HIDINGÿDATAÿINÿSLACKÿSPACE ..............................................................................................................................14
              FINDINGÿDATAÿHIDDENÿINÿSLACKÿSPACE ...............................................................................................................16
                                 ©




                 UsingÿLinuxÿUtilities ........................................................................................................................................16
                 UsingÿTheÿSleuthÿKitÿ/ÿAutopsy......................................................................................................................16
          APPENDIX...............................................................................................................................................................19
              CREATINGÿAÿFORENSICÿIMAGE ................................................................................................................................19
          REFERENCES ........................................................................................................................................................20




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              Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 132 of 156                    2


          Abstract
          Thisÿpaperÿprovidesÿanÿintroductionÿtoÿseveralÿofÿtheÿcommonÿtechniquesÿforÿhidingÿdata
                Key fingerprint = AF19 FA27 2F94 998D FDB5 DE3D F8B5 06E4 A169 4E46
          onÿLinuxÿsystemsÿ(specificallyÿthoseÿusingÿtheÿext2ÿfileÿsystem),ÿasÿwellÿasÿsomeÿmethods
          forÿfindingÿhiddenÿdataÿonÿtheseÿsystems.ÿTheÿtechniquesÿofÿhidingÿdirectories,
          camouflagingÿfiles,ÿdeletingÿfiles,ÿunlinkingÿopenÿfilesÿandÿusingÿfileÿslackÿspaceÿare
          explainedÿwithÿaÿfocusÿonÿsimple,ÿstep-by-stepÿexamples.ÿForÿeachÿofÿtheseÿdataÿhiding
          techniquesÿthereÿisÿaÿcorrespondingÿsectionÿthatÿprovidesÿanÿexample-ledÿapproachÿto
          findingÿtheÿdata.ÿAsideÿfromÿusingÿLinuxÿcommandsÿtoÿfindÿhiddenÿdata,ÿsomeÿbasic
          computerÿforensicsÿtechniquesÿareÿpresentedÿusingÿtheÿopenÿsourceÿtoolsÿofÿTheÿSleuth
          Kitÿandÿitsÿcompanionÿbrowser-basedÿinterface,ÿAutopsy.




                                                                                   ts.
                                                                                igh
          Introduction




                                                                            ll r
          Theÿtechniquesÿoutlinedÿinÿthisÿpaperÿareÿaimedÿatÿeducatingÿbeginnersÿinÿtheÿfieldsÿof




                                                                          fu
          systemÿadministrationÿorÿcomputerÿforensicsÿasÿtoÿhowÿdataÿmayÿbeÿhiddenÿonÿsystems,




                                                                     ins
          andÿhowÿoneÿmayÿgoÿaboutÿfindingÿthisÿdata.ÿTheÿpaperÿisÿnotÿmeantÿtoÿbeÿaÿguideÿforÿreal-
          worldÿinvestigations.ÿInÿparticular,ÿtheÿdataÿfindingÿsectionsÿdoÿnotÿrepresentÿbestÿpractice


                                                                 eta
          inÿtheÿareaÿofÿcomputerÿforensics.ÿForÿtheÿsakeÿofÿsimplicityÿtheÿforensicÿimagesÿareÿcopied
          ontoÿtheÿsameÿsystemÿthatÿhousesÿtheÿ"evidence",ÿtherebyÿbreakingÿoneÿofÿtheÿbasicÿrules
                                                             rr
          ofÿcomputerÿforensicsÿ(Shinder,ÿp.552).ÿNevertheless,ÿtheÿexample-ledÿapproachÿto
          explainingÿtheÿtechniquesÿshouldÿprovideÿaÿvaluableÿstartingÿpointÿforÿpeopleÿinterestedÿin
                                                          ho

          dataÿhidingÿonÿLinuxÿsystems.
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          Thisÿpaperÿdoesÿnotÿcoverÿtwoÿimportantÿmethodsÿofÿdataÿhiding,ÿencryptionÿand
                                                   ,A




          steganography.ÿBothÿofÿtheseÿmethodsÿrelyÿonÿspecificÿalgorithms,ÿwhichÿoftenÿvaryÿfrom
          applicationÿtoÿapplication.ÿÿTheyÿareÿnotÿmethodsÿthatÿareÿpeculiarÿtoÿLinuxÿorÿother
                                               03




          UNIX-likeÿoperatingÿsystems,ÿandÿforÿthisÿreasonÿtheyÿhaveÿbeenÿexcludedÿfromÿthe
                                            20




          discussion.
                                         te




          AllÿofÿtheÿexamplesÿinÿthisÿpaperÿhaveÿbeenÿcarriedÿoutÿonÿaÿsystemÿrunningÿRedÿHatÿLinux
                                       tu




          versionÿ8.0,ÿusingÿtheÿext2ÿfileÿsystemÿratherÿthanÿtheÿdefaultÿext3ÿfileÿsystem.ÿExcept
          whereÿnoted,ÿallÿofÿtheÿdataÿhidingÿtechniquesÿhaveÿbeenÿperformedÿbyÿuserÿ"sans",ÿwhose
                                   sti




          homeÿdirectoryÿisÿ/home/sans.ÿAllÿofÿtheÿtechniquesÿforÿfindingÿhiddenÿdataÿhaveÿbeen
                                 In




          performedÿbyÿtheÿsuperuser,ÿ"root".ÿTheÿLinuxÿexamplesÿwillÿoftenÿshowÿaÿcommand
          promptÿthatÿincludesÿtheÿuserÿname,ÿtheÿmachineÿnameÿ(alwaysÿ"tortilla")ÿandÿtheÿcurrent
                             NS




          directoryÿname.ÿForÿexample,ÿaÿpromptÿsuchÿasÿ"[root@tortillaÿ/]#"ÿindicatesÿtheÿsuperuser
          workingÿinÿtheÿbaseÿdirectoryÿofÿtheÿsystem.ÿTheÿfinalÿcharacterÿinÿtheÿpromptÿwillÿalways
                          SA




          beÿaÿ"#"ÿforÿtheÿsuperuserÿandÿaÿ"$"ÿforÿtheÿuserÿ"sans".
                         ©




          ForensicÿSoftwareÿInstallation
          Someÿofÿtheÿdemonstrationsÿforÿfindingÿhiddenÿdataÿrequireÿtheÿuseÿofÿforensicÿsoftware
          tools.ÿForÿthisÿreasonÿaÿquickÿdiscussionÿofÿtheseÿtoolsÿisÿprovidedÿbeforeÿstartingÿonÿthe
          demonstrations.

          InstallationÿofÿTheÿSleuthÿKit
          TheÿSleuthÿKitÿisÿanÿopenÿsourceÿforensicÿtoolkitÿthatÿhasÿitsÿoriginsÿinÿaÿgroupÿofÿfile
          systemÿanalysisÿtoolsÿbyÿWietseÿVenemaÿandÿDanÿFarmerÿcalledÿTheÿCoroner'sÿToolkit
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              Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 133 of 156                    3
          (TCT).ÿUpÿuntilÿquiteÿrecentlyÿtheÿtoolkitÿwentÿunderÿtheÿnameÿofÿTASK,ÿanÿacronymÿfor
          Theÿ@stakeÿSleuthÿKit.ÿTheÿpersonÿnowÿinÿchargeÿofÿdevelopmentÿisÿBrianÿCarrier,ÿwithÿthe
          currentÿversionÿbeingÿ1.61.ÿTheÿWebÿsiteÿforÿTheÿSleuthÿKitÿis:
               Key fingerprint = AF19 FA27 2F94 998D FDB5 DE3D F8B5 06E4 A169 4E46
            http://www.sleuthkit.org/sleuthkit/index.php
          ToÿinstallÿTheÿSleuthÿKit,ÿdownloadÿtheÿcompressedÿfileÿfromÿtheÿWebÿsite,ÿunpackÿitÿinÿa
          directoryÿonÿyourÿLinuxÿmachineÿ(Iÿhaveÿcreatedÿaÿdirectoryÿofÿ/usr/local/securityÿforÿthis
          purpose),ÿandÿfollowÿtheÿdirectionsÿinÿtheÿINSTALLÿfile.ÿMakeÿsureÿtoÿcreateÿaÿsoftÿlinkÿto
          theÿdirectoryÿcreatedÿduringÿtheÿunpackingÿbyÿenteringÿaÿcommandÿsuchÿas:

          tv#0{#{tm}|psq|04194#{tm}|psq|




                                                                                   ts.
          InstallationÿofÿAutopsy




                                                                                igh
          AutopsyÿisÿaÿcompanionÿprogramÿtoÿtheÿSleuthÿKit.ÿAutopsyÿmakesÿitÿeasierÿtoÿworkÿwith




                                                                            ll r
          theÿmanyÿtoolsÿprovidedÿwithÿtheÿSleuthÿKitÿbyÿprovidingÿaÿgraphicalÿinterfaceÿtoÿthoseÿtools
          inÿtheÿformÿofÿaÿbrowser.ÿAtÿtheÿtimeÿofÿwriting,ÿtheÿcurrentÿversionÿofÿAutopsyÿisÿ1.71,ÿand




                                                                          fu
          itsÿWebÿsiteÿis:




                                                                     ins
             http://www.sleuthkit.org/autopsy/index.php



                                                                 eta
          TheÿinstructionsÿforÿinstallingÿAutopsyÿareÿveryÿsimilarÿtoÿthoseÿforÿTheÿSleuthÿKit:
          downloadÿtheÿcompressedÿfileÿfromÿtheÿWebÿsite,ÿunpackÿitÿinÿaÿdirectoryÿonÿyourÿLinux
                                                             rr
          machine,ÿandÿfollowÿtheÿdirectionsÿinÿtheÿINSTALLÿfile.ÿAsÿforÿTheÿSleuthÿKit,ÿIÿunpacked
          Autopsyÿintoÿmyÿ/usr/local/securityÿdirectoryÿandÿcreatedÿaÿsoftÿlinkÿtoÿtheÿresultant
                                                          ho

          directoryÿusingÿtheÿtvÿcommand:
                                                       ut
                                                   ,A



          tv#0{#i}|wx{y041:4#i}|wx{y
                                               03




          TheÿAutopsyÿinstallationÿpromptsÿforÿanÿ"EvidenceÿLockerÿDirectory".ÿThisÿisÿtheÿbase
                                            20




          directoryÿforÿstorageÿofÿfilesÿforÿforensicÿinvestigation.ÿIÿcreatedÿaÿdirectoryÿof
          /usr/local/forensicsÿforÿthisÿpurpose.
                                         te
                                       tu
                                   sti




          HiddenÿDirectories
                                 In




          Thisÿisÿaÿbasicÿmethodÿofÿhidingÿdataÿthatÿreliesÿonÿtheÿnon-discoveryÿofÿtheÿdirectory
                             NS




          containingÿtheÿÿdata.ÿTheÿactualÿdataÿfilesÿareÿoftenÿnotÿdisguisedÿinÿanyÿway;ÿtheÿeffort
          insteadÿgoingÿintoÿhidingÿtheÿdirectoryÿitself.ÿThereÿareÿtwoÿmainÿapproachesÿto
                          SA




          accomplishingÿthis.ÿTheÿfirstÿapproachÿinvolvesÿgivingÿtheÿdirectoryÿaÿstrangeÿnameÿthat
          mayÿgoÿunnoticedÿonÿfileÿlistings,ÿwhilstÿtheÿsecondÿapproachÿinvolvesÿcreatingÿthe
                         ©




          directoryÿinÿaÿpartÿofÿtheÿsystemÿwhereÿitÿisÿleastÿlikelyÿtoÿbeÿfoundÿbyÿaÿsystem
          administrator.

          HidingÿDataÿinÿHiddenÿDirectories
          Thereÿareÿaÿcoupleÿofÿstrangeÿdirectoryÿnamesÿthatÿareÿusedÿoverÿandÿoverÿbyÿhackersÿand
          othersÿwhoÿwantÿtoÿconcealÿdata.ÿTheyÿareÿ"..."ÿ(threeÿdots)ÿandÿ"..ÿ"ÿ(twoÿdotsÿandÿa
          space).ÿIÿusedÿtheseÿclassicÿdirectoryÿnamesÿtoÿhideÿdataÿinÿsubdirectoriesÿunderÿmy
          /home/sans/dirÿdirectory.ÿTheÿcommandsÿusedÿtoÿcreateÿtheÿdirectoriesÿwere:
          c{iv{C|wz|qtti#lqze'#uslqz#111
          c{iv{C|wz|qtti#lqze'#uslqz#%11#%

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              Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 134 of 156                      4
          Iÿalsoÿcreatedÿaÿnormalÿdirectoryÿcalledÿ"accounts"ÿandÿplacedÿsomeÿPerlÿscriptÿfilesÿinÿall
          threeÿdirectories.ÿAÿsimpleÿlistingÿofÿmyÿ/home/sans/dirÿdirectoryÿfailsÿtoÿshowÿtheÿhidden
          directoriesÿasÿtheyÿbothÿbeginÿwithÿaÿdot:
               Key fingerprint = AF19 FA27 2F94 998D FDB5 DE3D F8B5 06E4 A169 4E46
          c{iv{C|wz|qtti#lqze'#t{#0t
          |w|it#8
          lzwxzwxz0x####5#{iv{#####{iv{#########4357#Piy#54#45=5;#ikkw}v|{
          0zw0zw0z00####4#{iv{#####{iv{###########48#Piy#54#45=5:#nqtm41|x|
          0zw0zw0z00####4#{iv{#####{iv{#########489;#Piy#54#45=5:#nqtm51|x|
          0zw0zw0z00####4#{iv{#####{iv{##########49:#Piy#54#45=5:#nqtm61|x|

          Aÿfullÿlistingÿofÿtheÿsameÿdirectoryÿrevealsÿtheÿhiddenÿdirectories,ÿbutÿtheyÿmayÿgo
          unnoticedÿdueÿtoÿtheirÿsimilarityÿinÿtheÿlistingÿwithÿtheÿcurrentÿandÿparentÿdirectories




                                                                                    ts.
          (representedÿbyÿaÿsingleÿdotÿandÿtwoÿdotsÿrespectively):




                                                                                 igh
          c{iv{C|wz|qtti#lqze'#t{#0it




                                                                             ll r
          |w|it#<
          lzwxzwxz0x####8#{iv{#####{iv{#########4357#Piy#54#45=5:#1




                                                                           fu
          lzwx000000####7#{iv{#####}{mz{########4357#Piy#54#45=5:#11
          lzwxzwxz0x####5#{iv{#####{iv{#########4357#Piy#54#45=5<#11




                                                                      ins
          lzwxzwxz0x####5#{iv{#####{iv{#########4357#Piy#54#45=5;#111
          lzwxzwxz0x####5#{iv{#####{iv{#########4357#Piy#54#45=5;#ikkw}v|{



                                                                  eta
          0zw0zw0z00####4#{iv{#####{iv{###########48#Piy#54#45=5:#nqtm41|x|
          0zw0zw0z00####4#{iv{#####{iv{#########489;#Piy#54#45=5:#nqtm51|x|
                                                              rr
          0zw0zw0z00####4#{iv{#####{iv{##########49:#Piy#54#45=5:#nqtm61|x|
                                                           ho
          Theÿotherÿapproachÿtoÿhidingÿdirectories,ÿthatÿofÿcreatingÿtheÿdirectoryÿinÿaÿseldomly
          traversedÿpartÿofÿtheÿsystem,ÿisÿfairlyÿsimpleÿtoÿcomprehend,ÿsoÿIÿwillÿnotÿdemonstrateÿit
                                                        ut


          here.ÿNote,ÿhowever,ÿthatÿtheÿ/devÿdirectoryÿisÿoneÿofÿtheÿmostÿfrequentlyÿusedÿlocationsÿto
                                                    ,A



          hideÿotherÿdirectoriesÿ(Green,ÿp.ÿ35).ÿThisÿisÿbecauseÿtheÿhiddenÿdirectoryÿcanÿgo
          unnoticedÿamongstÿtheÿhundredsÿofÿotherÿfilesÿandÿdirectoriesÿinÿthisÿlocation.
                                                03
                                             20
                                          te




          FindingÿDataÿinÿHiddenÿDirectories
                                        tu
                                    sti




          UsingÿLinuxÿUtilities
                                  In




          Theÿfindÿcommandÿwithÿvariousÿoptionsÿcanÿbeÿusedÿtoÿclearlyÿshowÿdirectoriesÿwhichÿhave
          beenÿhiddenÿbyÿgivingÿthemÿaÿprefixÿofÿ".":
                              NS




          czww|C|wz|qtti#lqze&#nqvl#2pwum2{iv{#0|yxm#l#0vium#%1-%#0xzqv|
                          SA




          2pwum2{iv{21slm
          2pwum2{iv{2lqz2111
          2pwum2{iv{2lqz211
                         ©




          Theÿ"-typeÿd"ÿoptionÿinÿtheÿaboveÿcommandÿlimitsÿoutputÿtoÿdirectoriesÿonly.ÿInÿadditionÿto
          theÿtwoÿdirectoriesÿthatÿwereÿcreatedÿearlier,ÿtheÿoutputÿshowsÿaÿdirectoryÿnamedÿ".kde".
          ThisÿdirectoryÿhasÿbeenÿcreatedÿbyÿtheÿKDEÿapplication,ÿandÿcanÿbeÿignoredÿforÿthe
          purposesÿofÿthisÿdemonstration.




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              Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 135 of 156                     5
          Theÿfollowingÿcommandÿ(splitÿoverÿtwoÿlinesÿforÿpresentationÿpurposes)ÿnotÿonlyÿoutputs
          theÿdirectories,ÿbutÿalsoÿtheÿdataÿfilesÿthatÿresideÿinÿtheseÿdirectories.ÿNoteÿthatÿinÿthis
          commandÿtheÿ"-print0"ÿandÿ"-0"ÿareÿimportantÿ-ÿwithoutÿthemÿtheÿshellÿinterpretsÿthe
               Key fingerprint = AF19 FA27 2F94 998D FDB5 DE3D F8B5 06E4 A169 4E46
          directoryÿofÿ"..ÿ"ÿ(twoÿdotsÿandÿaÿspace)ÿasÿtheÿparentÿdirectoryÿ".."ÿ(twoÿdots):

          czww|C|wz|qtti#lqze&#nqvl#2pwum2{iv{#0|yxm#l#0vium#%1-%#d
          0xzqv|3#|#xizo{#03#t{#–t
          2pwum2{iv{2lqz211#=
          |w|it#8
          0zw0z00z00####4#{iv{#####{iv{#########43:3#Piy#54#45=5<#kwuuwv1xt
          0zw0z00z00####4#{iv{#####{iv{##########887#Piy#54#45=5<#mlq|1xt
          0zw0z00z00####4#{iv{#####{iv{#########436<#Piy#54#45=5<#{pww1xt




                                                                                   ts.
          2pwum2{iv{2lqz2111=
          |w|it#6




                                                                                igh
          0zw0z00z00####4#{iv{#####{iv{##########675#Piy#54#45=5;#qvlmx1xt
          0zw0z00z00####4#{iv{#####{iv{#########447:#Piy#54#45=5;#{mizkp1xt




                                                                            ll r
          2pwum2{iv{21slm=




                                                                          fu
          |w|it#4
          lzwxz0xz0x####5#{iv{#####}{mz{########4357#M}v#63##5336#D}|w{|iz|




                                                                     ins
          Aÿsystemÿadministratorÿwishingÿtoÿperiodicallyÿcheckÿforÿhiddenÿdirectoriesÿcouldÿcreateÿa


                                                                 eta
          cronÿjobÿcontainingÿaÿsimilarÿnqvlÿcommand.ÿHowever,ÿtheÿcommandÿwouldÿfailÿtoÿfind
          directoriesÿwithÿnamesÿthatÿdoÿnotÿbeginÿwithÿaÿdot,ÿbutÿhaveÿinsteadÿbeenÿhiddenÿinÿa
                                                             rr
          seldomlyÿtraversedÿpartÿofÿtheÿsystem.ÿThereforeÿperhapsÿtheÿbestÿmethodÿforÿsystem
                                                          ho
          administratorsÿtoÿcounterÿtheÿsubterfugeÿofÿhiddenÿdirectoriesÿisÿbyÿusingÿaÿfileÿintegrity
          checkerÿsuchÿasÿTripwireÿtoÿreportÿonÿdirectoryÿcreation.
                                                       ut
                                                   ,A
                                               03




          CamouflagedÿFiles
                                             20




          Thisÿisÿaÿbasicÿmethodÿofÿhidingÿdataÿthatÿreliesÿonlyÿonÿtheÿfileÿname.ÿFilesÿcontaining
          forbiddenÿdataÿareÿsimplyÿgivenÿnamesÿimplyingÿlegitimacy.ÿInÿparticular,ÿtheÿfileÿextension
                                          te




          isÿchanged.ÿForÿexample,ÿanÿemployeeÿtryingÿtoÿhideÿdownloadedÿMP3ÿaudioÿfilesÿor
                                       tu




          pornographyÿimageÿfilesÿunderÿtheirÿaccountÿmayÿfoolÿaÿnoviceÿsystemÿadministratorÿby
                                    sti




          givingÿtheÿfilesÿinnocuousÿnamesÿandÿchangingÿtheÿfileÿextensionsÿtoÿ“.doc”.
                                  In
                             NS




          HidingÿDataÿwithÿCamouflage
                          SA




          Asÿmentionedÿabove,ÿthisÿtechniqueÿsimplyÿrequiresÿchangingÿfilenames.ÿIÿfoundÿseveral
          image,ÿaudioÿandÿdocumentÿfilesÿandÿplacedÿthemÿinÿmyÿ/home/sans/camÿdirectoryÿas
                         ©




          shown:

          c{iv{C|wz|qtti#kiue'#t{#0t
          |w|it#755
          0zw0zw0z00####4#{iv{#####{iv{#######46994:#Piy#54#46=47#jmikp1rxo
          0zw0zw0z00####4#{iv{#####{iv{########543::#Piy#54#46=47#jwws1oqn
          0zw0zw0z00####4#{iv{#####{iv{########;6593#Piy#54#46=47#nwzm{|1rxo
          0zw0zw0z00####4#{iv{#####{iv{########<899;#Piy#54#46=47#owvo1wi–
          0zw0zw0z00####4#{iv{#####{iv{########6:6:9#Piy#54#46=47#zmxwz|41lwk
          0zw0zw0z00####4#{iv{#####{iv{########4<668#Piy#54#46=47#|ijtm1oqn
          0zw0zw0z00####4#{iv{#####{iv{########5;6;3#Piy#54#46=47#|ziqv1wi–

          Iÿthenÿchangedÿtheÿfilenamesÿofÿthreeÿofÿtheÿfilesÿ(beach.jpg,ÿtable.gifÿandÿtrain.wav)ÿto
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              Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 136 of 156                             6
          camouflageÿtheÿdataÿthatÿtheyÿcontained.ÿAllÿofÿtheseÿcamouflagedÿfilesÿwereÿgivenÿthe
          prefixÿofÿ"cam"ÿforÿdemonstrationÿpurposes.ÿTheseÿimageÿandÿaudioÿfilesÿnowÿappearÿat
          firstÿglanceÿtoÿcontainÿwordÿprocessingÿdocuments:
                Key fingerprint = AF19 FA27 2F94 998D FDB5 DE3D F8B5 06E4 A169 4E46
          c{iv{C|wz|qtti#kiue'#t{#0t
          |w|it#755
          0zw0zw0z00####4#{iv{#####{iv{########543::#Piy#54#46=47#jwws1oqn
          0zw0zw0z00####4#{iv{#####{iv{########4<668#Piy#54#46=47#kiugzmxwz|41lwk
          0zw0zw0z00####4#{iv{#####{iv{#######46994:#Piy#54#46=47#kiugzmxwz|51lwk
          0zw0zw0z00####4#{iv{#####{iv{########5;6;3#Piy#54#46=47#kiugzmxwz|61lwk
          0zw0zw0z00####4#{iv{#####{iv{########;6593#Piy#54#46=47#nwzm{|1rxo
          0zw0zw0z00####4#{iv{#####{iv{########<899;#Piy#54#46=47#owvo1wi–
          0zw0zw0z00####4#{iv{#####{iv{########6:6:9#Piy#54#46=47#zmxwz|41lwk




                                                                                      ts.
                                                                                   igh
          FindingÿDataÿHiddenÿwithÿCamouflage




                                                                               ll r
          UsingÿLinuxÿUtilities




                                                                             fu
          Linuxÿprovidesÿaÿcommandÿcalledÿnqtmÿthatÿcanÿbeÿusedÿtoÿdetermineÿtheÿfileÿtype.ÿTheÿmanÿpage




                                                                        ins
          forÿthisÿcommandÿstatesÿthatÿitÿ"usesÿaÿcombinationÿofÿfileÿsystemÿtests,ÿmagicÿnumberÿtests,ÿand
          languageÿtests"ÿtoÿclassifyÿtheÿfile.ÿTheÿtestsÿareÿcarriedÿoutÿinÿthatÿorder,ÿwithÿtheÿcommand


                                                                    eta
          terminatingÿonÿtheÿfirstÿsuccessfulÿtest.ÿTheÿmagicÿnumberÿtestsÿrelyÿonÿparticularÿfileÿformats
          containingÿaÿconsistentÿbinaryÿidentifierÿatÿtheÿsameÿoffsetÿwithinÿtheÿfile.ÿTheÿoutputÿfromÿrunning
                                                                rr
          theÿnqtmÿcommandÿinÿmyÿdirectoryÿcontainingÿcamouflagedÿfilesÿis:
                                                             ho

          czww|C|wz|qtti#kiue&#nqtm#-
                                                          ut


          jwws1oqn=########JLI#quiom#li|i/#–mz{qwv#;:i/#973#x#7;3/
                                                      ,A



          kiugzmxwz|41lwk=#JLI#quiom#li|i/#–mz{qwv#;:i/#973#x#7;3/
          kiugzmxwz|51lwk=#MTHJ#quiom#li|i/#MILI#{|ivlizl#4135/#zm{wt}|qwv#+GTL,/#:5#x#:5
          kiugzmxwz|61lwk=#VLII#+tq||tm0mvlqiv,#li|i/#]D\H#i}lqw/#Pqkzw{wn|#TFP/#;#jq|/
                                                  03




          uwvw#44358#Kz
                                               20




          nwzm{|1rxo=######MTHJ#quiom#li|i/#MILI#{|ivlizl#4134/#zm{wt}|qwv#+GTL,/#:5#x#:5
          owvo1wi–=########VLII#+tq||tm0mvlqiv,#li|i/#]D\H#i}lqw/#Pqkzw{wn|#TFP/#;#jq|/
                                            te




          uwvw#44358#Kz
          zmxwz|41lwk=#####Pqkzw{wn|#Snnqkm#Gwk}umv|
                                         tu
                                     sti




          Theÿnqtmÿcommandÿhasÿidentifiedÿtheÿthreeÿcamouflagedÿfilesÿasÿcontainingÿimageÿor
          audioÿdataÿratherÿthanÿdocumentÿdata.ÿItÿshouldÿbeÿnoted,ÿhowever,ÿthatÿtheÿcommandÿis
                                   In




          notÿfoolproof.ÿForÿexample,ÿitÿisÿpossibleÿtoÿuseÿaÿhexÿeditorÿtoÿalterÿspecificÿbytesÿwithinÿa
                               NS




          file,ÿcausingÿtheÿnqtmÿcommandÿtoÿclassifyÿitÿincorrectly.ÿThisÿsomewhatÿadvanced
          techniqueÿisÿoutsideÿtheÿscopeÿofÿthisÿpaper.
                           SA
                         ©




          UsingÿTheÿSleuthÿKitÿ/ÿAutopsy
          TheÿSleuthÿKitÿincludesÿaÿtoolÿcalledÿ{wz|mzÿthatÿcanÿbeÿusedÿtoÿfindÿcamouflagedÿfiles.
          Althoughÿitÿcanÿbeÿrunÿfromÿtheÿcommandÿline,ÿitÿisÿeasierÿtoÿrunÿviaÿAutopsy.ÿTheÿbrief
          instructionsÿforÿaccomplishingÿthisÿare:
             1ÿ Createÿanÿimageÿofÿtheÿpartitionÿasÿsetÿoutÿinÿtheÿappendixÿ"CreatingÿaÿForensic
                Image".
             2ÿ RunÿAutopsyÿinÿaÿbrowserÿandÿcreateÿaÿcaseÿandÿaÿhostÿnameÿforÿinvestigationÿofÿthe
                imageÿ–ÿmyÿcaseÿisÿcalledÿ"sans"ÿandÿitsÿoriginatingÿhostÿisÿ"tortilla".ÿAÿsymbolicÿlink
                shouldÿbeÿcreatedÿinÿaÿsubdirectoryÿofÿtheÿAutopsyÿEvidenceÿLockerÿDirectoryÿtoÿlink
                toÿtheÿforensicÿimageÿ(aÿHTMLÿformÿisÿprovidedÿforÿthis).ÿInÿmyÿexampleÿitÿresultedÿin
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              Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 137 of 156                      7
                aÿlinkÿfromÿ/usr/local/forensics/sans/tortilla/images/dev_hda7.imgÿtoÿtheÿimage
                containedÿatÿ/usr/local/forensics/dev_hda7.img.
             3ÿ FromÿtheÿmainÿAutopsyÿmenu,ÿchooseÿ"FileÿType",ÿthenÿchooseÿtheÿlinkÿ"SortÿFilesÿby
               Key fingerprint = AF19 FA27 2F94 998D FDB5 DE3D F8B5 06E4 A169 4E46
                Type".ÿEnsureÿthatÿtheÿonlyÿcheckedÿboxÿisÿ"ExtensionÿandÿFileÿTypeÿValidation",
                thenÿchooseÿ"OK".ÿTheÿ{wz|mzÿcommandÿwillÿthenÿbeÿrun,ÿwithÿAutopsyÿproviding
                theÿfullÿpathÿtoÿanÿindex.htmlÿfileÿwhichÿwillÿhelpÿinÿanalysingÿtheÿresults.
             4ÿ Pasteÿtheÿindex.htmlÿfileÿintoÿanotherÿbrowserÿwindowÿandÿclickÿonÿtheÿlinkÿto
                "ExtensionÿMismatches".ÿMyÿbrowser'sÿoutputÿincludedÿtwoÿofÿtheÿthreeÿcamouflaged
                files:

          2uv|2nwzmv{qk{2pwum2{iv{2kiu2kiugzmxwz|41lwk




                                                                                    ts.
          ##JLI#quiom#li|i/#–mz{qwv#;:i/#973#x#7;3#+Hx|=#lwk,




                                                                                 igh
          ##Luiom=#2}{z2twkit2nwzmv{qk{22{iv{2|wz|qtti2quiom{2lm–gpli:1quo#Lvwlm=#65463

          2uv|2nwzmv{qk{2pwum2{iv{2kiu2kiugzmxwz|51lwk




                                                                             ll r
          ##MTHJ#quiom#li|i/#MILI#{|ivlizl#4135/#zm{wt}|qwv#+GTL,/#:5#x#:5#+Hx|=#lwk,
          ##Luiom=#2}{z2twkit2nwzmv{qk{22{iv{2|wz|qtti2quiom{2lm–gpli:1quo#Lvwlm=#65464




                                                                           fu
          Noteÿthatÿtheÿ{wz|mzÿtoolÿhasÿnotÿreportedÿcam_report3.docÿasÿhavingÿanÿextension




                                                                      ins
          mismatch,ÿdespiteÿtheÿfactÿthatÿitÿisÿreallyÿanÿaudioÿfileÿwithÿaÿ.wavÿextension.ÿThisÿisÿjustÿa


                                                                  eta
          configurationÿissue.ÿByÿdefaultÿtheÿ{wz|mzÿtoolÿwhenÿrunÿunderÿLinuxÿusesÿthe
          configurationÿfilesÿofÿdefault.sortÿandÿlinux.sort,ÿneitherÿofÿwhichÿlistsÿtheÿ.wavÿextensionÿas
                                                              rr
          aÿknownÿcategory.ÿAfterÿcopyingÿtheÿappropriateÿruleÿsetÿfromÿtheÿprovidedÿwindows.sort
          fileÿtoÿlinux.sort,ÿtheÿoutputÿofÿ{wz|mzÿwasÿableÿtoÿidentifyÿallÿofÿtheÿcamouflagedÿfiles:
                                                           ho
                                                        ut


          2uv|2nwzmv{qk{2pwum2{iv{2kiu2kiugzmxwz|41lwk
                                                    ,A



          ##JLI#quiom#li|i/#–mz{qwv#;:i/#973#x#7;3#+Hx|=#lwk,
          ##Luiom=#2}{z2twkit2nwzmv{qk{22{iv{2|wz|qtti2quiom{2lm–gpli:1quo#Lvwlm=#65463
                                                03




          2uv|2nwzmv{qk{2pwum2{iv{2kiu2kiugzmxwz|61lwk
                                             20




          ##VLII#+tq||tm0mvlqiv,#li|i/#]D\H#i}lqw/#Pqkzw{wn|#TFP/#;#jq|/#uwvw#44358#Kz
          +Hx|=#lwk,
                                          te




          ##Luiom=#2}{z2twkit2nwzmv{qk{22{iv{2|wz|qtti2quiom{2lm–gpli:1quo#Lvwlm=#65465
                                        tu




          2uv|2nwzmv{qk{2pwum2{iv{2kiu2kiugzmxwz|51lwk
                                    sti




          ##MTHJ#quiom#li|i/#MILI#{|ivlizl#4135/#zm{wt}|qwv#+GTL,/#:5#x#:5#+Hx|=#lwk,
          ##Luiom=#2}{z2twkit2nwzmv{qk{22{iv{2|wz|qtti2quiom{2lm–gpli:1quo#Lvwlm=#65464
                                  In
                              NS




          Theÿ{wz|mzÿtoolÿcouldÿalsoÿhaveÿbeenÿrunÿfromÿtheÿcommandÿline.ÿTheÿuivÿpageÿfor
          {wz|mzÿexplainsÿtheÿvariousÿargumentsÿrequiredÿtoÿrunÿit.ÿOfÿparticularÿnote,ÿhowever,ÿis
                          SA




          theÿoptionalÿ"-e"ÿargument,ÿwhichÿrestrictsÿtheÿchecksÿtoÿextensionÿmismatchesÿonly.ÿI
          identifiedÿmyÿcamouflagedÿfilesÿwithÿtheÿfollowingÿcommand:
                         ©




          czww|C|wz|qtti#{tm}|psq|e&#12jqv2{wz|mz#0p#0u#*2uv|2nwzmv{qk{2pwum2*#0l##d
          *2}{z2twkit2nwzmv{qk{2{iv{2|wz|qtti2w}|x}|2{wz|mz0lm–gpli:1quo2*#0n##d
          tqv}x0mx|5#0m#*2}{z2twkit2nwzmv{qk{2{iv{2|wz|qtti2quiom{2lm–gpli:1quo*



          DeletingÿFiles
          Ofÿcourseÿoneÿofÿtheÿmostÿbasicÿmethodsÿofÿhidingÿdataÿisÿsimplyÿtoÿdeleteÿtheÿfile
          containingÿtheÿdata.ÿInÿtheÿext2ÿfileÿsystemÿtheÿdataÿconcernedÿdoesÿnotÿimmediately
          disappearÿfromÿtheÿhardÿdisk.ÿInstead,ÿtheÿfileÿsystemÿmerelyÿmarksÿtheÿrelevantÿareaÿon
          theÿhardÿdiskÿasÿbeingÿavailableÿforÿuse.ÿDependingÿonÿseveralÿfactorsÿsuchÿasÿtheÿamount
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              Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 138 of 156                        8
          ofÿfreeÿspaceÿonÿtheÿdiskÿandÿtheÿlevelÿofÿdiskÿactivity,ÿitÿmayÿtakeÿaÿsignificantÿamountÿof
          timeÿbeforeÿthatÿpartÿofÿtheÿdiskÿisÿreclaimedÿbyÿanotherÿfile,ÿthusÿdestroyingÿtheÿoriginal
          data.ÿTakingÿtheseÿfactorsÿintoÿaccount,ÿthereÿexistsÿtheÿpossibilityÿofÿrecoveringÿthe
                Key fingerprint = AF19 FA27 2F94 998D FDB5 DE3D F8B5 06E4 A169 4E46
          contentsÿofÿaÿdeletedÿfileÿandÿthereforeÿfindingÿtheÿhiddenÿdata.ÿNoteÿthatÿfileÿdeletionÿis
          handledÿdifferentlyÿunderÿtheÿnewerÿext3ÿfileÿsystem;ÿtheÿblockÿpointersÿinÿtheÿfile'sÿinode
          areÿcleared,ÿmakingÿrecoveryÿsignificantlyÿmoreÿdifficultÿ("Linuxÿext3ÿFAQ").ÿTheÿrecovery
          techniquesÿoutlinedÿbelowÿareÿspecificallyÿforÿtheÿext2ÿfileÿsystem.



          HidingÿDataÿbyÿDeletingÿFiles
          Peopleÿwishingÿtoÿtemporarilyÿhideÿlargeÿamountsÿofÿdataÿonÿaÿsystemÿwouldÿrarelyÿchoose




                                                                                     ts.
          theÿmethodÿofÿfileÿdeletionÿdueÿtoÿtheÿpotentialÿdifficultiesÿinÿrecoveringÿallÿofÿtheÿdataÿintact.




                                                                                  igh
          However,ÿitÿisÿaÿmethodÿoftenÿusedÿbyÿpeopleÿwhoÿwishÿtoÿpermanentlyÿhideÿdata.
          OftentimesÿusersÿofÿUNIX-likeÿsystemsÿinÿtheÿworkplaceÿareÿtoldÿbyÿComputerÿSupport




                                                                              ll r
          staffÿthatÿfilesÿerroneouslyÿdeletedÿcannotÿbeÿrecovered;ÿtheyÿcanÿonlyÿbeÿretrievedÿfrom
          backups.ÿTheseÿusersÿmayÿthereforeÿformÿtheÿimpressionÿthatÿonÿLinuxÿandÿUNIXÿsystems




                                                                            fu
          whereÿbackupsÿareÿnotÿroutinelyÿperformedÿ(suchÿasÿsystemsÿatÿhome),ÿtheyÿcan




                                                                       ins
          permanentlyÿremoveÿinformationÿfromÿtheirÿhardÿdiskÿbyÿsimpleÿfileÿdeletion.ÿTheÿfactÿisÿthat
          computerÿdataÿareÿsurprisinglyÿresilient,ÿandÿthereÿisÿaÿgoodÿchanceÿthatÿatÿleastÿsomeÿof


                                                                   eta
          theÿdeletedÿdataÿcanÿbeÿrecoveredÿ(Crane).
                                                               rr
          ToÿdemonstrateÿhidingÿandÿfindingÿdataÿbyÿfileÿdeletionÿIÿcreatedÿaÿdirectoryÿcalled
          /home/sans/del.ÿInÿthisÿdirectoryÿIÿplacedÿtwoÿfiles,ÿoneÿofÿ1250ÿbytesÿandÿoneÿofÿ20000
                                                            ho

          bytes.ÿTheÿfilesÿwereÿgivenÿnamesÿtoÿindicateÿhowÿmanyÿblocksÿ(ofÿ1024ÿbytes)ÿthey
                                                         ut


          shouldÿtakeÿupÿonÿtheÿdisk:
                                                     ,A



          c{iv{C|wz|qtti#lmte'#t{#0t#|wwgjtwks{1|x|
          0zw0z00z00####4#{iv{#####{iv{#########4583#Piy#54#49=58#|wwgjtwks{1|x|
                                                 03




          c{iv{C|wz|qtti#lmte'#t{#0t#|wmv|ygjtwks{1|x|
                                              20




          0zw0z00z00####4#{iv{#####{iv{########53333#Piy#54#49=58#|wmv|ygjtwks{1|x|
                                           te




          Asÿtheÿideaÿwasÿtoÿdeleteÿtheseÿfilesÿandÿthenÿattemptÿtoÿrecoverÿthem,ÿIÿranÿtheÿul8{}u
                                        tu




          toolÿonÿtheÿfilesÿtoÿgenerateÿaÿ128-bitÿmessageÿdigestÿforÿlaterÿcomparison.ÿIÿthenÿdeleted
                                     sti




          theÿfilesÿwithÿtheÿzuÿcommand:
                                   In




          c{iv{C|wz|qtti#lmte'#ul8{}u#|wwgjtwks{1|x|
                              NS




          m36mjm4:k<48mll4mm:jjkli3<j5jimj##|wwgjtwks{1|x|

          c{iv{C|wz|qtti#lmte'#ul8{}u#|wmv|ygjtwks{1|x|
                          SA




          9<738mnl3;n53k::j9;75k3kj9<<<m;n##|wmv|ygjtwks{1|x|
                         ©




          c{iv{C|wz|qtti#lmte'#zu#|wwgjtwks{1|x|
          c{iv{C|wz|qtti#lmte'#zu#|wmv|ygjtwks{1|x|




          FindingÿDataÿinÿDeletedÿFiles

          UsingÿLinuxÿUtilities
          TheÿRedÿHatÿLinuxÿdistributionÿincludesÿaÿfileÿsystemÿdebuggingÿtoolÿforÿtheÿext2ÿfile
          systemÿcalledÿlmj}on{ÿthatÿcanÿbeÿusedÿtoÿrecoverÿdeletedÿfilesÿconsistingÿofÿtwelveÿor
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              Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 139 of 156                       9
          fewerÿdiskÿblocks.ÿIÿdecidedÿtoÿuseÿthisÿtoolÿtoÿseeÿifÿIÿcouldÿrecoverÿtheÿdeletedÿfileÿnamed
          two_blocks.txt.ÿFirstlyÿIÿunmountedÿtheÿ/dev/hda7ÿpartitionÿ(/home)ÿandÿcreatedÿaÿforensic
          imageÿtoÿworkÿwith,ÿasÿoutlinedÿinÿtheÿappendixÿ"CreatingÿaÿForensicÿImage".ÿAlthoughÿthe
               Key fingerprint = AF19 FA27 2F94 998D FDB5 DE3D F8B5 06E4 A169 4E46
          lmj}on{ÿtoolÿdoesÿnotÿnecessarilyÿrequireÿanÿimageÿ(itÿcanÿworkÿonÿtheÿpartitionÿwhilstÿit
          remainsÿmounted),ÿcreatingÿanÿimageÿasÿsoonÿasÿpossibleÿafterÿdeletingÿaÿfileÿwillÿincrease
          theÿchancesÿofÿbeingÿableÿtoÿrecoverÿtheÿfileÿintact.ÿUponÿrunningÿlmj}on{,ÿIÿrequestedÿto
          seeÿaÿlistÿofÿtheÿdeletedÿinodesÿbyÿenteringÿt{lmtÿatÿtheÿprompt:

          czww|C|wz|qtti#zww|e&#lmj}on{#2}{z2twkit2nwzmv{qk{2lm–gpli:1quo
          lmj}on{#415:#+;0Piz05335,
          lmj}on{=##t{lmt
          #Lvwlm##Swvmz##Pwlm####Wqzm####Etwks{###Yqum#lmtm|ml




                                                                                    ts.
          #69483####853#433977###4583####52###5#]ml#Piy#54#4:=33=46#5336
          #6947<####853#433977##53333###542##54#]ml#Piy#54#4:=33=4:#5336




                                                                                 igh
          #69479####853#433977###:833####;2###;#]ml#Piy#54#4;=8:=64#5336
          #6947:####853#433977###6:83####72###7#]ml#Piy#54#4;=8:=6:#5336




                                                                             ll r
          #6947;####853#433977##43333###432##43#]ml#Piy#54#4;=8:=6<#5336
          #493:7####853#433933####<8<####42###4#]ml#Piy#54#4<=44=86#5336




                                                                           fu
          #6;489####853#433933##455;;###452##45#]ml#Piy#54#4<=44=86#5336
          #6;488####853#433997####446####42###4#]ml#Piy#54#4<=58=74#5336




                                                                      ins
          #493:8####853#433933#####86####42###4#]ml#Piy#54#4<=5;=4:#5336
          <#lmtm|ml#qvwlm{#nw}vl1



                                                                  eta
          FortunatelyÿIÿknewÿfromÿtheÿfileÿsizesÿthatÿtheÿfirstÿinodeÿlistedÿ(36150)ÿreferredÿtoÿtheÿfile
                                                              rr
          two_blocks.txtÿthatÿIÿdeletedÿearlier.ÿIÿthenÿranÿtheÿ{|i|ÿcommandÿtoÿdisplayÿtheÿcontents
          ofÿthisÿinode:
                                                           ho
                                                        ut


          lmj}on{=##{|i|#?69483A
                                                    ,A



          Lvwlm=#69483###Yyxm=#zmo}tiz####Pwlm=##3977###Itio{=#3x3###Jmvmzi|qwv=#587776
          [{mz=###853###Jzw}x=###853###Wqzm=#4583
          Iqtm#DFO=#3####Gqzmk|wzy#DFO=#3
                                                03




          Oqvs{=#3###Etwkskw}v|=#7
                                             20




          Izioumv|=##Dllzm{{=#3####R}ujmz=#3####Wqzm=#3
          k|qum=#3x6mkk6l6l#00#]ml#Piy#54#4:=33=46#5336
                                          te




          i|qum=#3x6mkk6i5l#00#]ml#Piy#54#49=7:=3<#5336
          u|qum=#3x6mkk685k#00#]ml#Piy#54#49=58=7;#5336
                                       tu




          l|qum=#3x6mkk6l6l#00#]ml#Piy#54#4:=33=46#5336
                                    sti




          EOSFNW=
          +304,=47::78047::79
                                  In




          YSYDO=#5
                              NS




          Iÿthenÿranÿtheÿl}uxÿcommandÿwithinÿlmj}on{ÿtoÿdumpÿtheÿcontentsÿofÿtheÿinodeÿtoÿaÿfile
          inÿmyÿ/tmpÿdirectory.ÿThisÿfileÿshouldÿbeÿidenticalÿtoÿtheÿdeletedÿfileÿtwo_blocks.txt.ÿIÿthen
                          SA




          exitedÿfromÿlmj}on{ÿandÿconfirmedÿtheÿsuccessfulÿfileÿrecoveryÿwithÿtheÿul8{}u
          command:
                         ©




          lmj}on{=##l}ux#?69483A#2|ux2|wwgjtwks{1zmk
          lmj}on{=##y}q|

          czww|C|wz|qtti#zww|e&#t{#0t#2|ux2|wwgjtwks{1zmk
          0zw0z00z00####4#zww|#####zww|#########4583#Piy#55#44=75#2|ux2|wwgjtwks{1zmk

          czww|C|wz|qtti#zww|e&#ul8{}u#2|ux2|wwgjtwks{1zmk
          m36mjm4:k<48mll4mm:jjkli3<j5jimj##2|ux2|wwgjtwks{1zmk


          UsingÿTheÿSleuthÿKitÿ/ÿAutopsy
          Asÿtheÿlmj}on{ÿtoolÿisÿinappropriateÿtoÿrecoverÿfilesÿofÿmoreÿthanÿtwelveÿblocksÿinÿsize,ÿI
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            Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 140 of 156 10
        usedÿAutopsyÿtoÿattemptÿtoÿrecoverÿtheÿdeletedÿfileÿtwenty_blocks.txt.ÿTheÿbriefÿinstructions
        forÿaccomplishingÿthisÿare:
           1ÿ Createÿanÿimageÿofÿtheÿpartitionÿasÿsetÿoutÿinÿtheÿappendixÿ"CreatingÿaÿForensic
             Key fingerprint = AF19 FA27 2F94 998D FDB5 DE3D F8B5 06E4 A169 4E46
              Image".
           2ÿ Assumingÿthatÿaÿcaseÿandÿaÿhostÿnameÿhaveÿalreadyÿbeenÿsetÿupÿduringÿtheÿearlier
              sectionÿonÿcamouflagedÿfiles,ÿchooseÿ"FileÿAnalysis"ÿfromÿtheÿmainÿmenuÿandÿclickÿon
              theÿ"AllÿDeletedÿFiles"ÿbuttonÿtoÿshowÿaÿlistingÿofÿdeletedÿfilesÿwithÿdetailsÿsuchÿasÿfile
              type,ÿfileÿname,ÿMACÿtimesÿ(modification,ÿaccessÿandÿinodeÿchangeÿtimes),ÿfileÿsize,
              andÿinodeÿnumber.ÿTheÿinodeÿnumberÿ(appearingÿunderÿtheÿcolumnÿ"Meta")ÿforÿthe
              fileÿtwenty_blocks.txtÿisÿ36149.
           3ÿ Chooseÿ"MetaÿData"ÿfromÿtheÿAutopsyÿmainÿmenuÿandÿenterÿinÿtheÿinodeÿnumber




                                                                              ts.
              obtainedÿfromÿtheÿpreviousÿstep.ÿTheÿoutputÿisÿinterestingÿbecauseÿitÿshowsÿthatÿthe




                                                                           igh
              fileÿactuallyÿtakesÿupÿ21ÿblocksÿonÿtheÿdisk,ÿoneÿofÿthemÿbeingÿanÿindirectÿblock.ÿInÿthe
              ext2ÿfileÿsystem,ÿtheÿinodeÿrequiresÿtheÿuseÿofÿindirectÿblocksÿtoÿstoreÿtheÿblock




                                                                       ll r
              numbersÿofÿallÿbutÿtheÿfirstÿtwelveÿblocksÿofÿaÿfileÿ(Crane).ÿInÿmyÿexampleÿtheÿblock
              numberedÿ147736ÿcontainsÿnoÿdataÿforÿtheÿfile,ÿbutÿinsteadÿcontainsÿtheÿblock




                                                                     fu
              numbersÿforÿtheÿfinalÿeightÿdataÿblocksÿofÿtheÿfileÿ(147737ÿ-ÿ147744):




                                                                 ins
        Twqv|ml#|w#jy#nqtm=


                                                             eta
        qvwlm#vw|#k}zzmv|ty#}{ml
        Iqtm#Yyxm=                                        rr
        DWFLL#F#xzwoziu#|mx|
        PG8=
                                                       ho

        9<738mnl3;n53k::j9;75k3kj9<<<m;n
        Gm|iqt{=
                                                    ut


        qvwlm=#6947<
                                                 ,A



        Rw|#Dttwki|ml
        Jzw}x=#4;
                                              03




        }ql#2#oql=#853#2#853
        uwlm=#0zw0z00z00
                                           20




        {qzm=#53333
        v}u#wn#tqvs{=#3
                                        te




        Lvwlm#Yqum{=
                                      tu




        Dkkm{{ml=#Yp}#Piy#55#35=7:=4:#5336
                                  sti




        Iqtm#Pwlqnqml=#Yp}#Piy#55#35=58=7;#5336
        Lvwlm#Pwlqnqml=#Yp}#Piy#55#36=33=4:#5336
                                In




        Gmtm|ml=#Yp}#Piy#55#36=33=4:#5336
                            NS




        Gqzmk|#Etwks{=
        47::57#47::58#47::59#47::5:#47::5;#47::5<#47::63#47::64
                        SA




        47::65#47::66#47::67#47::68#47::6:#47::6;#47::6<#47::73
        47::74#47::75#47::76#47::77
                     ©




        Lvlqzmk|#Etwks{=
        47::69

           4ÿ Inÿorderÿtoÿrecoverÿtheÿcontentsÿofÿinodeÿ36149,ÿIÿthenÿclickedÿonÿtheÿ"Export
              Contents"ÿbuttonÿandÿsavedÿtheÿfileÿtoÿ/tmp/twenty_blocks.rec.ÿFinallyÿIÿconfirmedÿthat
              theÿrecoveredÿfileÿwasÿidenticalÿtoÿtheÿoriginalÿbyÿrunningÿtheÿmd5sumÿcommandÿand
              comparingÿitÿtoÿtheÿmessageÿdigestÿobtainedÿearlier:

        czww|C|wz|qtti#zww|e&#t{#0t#2|ux2|wmv|ygjtwks{1zmk
        0zw0000000####4#zww|#####zww|########53333#Piy#55#46=8:#2|ux2|wmv|ygjtwks{1zmk

         czww|C|wz|qtti#zww|e&#ul8{}u#2|ux2|wmv|ygjtwks{1zmk
         9<738mnl3;n53k::j9;75k3kj9<<<m;n##2|ux2|wmv|ygjtwks{1zmk
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            Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 141 of 156 11

        AlthoughÿIÿwasÿsuccessfulÿinÿrecoveringÿbothÿofÿtheÿdeletedÿfiles,ÿthisÿisÿinÿnoÿway
        guaranteedÿbyÿtheÿext2ÿfileÿsystem.ÿSomeÿofÿtheÿfactorsÿthatÿlowerÿtheÿchancesÿofÿfile
        recoveryÿareÿlargeÿfileÿsizes,ÿhighÿlevelsÿofÿdiskÿfragmentationÿandÿhighÿuseÿofÿtheÿsystem
             Key fingerprint = AF19 FA27 2F94 998D FDB5 DE3D F8B5 06E4 A169 4E46
        byÿmultipleÿusersÿ(Crane).



        UnlinkingÿOpenÿFiles
        Thisÿisÿaÿstrategyÿoftenÿusedÿbyÿsniffingÿprogramsÿtoÿlogÿinformationÿsuchÿasÿpasswordsÿto
        aÿfileÿwhilstÿminimisingÿtheÿchancesÿofÿthatÿfileÿbeingÿdiscoveredÿbyÿaÿsystemÿadministrator.
        Itÿinvolvesÿaÿprocessÿfirstÿopeningÿaÿfileÿforÿloggingÿpurposes,ÿthenÿcallingÿtheÿ}vtqvs




                                                                                  ts.
        functionÿonÿthisÿfile,ÿandÿthenÿwritingÿinformationÿtoÿtheÿfile.ÿTheÿext2ÿfileÿsystemÿ(alongÿwith




                                                                               igh
        allÿmajorÿUNIX-likeÿfileÿsystems)ÿwillÿkeepÿaÿlockÿonÿtheÿresourcesÿusedÿbyÿtheÿfile
        descriptorÿuntilÿeitherÿtheÿprocessÿexitsÿorÿtheÿfileÿdescriptorÿisÿclosedÿ(Greenÿp.37).ÿThis




                                                                           ll r
        meansÿthatÿalthoughÿtheÿfileÿnameÿwillÿnotÿappearÿonÿanyÿlistingsÿdoneÿonÿtheÿsystem,ÿits
        dataÿisÿprotectedÿfromÿbeingÿoverwritten.ÿTheÿpersonÿrunningÿtheÿprocessÿcanÿtherefore




                                                                         fu
        returnÿatÿaÿlaterÿtimeÿtoÿcollectÿtheÿloggedÿinformation,ÿcontentÿthatÿtheirÿeffortsÿhave




                                                                    ins
        causedÿminimalÿchangesÿtoÿtheÿfileÿsystem.



                                                                eta
                                                            rr
        HidingÿDataÿviaÿUnlinkingÿanÿOpenÿFile
                                                         ho

        Iÿcreatedÿaÿdirectoryÿofÿ/home/sans/unlinkÿwithÿwhichÿtoÿexperimentÿwithÿthisÿmethod.ÿIn
                                                      ut


        thisÿdirectoryÿIÿplacedÿaÿsmallÿtextÿfileÿthatÿsimulatesÿtheÿuserÿandÿpasswordÿinformation
        thatÿmayÿbeÿcollectedÿbyÿaÿsniffingÿprogram:
                                                  ,A




        c{iv{C|wz|qtti#}vtqvse'#ki|#r}vs41|x|
                                              03




        }{mz=#|qu#######xi{{wl=#|qu456
        }{mz=#liwv######xi{{wl=#liwv456
                                           20




        }{mz=#li–ql#####xi{{wl=#li–ql456
        }{mz=#oizm|p####xi{{wl=#oizm|p456
                                        te
                                      tu




        IÿalsoÿplacedÿintoÿthisÿdirectoryÿaÿsmallÿCÿprogramÿthatÿdemonstratesÿtheÿunlinkingÿofÿan
        openÿfile.ÿThisÿprogramÿwasÿcopiedÿfromÿBachÿ(p.137)ÿwithÿonlyÿoneÿalterationÿofÿnote
                                   sti




        (mentionedÿwithinÿtheÿsourceÿcode):
                                 In
                            NS




           c{iv{C|wz|qtti#}vtqvse'#ki|#|m{|lmt1k
           &qvkt}lm#?{y{2|yxm{1pA
           &qvkt}lm#?{y{2{|i|1pA
                        SA




           &qvkt}lm#?nkv|t1pA
                     ©




           uiqv+qv|#izok/#kpiz#--izo–,
           {
           ##qv|#nl>
           ##kpiz#j}nnmzc4357e>
           ##{|z}k|#{|i|#{|i|j}n>

           ##qn#+izok#$@#5,#{
           ####2-#Wwzzy/#L#vmml#i#nqtmvium#|w#lmtm|m#-2
           ####xzqv|n+%Hzzwz=#Rw#nqtmvium#xzw–qlml1dv%,>
           ####mxq|+,>
           ##}

           ##nl#@#wxmv+izo–c4e/#SgVGSROa,>

             ##qn#+nl#@@#04,#{
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                 Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 142 of 156 12
             ####2-#Fiv*|#wxmv#nqtm#-2
             ####xzqv|n+%Hzzwz=#Fivvw|#wxmv#nqtm#({dv%/#izo–c4e,>
             ####mxq|+,>
             ##}
                 Key fingerprint = AF19 FA27 2F94 998D FDB5 DE3D F8B5 06E4 A169 4E46
             ##qn#+}vtqvs+izo–c4e,#@@#04,#{
             ####2-#Fiv*|#}vtqvs#|pm#nqtm#-2
             ####xzqv|n+%Hzzwz=#Fivvw|#}vtqvs#nqtm#({dv%/#izo–c4e,>
             ####mxq|+,>
             ##}
             ##mt{m#{
             ####xzqv|n+%Iqtm#pi{#jmmv#}vtqvsml1dv%,>
             ##}




                                                                                   ts.
             ##2-#Fpmks#|pm#nqtm#jy#q|{#vium#-2
             ##qn#+{|i|+izo–c4e/#){|i|j}n,#@@#04,#{




                                                                                igh
             ####xzqv|n+%{|i|#({#niqt{#i{#q|#{pw}tl1dv%/#izo–c4e,>
             ##}




                                                                            ll r
             ##mt{m#{
             ####xzqv|n+%{|i|#({#{}kkmmlml$dv%/#izo–c4e,>
             ##}




                                                                          fu
             ##2-#Fpmks#|pm#nqtm#jy#q|{#nqtm#lm{kzqx|wz#-2




                                                                     ins
             ##qn#+n{|i|+nl/#){|i|j}n,#@@#04,#{
             ####xzqv|n+%n{|i|#({#niqt{$dv%/#izo–c4e,>


                                                                 eta
             ##}
             ##mt{m#{                                        rr
             ####xzqv|n+%n{|i|#({#{}kkmml{#i{#q|#{pw}tl1dv%/#izo–c4e,>
             ##}
                                                          ho

             ##2-#Dllml#jy#J#Vwjmz|{wv#nwz#lmuw#x}zxw{m{1#-2
                                                       ut


             ##xzqv|n+%Ti}{m#nwz#633#{mkwvl{/#|pmv#w}|x}|#nqtm111dvdv%,>
                                                   ,A



             ##{tmmx+633,>
                                               03




             ##2-#Vmil#wxmv#j}|#lmtm|ml#nqtm#-2
             ##wpqtm#+zmil+nl/#j}nnmz/#{qzmwn+j}nnmz,,#A#3,#{
                                             20




             ####xzqv|n+%(4357{%/#j}nnmz,>
             ##}
                                          te
                                       tu




             }
                                    sti




          Althoughÿthisÿprogramÿdoesÿnotÿwriteÿdataÿtoÿaÿfileÿinÿtheÿmannerÿexplainedÿearlier,ÿitÿis
                                  In




          sufficientÿtoÿdemonstrateÿtheÿconceptÿofÿunlinkingÿanÿopenÿfile.ÿTheÿprogramÿexpectsÿthe
          fileÿnameÿofÿanÿexistingÿfileÿtoÿbeÿprovidedÿasÿitsÿonlyÿargument.ÿTheÿfileÿisÿopenedÿwithÿthe
                              NS




          codeÿ"fdÿ=ÿopen(argv[1],ÿO_RDONLY)",ÿandÿisÿlaterÿunlinkedÿwithÿtheÿcodeÿ"unlink(argv[1]".
          Iÿaddedÿaÿcoupleÿofÿlinesÿofÿcodeÿtoÿtheÿoriginalÿprogramÿsoÿthatÿitÿpausesÿforÿaÿfewÿminutes
                          SA




          duringÿexecution.ÿThisÿprovidesÿmeÿwithÿsomeÿtimeÿtoÿtryÿandÿdetectÿtheÿprocessÿ(beforeÿit
          completes)ÿusingÿoperatingÿsystemÿtools.ÿIÿcompiledÿtheÿprogramÿwithÿtheÿfollowing
                         ©




          command:

          c{iv{C|wz|qtti#}vtqvse'#okk#0w#|m{|lmt#|m{|lmt1k

          Aÿfileÿlistingÿofÿtheÿdirectoryÿafterÿcompilationÿshowsÿtheÿsourceÿandÿexecutableÿfilesÿforÿthe
          program,ÿalongÿwithÿtheÿtestÿfile:

          c{iv{C|wz|qtti#}vtqvse'#t{#0t
          |w|it#4:
          0zw0zw0z00####4#{iv{#####{iv{##########446#Piy#54#4<=34#r}vs41|x|
          0zwxzwxz0x####4#{iv{#####{iv{########45;;3#Piy#54#4<=36#|m{|lmt
          0zw0z00z00####4#{iv{#####{iv{#########4583#Piy#54#4;=8<#|m{|lmt1k

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              Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 143 of 156 13
          Iÿranÿtheÿprogramÿwithÿtheÿcommandÿthatÿfollows,ÿandÿquicklyÿmovedÿonÿtoÿtheÿnextÿsection
          toÿtryÿandÿdetectÿtheÿfileÿthatÿhadÿbeenÿunlinked:

              Key fingerprint = AF19 FA27 2F94 998D FDB5 DE3D F8B5 06E4 A169 4E46
          c{iv{C|wz|qtti#}vtqvse'#12|m{|lmt#r}vs41|x|
          Iqtm#pi{#jmmv#}vtqvsml1
          {|i|#r}vs41|x|#niqt{#i{#q|#{pw}tl1
          n{|i|#r}vs41|x|#{}kkmml{#i{#q|#{pw}tl1
          Ti}{m#nwz#633#{mkwvl{/#|pmv#w}|x}|#nqtm111




          ###############################}{mz=#|qu########xi{{wl=#|qu456




                                                                                   ts.
          }{mz=#liwv######xi{{wl=#liwv456
          }{mz=#li–ql#####xi{{wl=#li–ql456




                                                                                igh
          }{mz=#oizm|p####xi{{wl=#oizm|p456




                                                                            ll r
          FindingÿDataÿHiddenÿviaÿUnlinkingÿanÿOpenÿFile




                                                                          fu
                                                                     ins
          UsingÿTheÿSleuthÿKitÿ/ÿAutopsy
          Iÿperformedÿthisÿsearchÿduringÿtheÿfiveÿminutesÿthatÿtheÿ|m{|lmtÿprogramÿwasÿpaused.


                                                                 eta
          Theÿobjectÿofÿtheÿsearchÿwasÿtheÿcontentsÿofÿtheÿfileÿjunk1.txt.ÿThisÿfileÿnoÿlongerÿappeared
          onÿtheÿdirectoryÿlisting,ÿasÿitÿhadÿbeenÿunlinkedÿearlyÿonÿinÿtheÿprogram:
                                                             rr
                                                          ho

          czww|C|wz|qtti#{tm}|psq|e&#kl#2}{z2twkit2{mk}zq|y2{tm}|psq|
                                                       ut


          czww|C|wz|qtti#{tm}|psq|e&#t{#0t#2pwum2{iv{2}vtqvs2
                                                   ,A



          |w|it#49
          0zwxzwxz0x####4#{iv{#####{iv{########45;;3#Piy#54#4<=36#|m{|lmt
                                               03




          0zw0z00z00####4#{iv{#####{iv{#########4583#Piy#54#4;=8<#|m{|lmt1k
                                            20




          IÿusedÿtheÿSleuthÿKit'sÿqt{ÿtoolÿtoÿassistÿmeÿinÿtheÿsearchÿforÿtheÿhiddenÿdata.ÿTheÿqt{ÿtool
          byÿdefaultÿlistsÿtheÿinodesÿofÿremovedÿfiles,ÿandÿbyÿusingÿtheÿ"-o"ÿoptionÿtheÿoutputÿis
                                         te




          limitedÿtoÿtheÿfilesÿthatÿareÿstillÿopenÿorÿexecuting.ÿIÿenteredÿtheÿfollowingÿcommandÿto
                                       tu




          searchÿonÿtheÿ/dev/hda7ÿpartitionÿ(/home),ÿspecifyingÿlinux-ext2ÿasÿtheÿrelevantÿfileÿsystem:
                                   sti
                                 In




          czww|C|wz|qtti#{tm}|psq|e&#12jqv2qt{#0wn#tqv}x0mx|5#2lm–2pli:
          kti{{|pw{||lm–qkm|{|iz|g|qum
                             NS




          qt{||wz|qtti|2lm–2pli:|43868;3;:4
          {|gqvw|{|gittwk|{|g}ql|{|goql|{|gu|qum|{|gi|qum|{|gk|qum|{|gl|qum|{|guwlm|{|gvtq
                         SA




          vs|{|g{qzm|{|gjtwks3|{|gjtwks4
          4|i|3|3|4389<;<644|4389<;<644|4389<;<644|3|3|3|3|3|3
          6|i|3|3|3|3|3|3|3|3|3|3|3
                         ©




          7|i|3|3|3|3|3|3|3|3|3|3|3
          8|i|3|3|3|3|3|3|3|3|3|3|3
          9|i|3|3|3|3|3|3|3|3|3|3|3
          :|i|3|3|3|3|3|3|3|3|3|3|3
          ;|i|3|3|3|3|3|3|3|3|3|3|3
          <|i|3|3|3|3|3|3|3|3|3|3|3
          43|i|3|3|3|3|3|3|3|3|3|3|3
          6;488|i|853|853|43868:<:45|43868:<:57|43868;3;74|3|433997|3|446|488<55|3

          Theÿoutputÿfromÿqt{ÿisÿgivenÿinÿmanyÿcolumns,ÿtheÿmeaningÿofÿwhichÿisÿexplainedÿinÿthe
          uivÿpage.ÿOfÿmainÿinterestÿinÿtheÿsearchÿforÿdeletedÿfiles,ÿhowever,ÿareÿtheÿfirst,ÿthirdÿand
          fourthÿcolumns.ÿTheseÿshowÿtheÿfile'sÿinodeÿnumber,ÿuserÿIDÿandÿgroupÿIDÿrespectively.ÿAs
          forÿtheÿrowsÿofÿoutput,ÿonlyÿtheÿfinalÿrowÿrefersÿtoÿaÿnon-rootÿuser,ÿsoÿIÿignoredÿthe
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              Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 144 of 156 14
          remainder.ÿThereforeÿtheÿinodeÿnumberÿofÿ38155ÿshouldÿcontainÿtheÿdataÿforÿtheÿdeleted
          file.
          TheÿSleuthÿKit'sÿqki|ÿtoolÿisÿidealÿatÿthisÿmoment,ÿasÿitÿprovidesÿforÿcopyingÿfilesÿbyÿinode
               Key fingerprint = AF19 FA27 2F94 998D FDB5 DE3D F8B5 06E4 A169 4E46
          number.ÿIÿusedÿtheÿfollowingÿcommandÿtoÿcopyÿtheÿcontentsÿofÿinodeÿ38155ÿtoÿaÿfileÿinÿmy
          /tmpÿdirectory:

          czww|C|wz|qtti#{tm}|psq|e&#12jqv2qki|#0n#tqv}x0mx|5#2lm–2pli:#6;488#A
          2|ux2r}vs41zmk

          Asÿtheÿoutputÿfromÿtheÿtemporaryÿfileÿshows,ÿtheÿqt{ÿandÿqki|ÿtoolsÿhaveÿsuccessfully
          foundÿtheÿdataÿbeingÿhiddenÿviaÿtheÿmethodÿofÿunlinkingÿanÿopenÿfile:




                                                                                    ts.
          czww|C|wz|qtti#{tm}|psq|e&#ki|#2|ux2r}vs41zmk




                                                                                 igh
          }{mz=#|qu#######xi{{wl=#|qu456
          }{mz=#liwv######xi{{wl=#liwv456




                                                                             ll r
          }{mz=#li–ql#####xi{{wl=#li–ql456
          }{mz=#oizm|p####xi{{wl=#oizm|p456




                                                                           fu
                                                                      ins
          SlackÿSpace


                                                                  eta
          Inÿorderÿtoÿunderstandÿtheÿuseÿofÿslackÿspaceÿtoÿhideÿdata,ÿoneÿfirstÿhasÿtoÿunderstandÿa
          littleÿaboutÿhowÿcomputerÿhardÿdisksÿareÿdividedÿupÿandÿhowÿoperatingÿsystemsÿreadÿand
                                                              rr
          writeÿdataÿtoÿthem.ÿDuringÿaÿlow-levelÿformat,ÿhardÿdisksÿareÿdividedÿupÿintoÿtracksÿand
          sectorsÿsoÿthatÿoperatingÿsystemsÿcanÿlaterÿuseÿtheseÿdivisionsÿtoÿstoreÿandÿfindÿdata.
                                                           ho

          Tracksÿareÿconcentricÿcirclesÿonÿaÿdiskÿsurface,ÿwhilstÿsectorsÿareÿangularÿportionsÿofÿthe
                                                        ut


          disk,ÿlikeÿpiecesÿofÿaÿpie.ÿMostÿhardÿdisksÿuseÿaÿsectorÿsizeÿofÿ512ÿbytesÿ(Kuepper).ÿAfterÿa
                                                    ,A



          high-levelÿformatÿhasÿbeenÿperformed,ÿtheÿfilesystemÿwillÿperformÿreadÿandÿwrite
          operationsÿonÿtheÿdiskÿinÿgroupingsÿofÿsectorsÿcalledÿblocksÿ(orÿclustersÿforÿtheÿWindows
                                                 03




          operatingÿsystem).ÿOnÿtheÿext2ÿfileÿsystemÿaÿblockÿwillÿinvariablyÿbeÿaÿgroupingÿofÿeither
                                              20




          two,ÿfourÿorÿeightÿsectorsÿ-ÿinÿotherÿwordsÿ1024,ÿ2048ÿorÿ4096ÿbytesÿ(Chuvakin).ÿThe
          /dev/hda7ÿ(/home)ÿpartitionÿonÿmyÿdiskÿhasÿaÿblockÿsizeÿofÿ1024ÿbytes.ÿOfÿcourseÿfileÿsizes
                                           te




          areÿonlyÿdependentÿonÿtheÿamountÿofÿdataÿbeingÿstored,ÿandÿthereforeÿareÿrarelyÿexact
                                        tu




          multiplesÿofÿblockÿsizes.ÿHowever,ÿtheÿeffectiveÿspaceÿtakenÿupÿbyÿtheÿfileÿwhenÿwrittenÿto
          theÿhardÿdiskÿwillÿalwaysÿbeÿaÿmultipleÿofÿtheÿblockÿsize.ÿForÿexample,ÿaÿfileÿofÿonlyÿten
                                    sti




          bytesÿstoredÿonÿaÿLinuxÿpartitionÿthatÿusesÿ1024ÿbyteÿblocksÿwillÿstillÿtakeÿupÿ1024ÿbytesÿon
                                  In




          theÿhardÿdiskÿ(1014ÿbytesÿwillÿgoÿunused).ÿIfÿexactlyÿ1500ÿbytesÿofÿdataÿisÿlaterÿappended
          toÿthatÿfile,ÿgivingÿitÿaÿfileÿsizeÿofÿ1510ÿbytes,ÿitÿwillÿthenÿtakeÿupÿ2048ÿbytesÿ(ieÿtwoÿblocks)
                              NS




          onÿtheÿhardÿdisk.ÿTheÿareaÿonÿtheÿhardÿdiskÿbetweenÿtheÿend-of-fileÿindicatorÿandÿtheÿfinal
                          SA




          blockÿboundaryÿisÿreferredÿtoÿasÿtheÿslackÿspaceÿforÿtheÿfile.ÿAsÿtheÿslackÿspaceÿisÿnot
          addressableÿbyÿtheÿfileÿsystem,ÿitÿcanÿbeÿusedÿtoÿhideÿdata,ÿalthoughÿtheÿamountÿofÿhidden
          dataÿisÿlimitedÿtoÿtheÿfileÿsystem'sÿblockÿsize.
                         ©




          HidingÿDataÿinÿSlackÿSpace
          ThereÿisÿaÿtoolÿcalledÿjuixÿthatÿcanÿbeÿusedÿtoÿaccessÿfileÿslackÿspaceÿonÿLinuxÿsystems
          (superuserÿprivilegesÿareÿrequired).ÿItÿwasÿwrittenÿbyÿDanielÿRidgeÿforÿScyldÿComputing
          Corporation.ÿIÿdownloadedÿtheÿRPMÿfileÿbmap-1.0.20-1.i386.rpmÿfromÿtheÿfollowingÿsite:
             ftp://ftp.scyld.com/pub/forensic_computing/bmap/RPMS/i386/
          Beforeÿinstallingÿbmapÿyourself,ÿpleaseÿnoteÿthatÿitÿmayÿdamageÿyourÿhardÿdisk.ÿThe
          READMEÿfileÿstates:
             WARNING:ÿThisÿmayÿspankÿyourÿhardÿdrive
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              Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 145 of 156 15
          Iÿinstalledÿbmapÿwithÿtheÿfollowingÿcommand:
          czww|C|wz|qtti#2e&#zxu#0q–#juix0413153041q6;91zxu

                Key fingerprint = AF19 FA27 2F94 998D FDB5 DE3D F8B5 06E4 A169 4E46
          Iÿcreatedÿaÿdirectoryÿofÿ/home/sans/slackÿinÿwhichÿtoÿexperimentÿwithÿbmap.ÿIÿcreatedÿtwo
          textÿfilesÿforÿtheÿpurposeÿofÿusingÿthemÿtoÿhideÿdata.ÿTheÿexactÿsizesÿofÿtheÿfilesÿareÿshown
          byÿtheÿfollowingÿcommand:

          c{iv{C|wz|qtti#{tikse'#t{#0t#nqtmB1|x|
          0zw0z00z00####4#{iv{#####{iv{###########43#Piy#54#48=87#nqtm41|x|
          0zw0z00z00####4#{iv{#####{iv{#########4836#Piy#54#48=87#nqtm51|x|


          Asÿtheÿ/dev/hda7ÿ(/home)ÿpartitionÿonÿmyÿdiskÿhasÿaÿblockÿsizeÿofÿ1024ÿbytes,ÿthisÿisÿalso




                                                                                   ts.
          theÿmaximumÿsizeÿofÿfileÿslackÿspaceÿIÿcanÿuseÿtoÿhideÿdata.ÿForÿtheÿpurposesÿofÿthis




                                                                                igh
          demonstrationÿIÿusedÿfarÿlessÿthanÿthat.ÿTheÿfollowingÿcommandsÿshowÿhowÿIÿ(afterÿlogging
          inÿasÿtheÿsuperuser)ÿhidÿtheÿsameÿtextÿstring,ÿ“cybercriminal”,ÿinÿbothÿfilesÿusingÿjuixÿwith




                                                                            ll r
          theÿx}|{tiksÿoption:




                                                                          fu
          czww|C|wz|qtti#{tikse&#mkpw#%kyjmzkzquqvit%#|#juix#00x}|{tiks#nqtm41|x|




                                                                     ins
          {|}nnqvo#jtwks#46<855
          nqtm#{qzm#wi{=#43



                                                                 eta
          {tiks#{qzm=#4347
          jtwks#{qzm=#4357                                   rr
          czww|C|wz|qtti#{tikse&#mkpw#%kyjmzkzquqvit%#|#juix#00x}|{tiks#nqtm51|x|
                                                          ho
          {|}nnqvo#jtwks#46<857
          nqtm#{qzm#wi{=#4836
                                                       ut


          {tiks#{qzm=#878
          jtwks#{qzm=#4357
                                                   ,A




          Theÿfollowingÿcommandsÿdemonstrateÿthatÿtheÿdataÿhasÿbeenÿhiddenÿinÿtheÿfiles'ÿslack
                                               03




          space.ÿFirstly,ÿÿIÿuseÿjuixÿwithÿtheÿ{tiksÿoptionÿtoÿretrieveÿtheÿcontentsÿofÿslackÿspaceÿfor
                                            20




          theÿtwoÿfiles.ÿSecondly,ÿIÿshowÿthatÿneitherÿofÿtheÿfileÿsizesÿhasÿchanged;ÿLinuxÿisÿnot
          awareÿofÿtheÿhiddenÿdata.ÿThirdly,ÿIÿconfirmÿusingÿozmxÿandÿtheÿki|ÿcommandÿonÿthe
                                         te




          smallerÿfileÿthatÿtheÿhiddenÿdataÿisÿnotÿaccessibleÿviaÿnormalÿoperatingÿsystemÿutilities:
                                       tu
                                   sti




          czww|C|wz|qtti#{tikse&#juix#00{tiks#nqtm41|x|
                                 In




          om||qvo#nzwu#jtwks#46<855
          nqtm#{qzm#wi{=#43
                             NS




          {tiks#{qzm=#4347
          jtwks#{qzm=#4357
          kyjmzkzquqvit
                          SA




          czww|C|wz|qtti#{tikse&#juix#00{tiks#nqtm51|x|
                         ©




          om||qvo#nzwu#jtwks#46<857
          nqtm#{qzm#wi{=#4836
          {tiks#{qzm=#878
          jtwks#{qzm=#4357
          kyjmzkzquqvit

          czww|C|wz|qtti#{tikse&#t{#0t#nqtmB1|x|
          0zw0z00z00####4#{iv{#####{iv{###########43#Piy#54#48=87#nqtm41|x|
          0zw0z00z00####4#{iv{#####{iv{#########4836#Piy#54#48=87#nqtm51|x|

          czww|C|wz|qtti#{tikse&#ozmx#kyjmzkzquqvit#-

          czww|C|wz|qtti#{tikse&#ki|#nqtm41|x|
          456789:;<

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              Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 146 of 156 16
          Itÿshouldÿalsoÿbeÿnotedÿatÿthisÿpointÿthatÿnotÿevenÿmessageÿdigestsÿproducedÿwithÿthe
          ul8{}uÿutilityÿwillÿindicateÿtheÿpresenceÿofÿdataÿinÿtheÿfileÿslackÿspace,ÿasÿthisÿutility
          operatesÿonlyÿonÿtheÿfileÿcontents.
                Key fingerprint = AF19 FA27 2F94 998D FDB5 DE3D F8B5 06E4 A169 4E46
          Theÿtechniqueÿofÿhidingÿdataÿinÿfileÿslackÿspaceÿisÿseldomÿusedÿbecauseÿofÿtwoÿmain
          reasons.ÿFirstly,ÿitÿdoesÿnotÿallowÿforÿhidingÿlargeÿamountsÿofÿdata.ÿEvenÿfileÿsystemsÿwithÿa
          blockÿsizeÿofÿ4096ÿbytesÿareÿrestrictedÿtoÿonlyÿ4KBÿofÿhiddenÿdataÿperÿfile.ÿSecondly,ÿthe
          techniqueÿisÿonlyÿusefulÿforÿfilesÿthatÿareÿveryÿstable,ÿasÿmodificationsÿtoÿtheÿfileÿcanÿmake
          theÿhiddenÿdataÿinaccessibleÿevenÿtoÿtheÿtoolÿresponsibleÿforÿitsÿplacement.ÿAsÿa
          demonstration,ÿIÿusedÿaÿtextÿeditorÿtoÿdeleteÿtheÿfirstÿcharacterÿinÿtheÿsmallerÿofÿtheÿtwoÿfiles
          containingÿhiddenÿdata.ÿSubsequentlyÿIÿfoundÿthatÿattemptingÿtoÿretrieveÿtheÿhiddenÿdata
          withÿjuixÿ(usingÿtheÿ{tiksÿoption)ÿresultedÿinÿmyÿscreenÿfillingÿwithÿspuriousÿcharacters.




                                                                                    ts.
          Theÿtiniestÿmodificationÿtoÿtheÿfileÿhadÿcausedÿmyÿmethodÿofÿaccessingÿitsÿslackÿspaceÿto
          failÿcompletely,ÿalthoughÿotherÿslackÿspaceÿtoolsÿmayÿbeÿableÿtoÿhandleÿfileÿmodifications.




                                                                                 igh
          Theÿlimitationsÿofÿthisÿtechniqueÿmeanÿthatÿitÿisÿveryÿunlikelyÿtoÿbeÿusedÿbyÿinsidersÿasÿa




                                                                             ll r
          methodÿofÿhidingÿdata.ÿAfterÿall,ÿlegitimateÿusersÿofÿtheÿsystemÿpresumablyÿhaveÿthe
          permissionsÿtoÿwriteÿandÿmodifyÿfiles,ÿsoÿtheyÿhaveÿplentyÿofÿopportunityÿtoÿstoreÿsmall




                                                                           fu
          amountsÿofÿdata.ÿFileÿslackÿspaceÿisÿmoreÿlikelyÿtoÿbeÿusedÿbyÿpeopleÿwhoÿdon'tÿhaveÿthe
          permissionÿtoÿwriteÿfilesÿonÿtheÿsystem,ÿsuchÿasÿhackers.ÿForÿexample,ÿhackersÿcouldÿuse




                                                                      ins
          theÿtechniqueÿtoÿstoreÿsmallÿPerlÿscriptsÿorÿlistsÿofÿcrackedÿpasswords.


                                                                  eta
                                                              rr
          FindingÿDataÿHiddenÿinÿSlackÿSpace
                                                           ho
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          UsingÿLinuxÿUtilities
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          Theÿsearchÿforÿdataÿhiddenÿinÿfileÿslackÿspaceÿisÿbestÿdoneÿviaÿaÿforensicÿinvestigationÿof
          theÿpartitionÿinÿquestion.ÿToÿachieveÿthisÿonÿmyÿsystem,ÿIÿfirstÿunmountedÿtheÿ/home
                                                03




          partitionÿandÿthenÿusedÿtheÿllÿutilityÿtoÿcreateÿanÿimageÿofÿtheÿpartitionÿtoÿworkÿwith.ÿThe
                                             20




          instructionsÿforÿdoingÿthisÿareÿcontainedÿinÿtheÿappendixÿ"CreatingÿaÿForensicÿImage".ÿI
          thenÿusedÿtheÿ{|zqvo{ÿutilityÿtoÿsearchÿtheÿentireÿimage.ÿByÿdefaultÿthisÿcommandÿwill
                                          te




          outputÿanyÿstringsÿofÿfourÿorÿmoreÿprintableÿcharactersÿthatÿitÿfindsÿwithinÿtheÿgivenÿfileÿ(in
                                        tu




          thisÿcaseÿtheÿfileÿisÿanÿimageÿofÿtheÿentireÿpartition):
                                    sti




          czww|C|wz|qtti#2e&#kl#2}{z2twkit2nwzmv{qk{
                                  In




          czww|C|wz|qtti#nwzmv{qk{e&#{|zqvo{#lm–gpli:1quo#|#ozmx#%kyjmzkzquqvit%
                              NS




          kyjmzkzquqvit
          kyjmzkzquqvit
                          SA




          Althoughÿtheÿsearchÿhasÿbeenÿsuccessful,ÿitÿrequiresÿfollow-upÿinvestigationÿonÿany
                         ©




          matchesÿbecauseÿtheÿoutputÿprovidedÿnoÿinformationÿaboutÿwhereÿonÿtheÿpartitionÿthe
          stringsÿwereÿlocated.ÿTheÿlackÿofÿthisÿinformationÿmakesÿitÿdifficultÿforÿinvestigatorsÿtoÿsee
          theÿstringsÿinÿcontext,ÿorÿevenÿtoÿestablishÿthatÿtheyÿwereÿbeingÿstoredÿinÿfileÿslackÿspace.



          UsingÿTheÿSleuthÿKitÿ/ÿAutopsy
          Autopsyÿprovidesÿtheÿabilityÿtoÿsearchÿforÿkeyÿwordsÿinÿbothÿallocatedÿdiskÿspaceÿand
          unallocatedÿdiskÿspace.ÿAsÿfileÿslackÿspaceÿfallsÿintoÿtheÿcategoryÿofÿallocatedÿdiskÿspace
          (theÿrelevantÿblocksÿhaveÿbeenÿallocated),ÿthisÿdemonstrationÿfocusesÿonÿthatÿportionÿofÿmy
          /dev/hda7ÿpartition.ÿTheÿbriefÿinstructionsÿforÿaccomplishingÿthisÿare:
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             1ÿ Createÿanÿimageÿofÿtheÿpartitionÿasÿsetÿoutÿinÿtheÿappendixÿ"CreatingÿaÿForensic
                Image".
             2ÿ Assumingÿthatÿaÿcaseÿandÿaÿhostÿnameÿhaveÿalreadyÿbeenÿsetÿupÿinÿprevious
               Key fingerprint = AF19 FA27 2F94 998D FDB5 DE3D F8B5 06E4 A169 4E46
                sections,ÿchooseÿ"KeywordÿSearch"ÿfromÿtheÿmainÿmenu.ÿIfÿthisÿisÿtheÿfirstÿtimeÿa
                searchÿforÿaÿparticularÿstringÿisÿbeingÿconductedÿonÿtheÿallocatedÿportionÿofÿthe
                forensicÿimage,ÿtheÿ"ExtractÿStrings"ÿbuttonÿshouldÿbeÿclicked.ÿAutopsyÿwillÿthenÿgo
                throughÿtheÿimageÿandÿcreateÿanÿindexedÿfileÿofÿallÿstringsÿdiscovered.ÿThisÿfileÿcan
                beÿquiteÿlargeÿ-ÿmyÿ300ÿMBÿimageÿresultedÿinÿaÿstringsÿfileÿofÿalmostÿ40ÿMBÿ–
                however,ÿitÿenablesÿupcomingÿsearchesÿtoÿscanÿonlyÿtheÿstringsÿfileÿratherÿthanÿthe
                entireÿimage.
             3ÿ Enterÿtheÿstringÿtoÿsearchÿfor,ÿinÿmyÿcaseÿ"cybercriminal",ÿandÿclickÿonÿtheÿsearch




                                                                                    ts.
                button.ÿTheÿAutopsyÿoutputÿfromÿmyÿsearchÿidentifiedÿtwoÿoccurrencesÿofÿthisÿstring.




                                                                                 igh
                Itÿalsoÿprovidedÿmeÿwithÿtheÿblockÿnumbersÿonÿtheÿpartitionÿwhereÿtheÿstringsÿwere
                found,ÿtheÿoffsetÿwithinÿtheseÿblocksÿandÿlinksÿtoÿviewÿtheÿblocksÿinÿeitherÿASCIIÿor




                                                                             ll r
                hexadecimal.ÿAsÿshownÿinÿtheÿfollowingÿoutput,ÿtheÿblockÿnumbersÿ(alsoÿreferredÿto
                byÿAutopsyÿasÿFragmentsÿorÿDataÿUnits),ÿwereÿ139522ÿandÿ139524:




                                                                           fu
                                                                      ins
          5#xw|mv|qit#wkk}zzmvkm{#wn#kyjmzkzquqvit#wmzm#nw}vl
          46<855#+Kmx#0#D{kqq,
          0#wnn{m|#43#jy|m{


                                                                  eta
          46<857#+Kmx#0#D{kqq,
          0#wnn{m|#7:<#jy|m{                                  rr
             4ÿ TheÿAutopsyÿoutputÿisÿaÿsignificantÿimprovementÿonÿtheÿ{|zqvo{ÿcommandÿIÿran
                                                           ho

                previouslyÿ(admittedlyÿtheÿ{|zqvo{ÿcommandÿwasÿrunÿwithoutÿoptions).ÿByÿproviding
                                                        ut


                theÿopportunityÿtoÿviewÿtheÿblockÿwhereÿtheÿstringÿwasÿlocated,ÿtheÿstringÿcanÿbeÿseen
                                                    ,A



                inÿcontext,ÿwhichÿmayÿprovideÿvitalÿcluesÿinÿanÿinvestigation.ÿIÿclickedÿonÿtheÿ"Ascii"
                linkÿtoÿseeÿtheÿcontentsÿofÿblockÿ139522,ÿalthoughÿIÿcouldÿalsoÿhaveÿseenÿtheÿblock's
                                                03




                contentsÿbyÿchoosingÿ"DataÿUnit"ÿonÿtheÿAutopsyÿmainÿmenu:
                                             20




          DWFLL#Fwv|mv|{#wn#Izioumv|#46<855#+4357#jy|m{,#qv#quiom{2lm–gpli:1quo
                                          te
                                       tu




          456789:;<
          kyjmzkzquqvit
                                    sti
                                  In




             5ÿ FurtherÿinformationÿwasÿprovidedÿwhenÿIÿclickedÿonÿtheÿlinkÿtoÿ“ASCIIÿreport”ÿ-ÿin
                particular,ÿtheÿnameÿofÿtheÿfileÿthatÿpointsÿtoÿblockÿ139522.ÿAnÿanalysisÿofÿtheÿfile
                              NS




                contentsÿandÿtheÿblockÿcontentsÿmayÿthenÿleadÿanÿinvestigatorÿtoÿdeduceÿthatÿfile
                slackÿspaceÿhasÿbeenÿusedÿtoÿhideÿdata:
                          SA




          D}|wx{y#i{kqq#Izioumv|#Vmxwz|#+–mz#41:4,
                         ©




          00000000000000000000000000000000000000000000000000000000000000
          Izioumv|=#46<855
          Omvo|p=#4357#jy|m{
          Twqv|ml#|w#jy#Lvwlm=#6746;
          Twqv|ml#|w#jy#nqtm{=
          ##2uv|2nwzmv{qk{2pwum2{iv{2{tiks2nqtm41|x|
          PG8#wn#ziw#Izioumv|=#6::kmn546<4ll66l<7;inklkk697j8:5
          PG8#wn#i{kqq#w}|x}|=#m97k:k7k7;<8j6jlkk9:5ki<<53;nn79
          Luiom=#2}{z2twkit2nwzmv{qk{22{iv{2|wz|qtti2quiom{2lm–gpli:1quo
          Luiom#Yyxm=#tqv}x0mx|5
          Gi|m#Jmvmzi|ml=#Izq#Piy#56#46=75=67#5336
          Lv–m{|qoi|wz=#orz
          00000000000000000000000000000000000000000000000000000000000000
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              Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 148 of 156 18
          456789:;<
          kyjmzkzquqvit


               Key fingerprint = AF19 FA27 2F94 998D FDB5 DE3D F8B5 06E4 A169 4E46




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          Appendix
               Key fingerprint = AF19 FA27 2F94 998D FDB5 DE3D F8B5 06E4 A169 4E46
          CreatingÿaÿForensicÿImage
          Forensicÿexaminationÿofÿaÿsuspectÿsystemÿshouldÿneverÿbeÿperformedÿonÿtheÿsystemÿitself.
          Instead,ÿitÿshouldÿbeÿperformedÿonÿaÿtrustedÿsystem,ÿusingÿimagesÿtakenÿfromÿtheÿsuspect
          disk.ÿTheseÿimages,ÿwhichÿareÿexactÿbit-by-bitÿcopiesÿofÿtheÿoriginalÿpartitions,ÿeffectively
          allowÿtheÿsystemÿtoÿbeÿexaminedÿwithoutÿfearÿofÿcontaminatingÿtheÿoriginalÿsystemÿstate.
          Someÿofÿtheÿtechniquesÿforÿfindingÿhiddenÿdataÿthatÿareÿdiscussedÿinÿthisÿpaperÿdealÿwithÿa
          forensicÿimageÿofÿtheÿ/dev/hda7ÿpartitionÿonÿmyÿsystem,ÿmountedÿonÿtheÿ/homeÿdirectory.
          Ratherÿthanÿduplicatingÿtheÿinstructionsÿforÿcreatingÿandÿmountingÿaÿforensicÿimageÿin




                                                                                   ts.
          variousÿplacesÿthroughoutÿtheÿpaper,ÿIÿhaveÿoutlinedÿtheÿnecessaryÿstepsÿinÿthisÿsection,




                                                                                igh
          andÿtheÿexamplesÿinÿtheÿpaperÿreferÿtoÿthemÿasÿrequired.
          Theÿ/dev/hda7ÿ(/home)ÿpartitionÿonÿmyÿsystemÿisÿjustÿoverÿ300ÿMBÿinÿsize,ÿasÿshownÿbyÿthe




                                                                            ll r
          followingÿlnÿcommand:




                                                                          fu
          czww|C|wz|qtti#zww|e&#kl#2




                                                                     ins
          czww|C|wz|qtti#2e&#ln#0K


                                                                 eta
          Iqtm{y{|mu#############Wqzm###[{ml##D–iqt#[{m(#Pw}v|ml#wv
          2lm–2pli;#############413JE###;3PE##;<9PE###<(#2   rr
          2lm–2pli4##############;;PE##817PE###::PE###:(#2jww|
          2lm–2pli43#############97PE###47sE###93PE###4(#2piks
                                                          ho

          2lm–2pli:#############636PE##84;sE##5;9PE###4(#2pwum
          vwvm###################<:PE######3###<:PE###3(#2lm–2{pu
                                                       ut


          2lm–2pli9#############739PE##;1<PE##6:9PE###6(#2|ux
                                                   ,A



          2lm–2pli5#############813JE##41;JE##51<JE##6;(#2}{z
          2lm–2pli6#############516JE###8;PE##514JE###6(#2}{z2twkit
                                               03




          2lm–2pli8#############739PE###68PE##683PE###<(#2–iz
                                            20




          TheÿoutputÿfromÿtheÿlnÿcommandÿshowsÿthatÿIÿhaveÿenoughÿroomÿonÿanyÿoneÿofÿaÿnumber
          ofÿotherÿpartitionsÿtoÿstoreÿanÿimageÿofÿ300ÿMBÿforÿinvestigation.ÿAlthoughÿthisÿviolatesÿone
                                         te




          ofÿtheÿmainÿrulesÿforÿforensicÿinvestigation,ÿitÿisÿokayÿforÿdemonstrationÿpurposes.ÿIÿnow
                                       tu




          unmountÿtheÿ/dev/hda7ÿdevice.ÿThisÿisÿnecessaryÿtoÿstopÿanyÿfurtherÿfileÿsystemÿinteraction
                                   sti




          withÿtheÿdevice,ÿthereforeÿpreservingÿtheÿdata:
                                 In




          czww|C|wz|qtti#2e&#}uw}v|#2lm–2pli:
                             NS




          Iÿnowÿuseÿtheÿllÿcommandÿtoÿcreateÿaÿforensicÿimageÿofÿmyÿ/dev/hda7ÿ(/home)ÿpartition.
                          SA




          Theÿimageÿthatÿresults,ÿ/usr/local/forensics/dev_hda7.img,ÿisÿanÿexactÿbit-by-bitÿcopyÿofÿthe
          partition.ÿAtÿvariousÿstagesÿthroughoutÿthisÿpaperÿIÿcreateÿsuchÿanÿimageÿforÿanalysisÿwith
                         ©




          forensicÿtools:

          czww|C|wz|qtti#2e&#ll#qn@2lm–2pli:#wn@2}{z2twkit2nwzmv{qk{2lm–gpli:1quo
          943739.3#zmkwzl{#qv
          943739.3#zmkwzl{#w}|

          Noteÿthatÿuponÿcompletionÿofÿaÿsectionÿrequiringÿtheÿuseÿofÿaÿforensicÿimage,ÿthe
          subsequentÿsectionÿwillÿrequireÿremountingÿofÿtheÿpartitionÿ(toÿeffectÿtheÿdataÿhiding)ÿand
          recreationÿofÿtheÿimageÿ(toÿreflectÿtheÿchanges).




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                                                     Virtual - Greenwich
SANS London February 2021                            Mean Time, United          Feb 22, 2021 - Feb 27, 2021    CyberCon
                                                     Kingdom
SANS Cyber Security East: March 2021                 ,                          Mar 01, 2021 - Mar 06, 2021    CyberCon

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SANS Secure Asia Pacific 2021                        , Singapore                Mar 08, 2021 - Mar 20, 2021    CyberCon

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SANS Riyadh March 2021                               , Kingdom Of Saudi         Mar 20, 2021 - Apr 01, 2021    CyberCon
                                                     Arabia
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                                                     Virtual - Central
SANS Munich March 2021                               European Time,             Mar 22, 2021 - Mar 27, 2021    CyberCon
                                                     Germany
SANS Secure Australia 2021 Live Online               , Australia                Mar 22, 2021 - Mar 27, 2021    CyberCon

SANS 2021                                            ,                          Mar 22, 2021 - Mar 27, 2021    CyberCon

SANS Cyber Security Mountain: April 2021             ,                          Apr 05, 2021 - Apr 10, 2021    CyberCon
                                                     Virtual - Central
SANS SEC401 (In Spanish) April 2021                  European Summer Time,      Apr 12, 2021 - Apr 23, 2021    CyberCon
                                                     Spain
SANS Cyber Security East: April 2021                 ,                          Apr 12, 2021 - Apr 17, 2021    CyberCon

SANS London April 2021                               Virtual - British Summer   Apr 12, 2021 - Apr 17, 2021    CyberCon
                                                     Time, United Kingdom
SANS Autumn Australia 2021                           Sydney, Australia          Apr 12, 2021 - Apr 17, 2021    Live Event

SANS Autumn Australia 2021 - Live Online             , Australia                Apr 12, 2021 - Apr 17, 2021    CyberCon

SANS Secure India 2021                               , Singapore                Apr 19, 2021 - Apr 24, 2021    CyberCon

SANS Baltimore Spring: Virtual Edition 2021          ,                          Apr 26, 2021 - May 01, 2021    CyberCon

SANS Cyber Security Central: May 2021                ,                          May 03, 2021 - May 08, 2021    CyberCon

SANS Security West 2021                              ,                          May 10, 2021 - May 15, 2021    CyberCon

SANS Cyber Security East: May 2021                   ,                     May 17, 2021 - May 22, 2021         CyberCon
                                                     Virtual - Central
SANS Stockholm May 2021                              European Summer Time, May 31, 2021 - Jun 05, 2021         CyberCon
                                                     Sweden
                                                     Virtual - Central
SANS In French May 2021                              European Summer Time, May 31, 2021 - Jun 05, 2021         CyberCon
                                                     France
SANS Cyber Security Central: June 2021               ,                          Jun 07, 2021 - Jun 12, 2021    CyberCon

SANS SOC Training 2021                               ,                          Jun 14, 2021 - Jun 19, 2021    CyberCon

SANS Cyber Defence Asia Pacific 2021 - Live Online   , Australia                 Jun 28, 2021 - Jul 10, 2021   CyberCon
                  Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 153 of 156
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                                                The Biden Transition
             Joe Biden may be the new president-elect — but with President Donald Trump continuing to challenge
                   the results and Senate control up still up for grabs, the story of the election is far from over.



             BIDEN'S PLANS

                 Kathleen Hicks is Biden’s pick to be the first female deputy defense secretary.
                 Biden has tapped three senior officials onto his Covid-19 Response team.
                 Biden's transition chief blasts ‘obstruction’ by political appointees at OMB and the Pentagon.
                 Trump's unplanned gift to Biden is that clean energy is on the rise.



             TRUMP AND THE GOP

                 Sen. Josh Hawley pledged to challenge Biden's victory in Pennsylvania on Jan. 6.
                 Nancy Pelosi will seat a Republican in a contested Iowa race.
                 Congress and the coronavirus could quash Trump's Electoral College gambit.
                 Sen. Ben Sasse delivered a critique of his Republican colleagues challenging 2020 results.



             COMING UP: GEORGIA SENATE RUNOFFS

                 A judge is seeking a deal to limit voter challenges in the Georgia runoff.
                 Joe Biden and Kamala Harris are going back to Georgia before the Senate runoffs.
                 Strong early voting turnout gives Democrats hope in Georgia runoffs.
                 Sens. Kelly Loeffler and David Perdue side with Trump on $2,000 stimulus payments.




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    2020 PRESIDENTIAL CANDIDATES




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                  Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 154 of 156
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                  Case 6:21-cv-00043-ADA-JCM Document 10-6 Filed 01/25/21 Page 155 of 156
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